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            IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE DISTRICT OF DELAWARE


IN RE:                             )      Case No. 08-13141-KJC
                                   )
                                   )
TRIBUNE COMPANY,                   )      Chapter 11
                                   )
                                   )      Courtroom 5
                                   )      824 Market Street
           Debtors.                )      Wilmington, Delaware
                                   )
                                   )      March 10, 2011
                                   )      10:00 a.m.


                   TRANSCRIPT OF PROCEEDINGS
          BEFORE THE HONORABLE JUDGE KEVIN J. CAREY
                UNITED STATES BANKRUPTCY JUDGE


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                                                                               13
 1   WILMINGTON, DELAWARE, THURSDAY, MARCH 10, 2011, 10:41 A.M.

 2                  THE CLERK:    All rise.     Be seated, please.

 3                  THE COURT:    Good morning, all.

 4                  ALL:   Good morning, Your Honor.

 5                  THE COURT:    Sorry to keep you waiting, it was

 6   unavoidable.     Good morning, Mr. Zensky.

 7                  MR. ZENSKY:   Good morning, Your Honor.           May we

 8   continue?

 9                  THE COURT:    You certainly may.

10                  MR. ZENSKY:   Yes.     Good morning, Professor Black.

11                         CROSS EXAMINATION (Resumed)

12   BY MR. ZENSKY:

13   Q      Good morning, Professor Black.

14   A      Good morning.

15   Q      You understand you're still under oath from yesterday,

16   sir?

17   A      I do.

18   Q      Okay.    Sorry to drag you back here on a rainy morning,

19   but I'll try to get through this quickly.                Professor, did

20   you speak to anyone about the case last night at any time?

21   (Laughter)

22                  MR. BLACK:    Only to my wife.

23   BY MR. ZENSKY:

24   Q      Okay.    Did you send or receive any emails regarding

25   the case, Professor?
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                                                                         14
 1   A     No.

 2   Q     Okay.   And did you read any materials to prepare for

 3   today's continued testimony?

 4   A     I continued to read through my deposition transcript

 5   which I had not previously had time to fully read through.

 6   Q     Okay, great.    Anything other than that?          Did you read

 7   anything other than that?

 8   A     Did I read anything other than that, no.

 9   Q     Okay.   Now Professor, in your expert reports, you're

10   not offering any sort of definitive opinion that the company

11   was solvent or able to pay its bills at the time of either

12   Step 1 or Step 2.    Correct?

13   A     Correct.

14   Q     Okay.   And you've just kind of weighed the

15   possibilities and handicapped that so to speak in terms of

16   figuring out what you think is the fair settlement value of

17   the case?

18   A     That's correct.    I have estimated balance sheet

19   capital values at both Step 1 and Step 2, under different

20   assumptions about tax value for both Tribune and the

21   subsidiaries, but I don't have a bottom line they were

22   solvent, they were insolvent.

23   Q     Okay.   Now in order to reach those views, you thought

24   about each of the three tests for constructive fraudulent

25   transfer?
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                                                                        15
 1   A     I did, although as we discussed yesterday, I think

 2   that the objective prong of cash flow solvency is a subset

 3   of unreasonably small capital which I call cash flow

 4   cushion.

 5   Q     Okay, understood.     Now you testified yesterday that

 6   the driver of expected value in the litigation that's

 7   proposed to be settled by the DCL plan is the possibility of

 8   full avoidance.

 9   A     That's the principal driver of value, yes.

10   Q     Okay.    And one of the main drivers, if not the main

11   driver in your view, a full avoidance is whether you get

12   formal step integration for one.

13   A     Or informal step integration.

14   Q     Okay.    With respect to formal step integration, if I

15   understand it, the driver would be balance sheet insolvency

16   at step one?

17   A     So the difference between informal and formal step

18   integration would be balance sheet solvency at Step 1.

19   Q     Okay.    And you looked at the question of whether the

20   company would be likely to find balance sheets solvent or

21   insolvent assuming formal integration at Step 1?

22   A     Yes, I did.

23   Q     Okay.    And the principal test that you looked at when

24   you thought about this issue was a market value test, true?

25   A     So I attempted to estimate the market value of
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 1   Tribune's assets by looking at the trading prices of its

 2   shares and debt and then making adjustments for pieces that

 3   should not be counted at Step 1 if you look at Step 1 only.

 4   And also pieces that the market might not have known about.

 5   I then, in effect, assessed whether the market value

 6   approach to determining balance sheet capital was consistent

 7   with the valuations, contemporaneous valuations at the time

 8   by others.

 9   Q     By advisors to the company and people involved in the

10   transaction?

11   A     By advisors to the company.        I also then for the --

12   especially on the cash flow side, looked at the trading

13   prices of the senior notes.

14   Q     Okay.    Before we get to the cash flow side, so the

15   answer to my earlier question was yes, the principal thing

16   that you did was look at the market value of the company to

17   conduct your balance sheet solvency inquiry?

18   A     So I looked for myself at a market value approach in

19   part because I believe that's an important approach and in

20   part because it wasn't something that other people had done,

21   but I then checked whether that approach was giving

22   consistent answers to other approaches.

23   Q     The other approaches being the views of the company's

24   advisors?

25   A     Yes.
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                                                                        17
 1   Q     Okay.

 2   A     Who typically use other approaches.

 3   Q     Okay, understood.     Now when you looked at the value of

 4   the company from a market approach as I understand it, you

 5   arrived at an initial estimate of $13.1 to $13.6 billion?

 6   A     I could look at my report to see what number I have,

 7   but I don't recall it off the top of my head.

 8   Q     Okay.   It would be on Page 87 of your opening report,

 9   sir, if you want to check.

10   A     Okay.

11   Q     I didn't know if you had a loose copy or you can look

12   at the binder I gave you yesterday.

13   A     So balance sheet value initial estimate and so my

14   initial estimate was -- so I'm now looking at the revised

15   report and do you want me to look at initial or revised?

16   Yeah, so my initial estimate is $13 -- is a range from $13.1

17   to $13.6 billion, that's correct.

18   Q     Okay.   And that's a market value that you placed on

19   the company as of just prior to the close of Step 1?

20   A     That's correct.

21   Q     Okay.   Now how many shares were outstanding just prior

22   to the close of Step 1?

23   A     I'm remembering $242 million and change, not including

24   the shares owned by the ESOP.

25   Q     Okay.   And what price of the equity did you use in
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 1   calculating the $13.1 to $13.6 billion market value?

 2   A        So I believe that this was -- this value was based on

 3   though it doesn't matter much because the value doesn't

 4   change, would have been just after Step 1, instead of just

 5   before so it would have been 118 million shares instead of

 6   242.   I used whatever the market price was.            It would have

 7   been, you know, I think $33 a share just before Step 1.             It

 8   dropped to $32 something a share just after Step 1.

 9   Q        Okay.   So something in the range of $32 to $33?

10   A        Yes.

11   Q        Okay.   And then you added into that the market price

12   of the debt to come up with the $13.1 to $13.6 billion?

13   A        That's correct.

14   Q        Okay.   Now you talked in an earlier answer about some

15   subtractions and additions to that and I want to explore

16   that for a moment.     One of the things that you added to the

17   balance sheet test on the asset side was the present value

18   of asset disposition tax value.         Or you considered whether

19   that would be added.

20   A        So I really worked through three variants of tax

21   value; asset disposition tax value, cash flow tax value to

22   Tribune, and then no tax value.         So this was an initial

23   estimate without either source of tax value.             And then what

24   I did was I estimated the amount of each source of tax

25   value.    I assigned a probability to each and then under each
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 19 of 260
                                                                                19
 1   approach, I assigned a likelihood of balance sheet solvency.

 2   Q        Okay, sure.    And in the third possibility, there would

 3   be no value because you said there was not tax value in the

 4   third category.

 5   A        That's correct.

 6   Q        Okay.   So let's talk about the first one, the asset

 7   disposition tax value.        Professor, as you define it, that's

 8   the possibility that Tribune because it was S ESOP Corp.,

 9   could participate in certain leverage partnership

10   structures.      Is that right?

11   A        So it's the possibility that Tribune could use its S

12   ESOP status under which Tribune was not a taxpayer.                   And it

13   was owned by an ESOP, and employee stock ownership plan

14   which was also not a taxpayer and, therefore, nobody on the

15   Tribune side is paying tax.         In order effectively to take a

16   write up of the tax basis of its assets to market value

17   without paying tax, that would then let it dispose of

18   effectively those assets at a higher tax basis which then

19   gives higher depreciation deductions to the counterparty and

20   the higher depreciation deductions are something the

21   counterparty would pay for and that was the source of higher

22   disposition proceeds.

23   Q        Okay.   And that's the leverage partnership structure,

24   right?

25   A        And the way one did that under the tax code was
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 20 of 260
                                                                           20
 1   through a leverage partnership structure rather than through

 2   a direct sale, yes.

 3   Q        Okay.   Could you look at Page 58 of your expert

 4   report, Professor?       And it's Page 58 in your original

 5   report.    I'm not sure if it's the same page or not in your

 6   revised report.

 7   A        So I've got a heading to estimated amount of --

 8   Q        No.

 9   A        No, it's not, okay.

10   Q        It's the section dealing with asset disposition tax

11   value.

12   A        So that's starts for me on Page 55.          So let's just

13   make sure we know we know which version you're looking at.

14   So what do you have on the screen?

15   Q        The paragraph that you have that begins this is not

16   the end of the matter.

17   A        I'm sorry, which version of the report do you have on

18   screen?    Let's just work with the same version.

19   Q        The original.

20   A        The original report, okay.       And that's what page?

21   Q        It was 58.

22   A        58. Okay.

23   Q        Okay.   Do you see the paragraph this is not the end of

24   the matter, however?

25   A        Yes.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 21 of 260
                                                                          21
 1   Q        Okay.   Can you read the next sentence in -- the next

 2   two sentences into the record for us?

 3   A        Sure.   Tribune had available a tax planning approach,

 4   developed by Zell's Tax Advisors, that would let Tribune

 5   realize cash for its assets without incurring income tax

 6   until after the ten year period had expired.             This approach

 7   allowed Tribune to obtain the higher disposition proceeds

 8   available with a step up in inside basis, again without

 9   incurring current income tax.

10   Q        Okay.   And that's what we've been talking about the

11   past few moments, right?

12   A        That's correct, a direct sale within a ten year period

13   would trigger income tax to Tribune.          The leverage partners

14   strategy was a way to defer that tax until you were outside

15   the ten year period, but realize the proceeds within the ten

16   year period.

17   Q        Okay, great.   And that's a strategy that at best would

18   only be available to S ESOP corporation.

19   A        That was a strategy that in my judgment would be

20   available to Tribune as S ESOP corporation and only because

21   it would be an S ESOP corporation after the merger.

22   Q        Okay.   Now you say in this part of your report that

23   this was an approach developed by Mr. Zell's tax advisors,

24   right?

25   A        Yes.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 22 of 260
                                                                              22
 1   Q      You know that because you consulted with Mr. Zell's

 2   tax advisor when you were working on your report, right?

 3   A      Yes.

 4   Q      Okay.    And Mr. Zell built that -- strike that.            Mr.

 5   Zell built in the contemplation of these tax benefits into

 6   his $34 a share bid.    True?

 7   A      He was certainly aware of the possibility that if

 8   Tribune were to need to sell assets during the ten year

 9   period, that this would provide a way to dispose of assets

10   at a higher value.    I believe that to be true, yes.

11   Q      Right.   But don't you think he built that into his bid

12   price when he was formulating how much he could afford to

13   pay?

14   A      So that might affect how much he was willing to pay,

15   but this is an auction and so it's not nearly so clear that

16   this would affect how much he had to pay since he was trying

17   to leave some expected profit on the table for himself.              And

18   the normal way that people think about auctions, you end up

19   -- the winning bidder ends up paying slightly more than what

20   the next nearest bidder would have been willing to pay

21   rather than the maximum amount that they might have been

22   willing to pay if they were competing with themselves.

23   Q      Professor, do you still have your deposition

24   transcript here?

25   A      I do.
     Case 08-13141-BLS   Doc 8343-3      Filed 03/11/11   Page 23 of 260
                                                                                23
 1                 MR. ZENSKY:     Actually, I need to give you day

 2   two, I'm sorry.     Your Honor, may I approach?

 3                 THE COURT:    You may.      Thank you.

 4                 MR. ZENSKY:     Professor, if I could direct your

 5   attention to the bottom of Page 532?            This is the deposition

 6   transcript of the continuation on the second day, last

 7   Friday.

 8                 MR. BLACK:    Okay.

 9                 MR. ZENSKY:     I asked you a question at the bottom

10   on Line 25.    Okay.   The asset disposition tax value was

11   certainly a tax strategy that was known to Mr. Zell and his

12   advisors.   Answer:    Yes.      Question:      Right.     And would you

13   assume that that was built into his bid?              Answer:    That is

14   my understanding.      And was that truthful testimony when you

15   gave it, Professor?

16                 MR. BLACK:    I believe that the availability or

17   the likely availability of this strategy was a factor in Mr.

18   Zell's willingness to offer $34 a share, yes.

19                 MR. ZENSKY:     Okay.

20                 MR. DUCAYET:    Your Honor, if I could just note

21   for the record.     Mr. Black goes onto to continue to answer

22   the question.

23                 THE COURT:    Well is there a request that for

24   completeness that be read into the record as well?

25                 MR. DUCAYET:    That was my request, Your Honor.
     Case 08-13141-BLS   Doc 8343-3      Filed 03/11/11   Page 24 of 260
                                                                              24
 1                 THE COURT:    Okay.

 2                 MR. ZENSKY:    Okay.     Is there a particular

 3   portion, Mr. Ducayet?

 4                 MR. DUCAYET:   It's the next little bit right

 5   after that.

 6                 MR. ZENSKY:    Okay.     Question:      Okay.    So?

 7   Answer:    That was part of his willingness to pay the price

 8   that he paid.    Is that the part?

 9                 MR. DUCAYET:   Yes.

10   BY MR. ZENSKY:

11   Q     Okay.     That was easy.      Okay.     Now when you thought

12   about Professor, how to value this possibility for purposes

13   of your balance sheet test, you made the assumption that

14   Tribune could sell 75 percent of its assets during the ten

15   year period and utilize this leverage partnership structure.

16   Correct?

17   A     I made the assumption that this structure would be tax

18   beneficial for 75 percent of Tribune's assets.                I didn't

19   make an assumption as to what proportion of its assets

20   Tribune would sell because this is a hypothetical

21   calculation.    It doesn't make -- form any judgments about

22   whether Tribune would or would not actually dispose of

23   assets.

24   Q     Okay.     And, in fact, Tribune had no plan to dispose of

25   75 percent of its assets as of the time of this transaction,
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 25 of 260
                                                                               25
 1   did it?

 2   A     I would say that Tribune had a plan to dispose of the

 3   Chicago Cubs and use the strategy to dispose of it.                And

 4   that part of the planning for the transaction was that

 5   Tribune had many discrete assets that could be disposed of

 6   if this were to be important in the future.

 7   Q     Okay, understood.     So you used -- strike that.             You

 8   made the assumption that they could dispose of approximately

 9   $9 billion worth of their assets, utilizing the leverage

10   partnership structure, if they needed to?

11   A     I made the assumption that if they were to dispose of

12   their assets, which is what balance sheet solvency is about,

13   that the leverage partnership structure would be

14   advantageous for roughly 75 percent or roughly $9 billion in

15   market value of those assets.

16   Q     Okay.

17   A     $9 billion before the asset disposition --

18   Q     Sure.   Okay.   And that led you to conclude that were

19   they to sell 75 percent of their assets using the leverage

20   partnership structure, that that would create additional

21   value of $1.8 billion to $2.7 billion?

22   A     Almost.   I tried to be rigorously careful in the

23   report not to say "sell", but always to say "dispose of"

24   because it was central to whether this leverage partnership

25   strategy worked that the transaction would not be considered
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 26 of 260
                                                                           26
 1   a sale under the income tax code.

 2   Q     Okay.    I appreciate that clarification.          So they're

 3   not selling them in the sense you sell an asset free and

 4   clear to a third party, it's a partnership structure where

 5   they get the benefit of what effectively would be a sale?

 6   A     I can -- you think of it that way, yes.

 7   Q     Okay.    Not being a tax lawyer, that's the closest I

 8   can come.   Okay.   So you took that value, the $1.8 to $2.7

 9   billion and added that to the asset side of the equation on

10   the belief that it was, I think, modestly likely that a

11   Court would consider asset disposition tax value?

12   A     So I judged it to be moderately likely that a Court

13   would consider asset disposition tax value in assessing

14   Tribune's balance sheet solvency at Step 1 with formal step

15   integration.

16   Q     Okay, understood.     And you thought that was

17   appropriate because you deemed that to be property as

18   defined by the bankruptcy code.        Correct?

19   A     That would be the underlying question because that's

20   the standard for insolvency in the Bankruptcy Code is

21   whether this source of value is "property".

22   Q     Okay.    So you disagree that the standard would be fair

23   market value in terms of applying the constructive

24   fraudulent transfer tests?

25   A     There are certainly bankruptcy cases that assess the
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 27 of 260
                                                                        27
 1   amount of property by looking at the fair market value for

 2   which assets could be sold.      I understand this as reflecting

 3   the fair market value for which assets could be disposed of

 4   using this leverage partnership strategy by an S ESOP.

 5   Q     Okay.   And, therefore, it could constitute property

 6   under the code?

 7   A     Yes.

 8   Q     Okay.   Now you agree with me that there's no case on

 9   point that says whether a Court examining whether a

10   constructive fraudulent transfer occurred would incorporate

11   any sort of asset disposition tax value.

12   A     I agree.    And that's why I chose to make it moderately

13   likely.

14   Q     Okay.   And your decision to include it, I think you

15   described to me the other day was a rough judgment?

16   A     If I used those words.       I don't know how you could

17   make more than a rough judgment given that this is not a

18   source of value that has been previously considered in a

19   balance sheet solvency.     Analysis because it's only

20   available to an S ESOP and we don't have a plethora of S

21   ESOP bankruptcies.

22   Q     Okay.   Now when you were working on your expert

23   report, you gave drafts of it to Mr. Larson and to Mr.

24   Zell's tax counsel to comment on.        Correct?

25   A     I don't know if we gave them a draft of the full
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 28 of 260
                                                                        28
 1   portion.   I believe we gave them a draft of the specific

 2   discussion of the asset disposition tax value and asked them

 3   to comment on that specific portion.

 4   Q     Okay.    Now was it also your -- or is it also your view

 5   that Tribune's managers didn't understand the tax strategy

 6   as of the time of the transaction?

 7   A     I have not seen evidence in the record that Tribune's

 8   own managers understood the strategy at the level of having

 9   built it into their projections.        It's possible that they

10   had some understanding that isn't reflected in the written

11   record, but I haven't -- I didn't see any clear signs of it

12   in their assessment of balance sheet solvency or their fall

13   2007 projections.

14   Q     Okay.    Now I think you mentioned this already today,

15   Professor.    You looked at second potential source of tax

16   value, something you called cash flow tax value.

17   A     Cash flow tax value to Tribune, yes.

18   Q     Right.    And you assumed that it was moderately likely

19   if a Court did not accept asset disposition tax value, that

20   it would accept cash flow tax value.         Correct?

21   A     That was my judgment, yes.

22   Q     Okay.    And like asset disposition tax value, we can

23   agree there's no case that says that in the fraudulent

24   transfer context, that is a source of value that should be

25   considered for the balance sheet test?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 29 of 260
                                                                                29
 1   A       So, no.   So there's a recent Easterbrook opinion the

 2   Seventh Circuit involving a non-profit hospital which also

 3   doesn't pay income tax which one can read as consistent with

 4   the view that the tax savings from not paying income tax are

 5   a proper part of balance sheet solvency is my understanding.

 6   I'm not aware of other cases in part because again, you need

 7   a specialized circumstance.      You need a bankruptcy of an

 8   entity that doesn't pay income tax for this issue to arise.

 9   Q       Can I ask you to look at Page 544 of your deposition,

10   Professor?

11   A       Okay.

12   Q       At Line 5, I asked you the question, I believe in your

13   rebuttal you think a Court would be moderately likely to

14   include cash flow tax value or likely to include cash flow

15   tax value for balance sheet.       Is there any particular case

16   that you had in mind for that?       Answer:      I think what I said

17   was a Court would be moderately likely to include asset

18   disposition tax value and if did not, it would be moderately

19   likely to include cash flow tax value to Tribune.             It can't

20   include both, that would be logically inconsistent.                We do

21   not have a plethora of bankruptcy cases involving S ESOP

22   bankrupt corporations so there is no case directly on point.

23   This was my rough judgment and I certainly talked to the

24   Sidley Austin bankruptcy lawyers about this.            Do you see

25   that?
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 30 of 260
                                                                            30
 1   A        I do.

 2   Q        Okay.   So would you agree with me that there is no

 3   case on point?

 4   A        No, I don't.    I think the answer in my deposition as I

 5   read it was about asset disposition tax value.               And I agree,

 6   there is no case on point on asset disposition tax value.

 7   There is one case that I think is relevant on cash flow tax

 8   value to Tribune.

 9   Q        Okay.   Well, I think the record will reflect the

10   question and answer as it was posed.            Now the examiner found

11   that these kinds of benefits should not be considered in a

12   balance sheet solvency analysis.           Correct?

13   A        Which kind?

14   Q        Either.   Or strike that, the asset disposition tax

15   value.

16   A        So the examiner considered what I call asset

17   disposition tax value in a long textual footnote on tax

18   value.    And says this would, you know, ensure that Tribune

19   would not pay income tax, but would not increase the amount

20   that Tribune would receive and, therefore, should not count

21   toward balance sheet value.         And I agree with the examiner

22   that if this strategy did not increase, the amount of

23   proceeds Tribune would receive, then it should not count,

24   but I believe that it would increase the amount that Tribune

25   would receive.     And that the examiner did not fully
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 31 of 260
                                                                          31
 1   understand the strategy.

 2   Q     All right.     Let's look at the long textual footnote

 3   that you just described, Professor.         It's in your binder

 4   under examiner report.       Your Honor, the examiner report is

 5   Noteholder Exhibit 782.

 6   A     Okay.

 7   Q     And you should find the excerpts -- it's Page 27 and

 8   28 of Volume 2, Professor.

 9   A     So I've got --

10   Q     Footnote 87.

11   A     Oh, so you're just giving me excerpts here?

12   Q     Yeah.

13   A     Okay.    That's what I was trying to figure out.

14   Q     It just happens to have the footnote you referred to.

15   A     Okay.

16   Q     So here we've got Volume 2.

17                 MR. DUCAYET:    Just a coincidence, right?

18   (Laughter)

19                 MR. BLACK:    And so you didn't give me the whole

20   1,200 pages, okay.    And what page is it at?

21                 MR. ZENSKY:    It's Page 27, Footnote 87.

22                 MR. BLACK:    Yeah, then the footnote continues

23   over onto Page 28.

24                 MR. ZENSKY:    Right.   Okay.       So let's take it one

25   step at a time.     If you could look at -- Your Honor, have
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 32 of 260
                                                                               32
 1   you found those pages?

 2                 THE COURT:   I'll get there, keep going.

 3   BY MR. ZENSKY:

 4   Q     Okay.     If you look, Professor on the first page of the

 5   footnote, the second paragraph that begins whether a

 6   hypothetical buyer.    Do you see that?

 7   A     Yes.

 8   Q     Okay.     Could you read that into the record for us?

 9   A     Yes.    Whether a hypothetical buyer of Tribune,

10   however, could construct its own tax avoidance structure

11   would not represent value attributable to Tribune (or any

12   other seller for that matter) and should not be counted as

13   an element of its fair market value: --

14   Q     Okay.     You don't have to go on for the moment.            Then

15   he quotes excerpts from what we can see o the second page is

16   a treatise called S Corporation ESOP valuation issues.              Do

17   you see that?

18   A     I do.

19   Q     Okay.     Sounds like something that might be a good

20   source of information, right?

21   A     Which I read myself.

22   Q     Okay.     Now if you continue after excerpting the

23   treatise, the examiner tells us in the following paragraph.

24   I'm looking at the second sentence.         I'll read it this time,

25   Professor.    Solvency valuation assumes a hypothetical
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 33 of 260
                                                                              33
 1   disposition by a willing seller to a willing buyer.                 Do you

 2   see that?

 3   A        I do.

 4   Q        Okay.   Do you agree with that?

 5   A        I -- so let me back up.     I considered three possible

 6   sources of tax value.     I considered asset disposition tax

 7   value.    I considered cash flow tax value to Tribune which is

 8   Tribune's own value of tax savings.          And then I considered

 9   what I call cash flow tax value (asset sale) which is what I

10   believe the examiner was considering here which is a

11   hypothetical S ESOP buyer wouldn't pay tax and, therefore,

12   might hypothetically be willing to pay more for Tribune's

13   assets.    I did not assign probability to cash flow tax value

14   asset sale because I agreed with the examiner's view that

15   this should not be included in an assessment of the value of

16   Tribune's property and I discussed that -- I discussed why I

17   reached that conclusion in my report.

18   Q        Okay.   Professor, the question was as general matter,

19   do you agree that the solvency valuation assumes a

20   hypothetical disposition by a willing seller to a willing

21   buyer.    That's either yes, no, or I can't answer the

22   question.

23   A        I don't -- there are certainly circumstances under

24   which I would agree with that, but I think the underlying

25   standard is this -- is a source of tax value that is
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 34 of 260
                                                                             34
 1   specific to an S ESOP property of the S ESOP.            And I think

 2   the answer to that is it might be.

 3   Q     Okay.   Let's continue.

 4   A     So in that -- to that extent, to the extent you've got

 5   an S ESOP, I think I would not fully agree with the

 6   sentence.

 7   Q     Okay.   Let's continue.      In the bottom paragraph, could

 8   you read the first sentence into the record first, please?

 9   Continuing in Footnote 87.

10   A     Sure.   The examiner also considered whether the

11   preceding conclusion differs based on the prospect that

12   Tribune might be able to further effectuate one or more

13   dispositions under a leverage partnership structure --

14   leverage partnership transaction (a structure that

15   apparently was used in the Cubs and Newsday sales

16   transactions), under which Tribune might monetize assets and

17   still obtain the tax avoidance benefit that it would

18   otherwise have to wait ten years to achieve by holding such

19   assets.

20   Q     That's the asset disposition tax value we've been

21   talking about the last half hour or so, right?

22   A     This is the exam -- this is the paragraph where the

23   examiner considers what I have called asset disposition tax

24   value, yes.

25   Q     Okay.   And let's look at what he concludes.            Can you
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 35 of 260
                                                                        35
 1   read the last sentence of the footnote into the record,

 2   please?

 3   A      Yes.    So let me read the rest of the paragraph, if I

 4   can.

 5   Q      Okay.

 6   A      Because I think it's relevant.

 7   Q      Please.

 8   A      Okay.    So it then gives a citation to a news article

 9   that explains the Chicago Cubs transaction and then "this is

10   not a benefit that is passed onto the buyer, but, rather, if

11   successful permits tribune to shield the income from the

12   asset monetized as if Tribune held and generated income from

13   the asset.     In this fashion, this benefit is no different

14   for fair market value purposes from the S-Corporation/ESOP

15   structure generally.    Although the structure, to the extent

16   still available, might affect the net consideration remitted

17   to creditors from a disposition of Tribune's assets, it

18   would not affect the fair market value of Tribune's assets,

19   in other words, it would not affect the price paid by a

20   willing buyer for those assets.

21   Q      Okay.    And do you agree or disagree with the last

22   sentence of this footnote, Professor?

23   A      So my analysis was that the leverage partnership

24   structure would affect the amount that a counterparty,

25   again, I'm going to try not to call it a buyer, would be
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 36 of 260
                                                                               36
 1   willing to pay for the cash flow from those assets.                So I

 2   though this last sentence reflected the examiner's

 3   incomplete understanding of the leverage partnership

 4   strategy.

 5   Q     Okay.   And again, the counterparty in your last

 6   sentence refers to the counterparty to a leverage

 7   partnership, not a true third party sale.

 8   A     That's correct.

 9   Q     If Tribune had to sell off up to 75 percent of its

10   assets to pay its creditors and utilize this tax structure,

11   don't you think it would be something of a fire sale?

12   A     I don't think that's the assumption that one makes in

13   balance sheet solvency analysis.        I think one makes the

14   assumption that Tribune is going to sell, but they're going

15   to do so on a -- in the ordinary course of business rather

16   than on a fire sale basis.

17   Q     Okay.   But we did establish earlier they had no plan

18   to sell any asset other than the Cubs as far as you know at

19   this time?

20   A     At the time of the leverage buyout, I would say that

21   to my knowledge, Mr. Zell had no concrete plans to sell any

22   assets other than the Cubs and some miscellaneous real

23   estate that wasn't effectively being used by Tribune, but

24   also considered as part of his willingness to enter into the

25   transaction, the availability of potential dispositions
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 37 of 260
                                                                        37
 1   should that turn out to be necessary.

 2   Q     Okay.    All right.   Let's talk about the liability side

 3   of your balance sheet test for a moment, Professor.

 4   A     Okay.

 5   Q     Now at the time of the Step 1 transaction or at the

 6   time of Step 1, the PHONES, the outstanding amount of PHONES

 7   debt was about $1.1 billion give or take?

 8   A     I believe that at the time of the leverage buyout, the

 9   outstanding face amount of PHONES debt was about $1.25

10   billion.

11   Q     Okay.

12   A     And as I testified, I treated that as a debt amount in

13   my balance sheet solvency analysis of about $470 million

14   which was the value that Tribune carried the PHONES debt on

15   its books for.

16   Q     Okay.    I think you answered my next two questions, but

17   let's just try to parse it so it's clear.           Before we get to

18   the 470, I think you would agree that if the company was

19   liquidated, they would have to pay that full amount $1.25

20   billion to the holders of the PHONES notes before there

21   could be any return to equity?

22   A     That is my understanding.

23   Q     Right.     That was the face amount of the debt.

24   A     That is my understanding.

25   Q     Okay.    But nevertheless, you used $470 million as you
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 38 of 260
                                                                            38
 1   just testified on the liability side of your balance sheet

 2   assessment?      True or false?

 3   A        That is correct.

 4   Q        Okay.   And you did so, I think based on the belief

 5   that that's how Tribune handled it in its financial plans at

 6   the time?

 7   A        No, that's how I believe it should be handled in

 8   assessing whether the value of a company's assets exceeds

 9   the amount of its liabilities.         And then I had to decide,

10   okay, what amount do I assign to this deeply discounted

11   debt?    And there I decided that it was reasonable to assign

12   the value that Tribune used in its own balance sheet.

13   Q        Okay.   So you believe that Tribune carried it at $470

14   million?

15   A        Tribune carried the debt component of the PHONES at

16   depending on the exact date because it was accreting over

17   time, about $470 million is my recollection.              The PHONES

18   were a hybrid debt equity instrument and it was also an

19   equity component to the PHONES.          So the total carrying value

20   of the PHONES was in the 550's.

21   Q        All right.   And was that number net of the Time-Warner

22   stock?

23   A        No, the Time-Warner stock was an asset and that was

24   separately counted on the asset side.

25   Q        Okay.   So if you're wrong about how the company or its
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 39 of 260
                                                                             39
 1   advisors booked the PHONES debt at that time, that would

 2   affect your opinion, would it not?

 3   A        So my opinion is that the PHONES for balance sheet

 4   solvency purposes should be discounted and I'm capable of

 5   computing for myself what the right discount value would be.

 6   And, indeed, an early version of my work, I did so and I

 7   think my value was about $440 million.               And then I later

 8   decided let me just go with the value that I obtained from

 9   Tribune's balance sheet rather than my own slightly lower

10   value.

11   Q        Okay.   And as with asset disposition tax value, you're

12   not aware of any case that says in a fraudulent transfer

13   context, a Court should look at the discounted value of debt

14   as opposed to its face value on the liability side of the

15   equation?

16   A        I am not aware of any case that addresses that issue.

17   Q        Okay.   Now let me turn to the Zell note.           Am I correct

18   that at Step 1, you treated the Zell note in the amount of

19   $225 million as equity rather than debt for your balance

20   sheet test?

21   A        Yes, I did.

22   Q        And you did that because you believe the note was

23   subordinated and had a market value that was far below the

24   $225 million?

25   A        No, that's not correct.
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 40 of 260
                                                                            40
 1   Q       Okay.   Let's turn to the capital adequacy inquiry for

 2   a moment, Professor.

 3   A       Okay.

 4   Q       Whether the company had adequate capital to operate

 5   its business, pay its debts.         You thought about that test as

 6   well?

 7   A       Yes, I did.

 8   Q       Okay.   And as I understand it, first, you explored if

 9   the company would be able to pay its debts in a reasonably

10   serious downside?

11   A       I forget exactly what term I used, but you want to

12   explore cash flow cushion in let me call it a serious

13   downside case.    And the question that the bankruptcy cases

14   leave unanswered is okay, just how big a downturn is that?

15   Q       Okay.   And to do that, as I understand it, you looked

16   at the downside cases that were in the company's February

17   2007 projections, Downside Case A, Downside Case B?

18   A       I looked at the contemporaneous downside or stress

19   cases and those included Management's Downside Case A and

20   Management's Downside Case B.

21   Q       Okay.   And what was the difference between those two?

22   A       Downside Case B was lower than the Downside Case A.            I

23   believe that generally speaking, in Downside Case A, they

24   assumed a steady 2 percent annual decline in publishing

25   revenues and flat broadcasting revenues.             And in Downside
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 41 of 260
                                                                            41
 1   Case B, they assumed a 3 percent annual decline over five

 2   years in publishing revenues and a 1 percent annual decline

 3   in broadcasting revenues.

 4   Q     Okay.   Now a downside case is supposed to project what

 5   things will look like if you hit an unexpected bump in the

 6   road so to speak or an unexpected downturn in the business?

 7   A     I say I think of a downside case as reflecting a

 8   pessimistic view of the future of the business.             And then

 9   you again have the question of okay, how pessimistic is

10   pessimistic enough to make it a reasonable or serious

11   downside case.

12   Q     And whether it's pessimistic enough has to be measured

13   against whether the base case is a fair assessment of the

14   company's prospects.    You would agree with that?

15   A     No.   I think the question is -- so I can certainly

16   imagine the base case is more optimistic than one would

17   think the company's prospects were, but the downside case is

18   still a good pessimistic case.       And, indeed, in February --

19   in the spring of 2007, that would accord with my view of the

20   spring 2007 projections.

21   Q     Okay.

22   A     The base case was optimistic, but the downside cases

23   were serious and realistic.

24   Q     Okay.   We'll get there in a moment.          Now when you

25   looked at the Downside Case A and Case B and you looked into
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 42 of 260
                                                                             42
 1   the future as to whether the company would able to pay its

 2   bills and operate its business, one of the things you

 3   assumed was that they could forego the $100 million a year

 4   it had projected it would spend on acquisitions.              True?

 5   A       In assessing whether Tribune would run out of cash to

 6   repay debt in Downside Case B, in 2009 and 2010 when it had

 7   to repay a significant piece of the bank loans and also some

 8   notes, I assumed that if you get into 2008 and 2009 and

 9   things are looking on the grim side, that Tribune would

10   choose not to make acquisitions rather than make

11   acquisitions today than discover in six months it can't pay

12   its debt.

13   Q       Okay.   So think that was a yes.          They treated the --

14   you treated the acquisitions as optional in effect and

15   likely to be foregone.

16   A       Likely to be foregone if there was need to forego

17   them.

18   Q       Okay.   Now the planned acquisitions were predominately

19   on the interactive side of the business were they not?

20   A       I believe that to be the case, but I actually didn't

21   try to trace that through.

22   Q       Okay.   And the company's projections assumed a fairly

23   robust growth rate in the interactive side of the business?

24   A       Yes, they did.

25   Q       Okay.   And if they didn't -- strike that.           If they
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 43 of 260
                                                                         43
 1   didn't make the acquisitions in 2008 and 2009, couldn't that

 2   affect whether they would achieve the growth rate they were

 3   assuming in the interactive business?

 4   A     If they forewent the acquisitions, they would have

 5   more cash today and, therefore, could pay off more debt

 6   today and have less debt tomorrow.         But they also wouldn't

 7   have the acquisitions so they would have less income

 8   tomorrow.   Both of those things would happen together.

 9   Q     All right, well presumably, they believe the

10   acquisitions would be accretive.

11   A     I would certainly expect that they would make

12   acquisitions that they would believe at the time to be

13   accretive and as we all know, sometimes acquisitions turn

14   out well and sometimes they don't.

15   Q     All right.    Now you didn't model the degree to which

16   the planned acquisitions if they were not pursued to affect

17   the company's operating cash flow in the future?

18   A     I think I did not, but any impact of $100 million a

19   year in planned acquisitions for a two or three year period

20   over the next several years for a business of this scale

21   would be small.

22   Q     Okay.   But you didn't model it?

23   A     I did not.

24   Q     Okay.   Now you told us yesterday that Tribune's

25   performance was week in the first five months of 2007.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 44 of 260
                                                                        44
 1   Correct?

 2   A     That's correct.

 3   Q     And the country was not yet in a recession at that

 4   point in time.

 5   A     That's correct.

 6   Q     Okay.   And you told us yesterday when we talked about

 7   your Garamella [ph] report, that as of May 2007 which was

 8   before Step 1, the company's performance was already

 9   tracking the Downside B scenario was it not?

10   A     For the first four months of 2007, that is correct.

11   Q     Okay.   And that performance as a whole was

12   substantially below the base case from the February 2007

13   projections, right?

14   A     That's correct.

15   Q     Now publishing was far and away the largest part of

16   the company's business in 2007.

17   A     It was about two-thirds of the operating cash flow and

18   maybe about 50 percent of the market value of assets, if I

19   recall.

20   Q     Okay.   And about 72 percent or so of the revenue?

21   A     I don't remember the revenue percentage but --

22   Q     Okay.

23   A     -- it's about -- that would be about right, yes.

24   Q     Two-thirds of the cash flow.         Okay.    Now if we go back

25   to Footnote 22 in your Garamella declaration, Professor.
     Case 08-13141-BLS   Doc 8343-3      Filed 03/11/11   Page 45 of 260
                                                                               45
 1   A     Okay.    So we're back to Garamella.

 2   Q     Which is in your binder.

 3   A     Yes.

 4   Q     I believe it was Page 16.

 5   A     All the way --

 6   Q     15.

 7   A     Yeah.    Okay.   Yes.

 8                 MR. ZENSKY:     Excuse me.      Your Honor, do you have

 9   that available?

10                 THE COURT:    I do.

11   BY MR. ZENSKY:

12   Q     Okay.    Now, if we look at your footnote that was

13   written prior to Step 1 closing, the publishing business

14   which we just established was two-thirds of the operating

15   cash flow.    I think you state here in the third sentence

16   that "Tribune's publishing business performed worse than

17   Downside Case B, but it was partly offset by stronger

18   results for broadcasting and entertainment.               Was that a true

19   statement, Professor, at the time you made it?               Do you see

20   where I'm referring to?

21   A     Yes, I do.    And I agree that that is an accurate

22   description of Tribune's performance in the first four

23   months of 2007.

24   Q     Okay.    And then when we look at the next sentence

25   which talks about April, you stated and this was under oath,
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 46 of 260
                                                                         46
 1   Tribune's publishing business dropped off even more rapidly

 2   in April.   Correct?

 3   A       That's correct.

 4   Q       All right.   And you believe April was the last month

 5   for which full results were available before Step 1 closed?

 6   A       At the time that Tribune would have had to make a

 7   decision to reforecast and at the time that the banks were

 8   making their decision to sign the bank loan agreement, that

 9   would be correct.

10   Q       Okay.    And we established yesterday on an earlier

11   page, you told the Court that it was possible that the

12   company's performance could continue to decline from where

13   it stood.

14   A       I did.

15   Q       Now doesn't that mean that the more reasonable set of

16   projections as of this time was really the Downside Case B?

17   A       I think my judgment was that at this point in time, it

18   would be a challenge in the near term for Tribune to meet

19   its own projections, but it still might be reasonable to

20   rely on what's been called the research case which is the

21   consensus of analyst estimates which was below Tribune's own

22   plan.

23   Q       Okay.

24   A       But above Downside Case A and above Downside Case B.

25   Q       Okay.    All right.   Now sticking with the cash flow
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 47 of 260
                                                                        47
 1   cushion and cash flow solvency test that you put together

 2   and thought about.

 3   A     Yes.

 4   Q     I understand that in addition to looking at the

 5   downside projections and whether the company would or would

 6   not be able to pay its bills, that you concluded that it was

 7   likely the company would be able to pay its bills as they

 8   came due because a bunch of hopefully smart people decided

 9   to go forward with the transaction?

10   A     So in addition to looking at the cash flow

11   projections, I also tried to look at market evidence because

12   in my way of thinking, I place a lot of weight on the

13   contemporaneous views of investors.         And so one source of

14   contemporaneous views was the willingness of the banks to

15   lend and the willingness of Mr. Zell to invest.

16   Q     Okay.   So aren't those exact words that you used on

17   Friday that a third reason you felt that the company would

18   be found to have adequate capital at Step 1 was because

19   hopefully smart people decided to go forward with the

20   leverage buyout in the spring of 2007?

21   A     If you're quoting from my deposition, that sounds

22   consistent with what I just said here.

23   Q     Okay.   Why don't you look at Page 554 and tell me if

24   I've got it right.    Line 15 to 20.

25   A     Yeah.   So if I look at Page 554 as whole, the first
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 48 of 260
                                                                            48
 1   reason was looking at projections and deciding did they have

 2   a serious downside case.       We've already talked about that.

 3   And then 554 begins by saying my second line of analysis was

 4   to say well, regardless of what I think and regardless of

 5   what Tribune's projections are, what did the market think?

 6   And the third reason was what did the banks and Mr. Zell

 7   think.

 8   Q        Okay.   Can you read your answer into the record that

 9   you gave me on Friday beginning at Line 15?

10   A        Yes.    The third source would be - look, there are a

11   bunch of hopefully smart people who decided to go forward

12   with a leverage buyout in the spring of 2007, including Mr.

13   Zell and including the collection of banks.              And so they

14   would - it would not make sense for them to do that unless

15   they had thought Tribune had a reasonable cash flow cushion.

16   The might have been wrong, but the fact that they went

17   forward with an arm's length transaction, provides evidence

18   pushing toward cash flow cushion that I thought a Court

19   would find of some probative value.

20   Q        Okay.   I think we agreed yesterday, Professor, that

21   smart people can overpay for assets?

22   A        We did.

23   Q        Okay.   And smart people can enter transactions where a

24   company is so levered that it will be unable to weather even

25   a small bump in the road?
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 49 of 260
                                                                             49
 1   A        We did.

 2   Q        Okay.    And we agreed that smart people can finance bad

 3   deals and lend to companies that will be rendered insolvent?

 4   A        We did.

 5                    MR. ZENSKY:   Okay.   That's all I have, Your

 6   Honor.

 7                    THE COURT:    All right.   Let's just take a five

 8   minute break and I'll ask if there's any other cross and

 9   we'll finish with this witness.           Five minutes only.

10   (Recess from 11:20 a.m. to 11:39 a.m.)

11                    THE CLERK:    All rise. Be seated, please.

12                    THE COURT:    All right.   Is there any other cross

13   examination?

14                    MS. STEEGE:   Good morning, Your Honor.         Catherine

15   Steege on behalf of EGI, TRB, and Mr. Zell.

16   BY MS. STEEGE:

17   Q        Good morning, Professor Black.

18   A        Good morning.

19   Q        Just a few questions for you.         Do you recall that you

20   testified yesterday afternoon on direct that you had

21   allocated $300 million of value to the litigation trust in

22   connection with offering your opinion about the

23   reasonableness of the DCL plan settlement?

24   A        As a moderately conservative estimate, yes.

25   Q        Okay.    And you also testified as to how you arrived at
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 50 of 260
                                                                        50
 1   that $300 million which claims you included in arriving at

 2   that number.   Do you recall that testimony?

 3   A     Yes, I do.

 4   Q     Okay.    And do you recall that one of the claims that

 5   you did not list among those claims were the alleged bridge

 6   of fiduciary duty and aiding and abetting breach of

 7   fiduciary duty claims that have been alleged against my

 8   client, Mr. Zell?

 9   A     That's correct.

10   Q     Okay.    And, in fact, your opinion is that these

11   alleged claims against Mr. Zell do not have a significant

12   recovery value.     Isn't that correct?

13   A     That is my opinion.

14   Q     And you come to that conclusion, come that opinion

15   because you do not believe that these claims have a

16   meaningful chance of success.       Isn't that correct?

17   A     That's correct.     If they were to succeed, there were

18   large dollars attached, but I do not think they have a

19   meaningful chance of success.

20   Q     And that's true both for any claims alleged at Step 1

21   or any claims alleged at Step 2.

22   A     Yes.

23   Q     Okay.    Now there's been some questions asked about

24   your bankruptcy law experience and you've been candid that

25   you don't hold yourself out as a bankruptcy law expert, but
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 51 of 260
                                                                          51
 1   one of the things you do hold yourself out as, as a

 2   corporate governance expert.       Correct?

 3   A     Corporate law, corporate governance, corporate

 4   acquisitions, yes.

 5   Q     Okay.     And in connection with that expertise, one of

 6   the reasons why you reach the opinion that there are not

 7   claims with a meaningful chance of success against Mr. Zell

 8   at Step 1 is because Mr. Zell was on the other side of the

 9   deal from the Tribune.     Correct?

10   A     That is an important source of my opinion.             So he

11   could not be liable for breach of fiduciary duty as a

12   director because he was not a director at the time that Step

13   1 was negotiated and entered into is my understanding.

14   Q     And you have no reason or no evidence that you have

15   seen that the negotiations regarding the acquisition of the

16   Tribune were anything other than arm's length.

17   A     I have seen no evidence that they were other than at

18   arm's length.

19   Q     And, in fact, with regard to Step 2, the evidence that

20   you're aware of is that Mr. Zell abstained from all of the

21   Tribune board's consideration of the second step merger.

22   A     So I believe what I say in my report is he abstained

23   we know is a formal matter, he abstained.           So unless he was

24   informally or secretly trying to influence Tribune decision,

25   Tribune's decision, then it's hard to see how he is liable
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 52 of 260
                                                                           52
 1   as a director and I am aware of no evidence that he was

 2   secretly trying to influence Tribune's decision.             Let me

 3   stop there.

 4   Q     Okay.   And so you have not seen any evidence in the

 5   record based upon your review that you've undertaken for the

 6   last year, that the claims against Mr. Zell or EGI, TRB have

 7   any significant merit.     Correct?

 8   A     That's my view.

 9   Q     And in your opinion, there's no basis in the record to

10   suggest that Mr. Zell any way acted in bad faith here.

11   A     I have seen no evidence in the record to suggest bad

12   faith on the part of Mr. Zell.

13   Q     And in your opinion, you've seen no basis in the

14   record to suggest that Mr. Zell knew or thought that the

15   Tribune was insolvent at any point during Step 1 or Step 2?

16   A     I am not aware of evidence in the record that Mr. Zell

17   believed Tribune was insolvent at either Step 1 or Step 2.

18   And as I testified at deposition, there is some evidence

19   suggesting he believed Tribune continued to be solvent at

20   Step 2.

21   Q     Okay.   Now, in fact, if a litigation trust or a party

22   pursues a claim without significant merit that has a very,

23   very low probability for success and they don't hit a home

24   run and lose, that can cause the litigation trust or the

25   party bringing that claim to suffer some economic downside.
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 53 of 260
                                                                           53
 1   Correct?

 2                    MR. SOTTILE:   Objection to form, lack of

 3   foundation.

 4                    THE COURT:    Well, let me just ask this.

 5   Understanding that almost every question asked on cross is

 6   designed in some respect to be self serving --

 7   (Laughter)

 8                     THE COURT:    -- even I get the point.

 9   (Laughter)

10                    THE COURT:    Do I have to sustain the objection?

11                    MS. STEEGE:    Your Honor, we'll withdraw the

12   question.

13                    THE COURT:    Thank you.

14   BY MS. STEEGE:

15   Q        Okay.    Now you talked about the Zell note in

16   connection with some questions that Mr. Zensky asked you.

17   A        Very briefly.

18   Q        Okay.    Now, in fact --

19   A        I think that I -- you know, he asked me is the

20   following true and I said no and he went onto the next

21   topic.

22   Q        Right.    And the point that I would like to draw out

23   is, in fact, the Zell note is actually a note that's held by

24   EGI-TRB.    Correct?

25   A        So there were two notes.       There was a Step 1 note and
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 54 of 260
                                                                                54
 1   a Step 2 note and I believe both of them were held by EGI-

 2   TRB, LLC is my understanding.

 3   Q     Okay.    Now, sir, are you aware that EGI-TRB takes the

 4   position that its notes are senior to the PHONES notes based

 5   upon the subordination provisions in each of those

 6   agreements?

 7   A     I am aware that EGI-TRB takes that position and I'm

 8   aware of the language in the subordination agreements that

 9   is related to that position, yes.

10   Q     Okay.    And now in your charts in your report where you

11   show what the recoveries will be under the various

12   scenarios, you don't include the EGI-TRB notes.             Correct?

13   A     I do not, that's correct.

14   Q     Okay.    But in failing to include the EGI-TRB notes,

15   you are not offering an opinion on how those notes would be

16   treated by the Bankruptcy Court in this bankruptcy

17   proceedings?

18   A     I am not.

19                 MS. STEEGE:    Your Honor, I have no further

20   questions.

21                 THE COURT:    All right.   Any other cross

22   examination?

23   (No audible response.)

24                 THE COURT:    Redirect?

25                 MR. DUCAYET:    May I proceed, Your Honor?           Thank
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 55 of 260
                                                                              55
 1   you.

 2                          REDIRECT EXAMINATION

 3   BY MR. DUCAYET:

 4   Q       Good morning, Professor Black.       I have just a few

 5   questions for you.    First of all, you just heard counsel for

 6   Mr. Zell ask you some questions about the Zell note and

 7   claims against Mr. Zell.     Do you have any understanding as

 8   to whether or not the committee has filed a complaint that

 9   includes claims against Mr. Zell?

10   A       My understanding is that it has.

11   Q       And Mr. Zensky asked you some questions about the

12   valuation of the Zell notes in your analysis.            Do you recall

13   that?

14   A       Yes, although again, remember, there's a Step 1 note

15   and a Step 2 note.

16   Q       Can you just explain for us how it is that you valued

17   the Zell note for purposes of your analysis?

18   A       Yes.   So at Step 1 which would be without formal step

19   integration, the Zell held a $225 million note which was

20   exchangeable into common shares at Mr. Zell's option.              And

21   convertible into common shares at the company's option.             So

22   my thought process was if Tribune is having trouble paying

23   its bills, it has an easy way not to have to pay off the

24   Zell Step 1 note which is the just cause it to be converted

25   into shares.    And that's why I treated it as effectively
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 56 of 260
                                                                         56
 1   equity because it was both convertible at Mr. Zell's option

 2   and critically exchangeable into shares at Tribune's option.

 3   Q      Now Mr. Zensky also asked you some questions about the

 4   valuation of the PHONES.     Do you recall that for purposes of

 5   your analysis?

 6   A      Yes.

 7   Q      Okay.    And do you have any understanding as to how the

 8   examiner valued the PHONES for purposes of the work that he

 9   did?

10   A      So I believe that the examiner used the total value

11   that Tribune carried the PHONES at on its books which

12   includes both a debt component and an equity component.            And

13   the footnotes to the financial statements breakout those two

14   pieces.   And I thought for the balance sheet solvency

15   analysis, I should include only the debt component on the

16   debt side.     The difference is about $100 million.

17   Q      Thank you.    And Mr. Zensky also asked you a number of

18   questions about asset disposition tax value and cash flow

19   tax value to Tribune and the like.         Do you recall that?

20   A      Yes, I do.

21   Q      Now you testified yesterday about having performed

22   various sensitivity analyses.       Do you recall that?

23   A      Yes.

24   Q      And did you, in fact, perform some sensitivities

25   around this issue of whether or not tax value counted for
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 57 of 260
                                                                            57
 1   purposes of your analysis?

 2   A        Yes.    I think we worked through an example of

 3   reconciling my central estimate of a settlement recovery to

 4   my estimate of the examiner's estimate of essential

 5   recovery.       And an important part of that reconciliation was

 6   that if I removed all possibility of either source of tax

 7   value from my analysis, then I think my central estimate

 8   went up from about $290 million to about $400 million and

 9   closed about two-thirds of the gap to the examiner.

10   Q        Okay.    By the way, if I could just follow up on that

11   point.    In terms of the reconciliation between your view and

12   the examiner's view, are there any other adjustments that

13   you could make in connection with reconciling the value that

14   you come up, the value that the examiner has?

15   A        Well, there were, I think three principal adjustments

16   that would be worth making.        The first was take out S ESOP

17   tax value.       You just take out, say it's not there.          The

18   second was to move my probabilities of either formal or

19   informal step integration which are substantially lower than

20   the examiners and just take his probabilities as I

21   understand them to be.       And that would substantially close

22   the rest of the gap.      The third piece was that the examiner

23   treated the Cubs and part of the Tribune entities ownership

24   of classified ventures as belonging to Tribune, when, in

25   fact, all of the Cubs belonged to a guarantor sub and part
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 58 of 260
                                                                         58
 1   of the interest in classified ventures belonged to a

 2   guarantor sub.    The implication of that is that the examiner

 3   has about an extra $1.1 billion in value at the sub's

 4   balance sheet value so assets minus debt.           And the corrected

 5   value would be about $1.8 billion.         And the implication of

 6   that is that would make it harder to find balance sheet

 7   insolvency at the subs.      Right?    It wouldn't affect balance

 8   sheet insolvency at Tribune, it would only affect the subs.

 9   In my estimate of how that might have affected the

10   examiner's view, that would matter, you know, $15 million,

11   $25 million.    So if I make all three of those adjustments,

12   my estimate of litigation recoveries is actually a little

13   bit north of the examiner's estimate.

14   Q     Okay.    And just to follow up on the point about the

15   Cubs and the classified ventures issue.           When you were

16   trying to model the examiner's probabilities and the

17   recoveries from the examiner's scenario, if you will, did

18   you make any adjustments regarding the cubs or the interest

19   in classified ventures?

20                 MR. ZENSKY:    Your Honor, I have an objection to

21   format.   I don't think it was intentional.           Counsel referred

22   to the examiner's scenarios and I think you're referring to

23   the examiner's conclusions?

24                 MR. DUCAYET:   That's a good --

25                 MR. ZENSKY:    Can you rephrase that?
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                                                                             59
 1                MR. DUCAYET:   Yeah, let me rephrase.

 2   BY MR. DUCAYET:

 3   Q     So yesterday, you walked us through the various

 4   outcomes that you computed based on a high settlement case

 5   and a low settlement case and in the examiner case.                Do you

 6   recall that?

 7   A     Yes.

 8   Q     And in computing the examiner case, did you attempt to

 9   correct for the factual errors regarding the Cubs in

10   classified ventures?

11   A     I took the examiner's case to be my effort to model

12   what the examiner said mistakes and all.           So he clearly got

13   the Cubs wrong and I said I'm going to treat the Cubs the

14   way he treated the Cubs.     I believe that he misunderstood

15   asset disposition tax value.       And if he understood, it might

16   have had a different view.       I took his understanding of

17   asset disposition tax value and so on for any other places

18   where I thought, you know, he just got this wrong.             I was

19   taking his words as best I understood them and his analysis

20   as best I understood it.

21   Q     Let me switch to a different topic.           Yesterday, at the

22   beginning of Mr. Zensky's cross examination, he asked you

23   some questions about the Alvarez intercompany analysis.               Do

24   you recall that?

25   A     Actually, no.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 60 of 260
                                                                          60
 1   Q     Okay.   Do you recall that he asked you some questions

 2   about different -- the intercompany model that fed into your

 3   recovery analysis?

 4   A     Oh, yeah, the sub claims against Tribune and Tribune's

 5   claims against the guarantor subs, yes.

 6   Q     And do you recall that you also talked about yourself

 7   having developed at least something of a model regarding the

 8   intercompany claims?

 9   A     I would say that the potential value of the

10   intercompany claims was a live issue in this case and so I

11   spent a substantial amount of time with principally with

12   Brian Whiteman at Alvarez trying to understand why he had

13   reached the judgments he had reached and whether I agreed

14   with those judgments and then I performed sensitivity

15   analyses around those judgments.        So the higher the sub

16   claims against Tribune, the more of Tribune value goes down

17   to the subs and then mostly out to the banks.            So if you

18   could reduce that value, more of the Tribune value would go

19   out to the notes.    So I wanted to try to assess kind of what

20   was a minimum value that nobody would be likely to argue was

21   legitimate debt of Tribune to the subs.           And then I ran a

22   sensitivity analyses using lower values for the sub claims

23   against Tribune.

24   Q     And let me just ask you this.         The way I heard it and

25   I went back last night and took a look at the transcript is
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 61 of 260
                                                                              61
 1   I think you said that the differences between Alvarez's

 2   analysis and your analysis was $1 billion?

 3   A        No.

 4   Q        Is that a misstatement or a --

 5   A        No.   So that was something different. That was Alvarez

 6   took into account not only that the subs have claims against

 7   Tribune, but Tribune has net claims against some of the

 8   subs.    So there are lots of claims going both ways.               We

 9   assume they offset each other under the offset provisions of

10   the Bankruptcy Code.     And we ask about the net amounts that

11   are left, right?     There are some cases where Tribune has

12   claims against some of the subs.         And then you have to ask

13   if we enforce those, how much will that matter?              And the

14   answer is a relatively small amount of dollars would go up

15   to Tribune.

16   Q        Um-hum.

17   A        But a lot of that would either go out to the banks if

18   they're allowed in at least at Step 1.             And a lot of it

19   would go right back down to the other guarantor subs who are

20   creditors of Tribune.     And the net effect of that movement

21   of funds would have been, I think under a million dollars,

22   not a billion, a million dollars in recoveries for the

23   notes.    And so I made the judgment that in my modeling, I

24   would not take into account that flow of funds because it

25   was quite complicated to do so and I just thought this is a
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 62 of 260
                                                                            62
 1   rounding error.

 2   Q     Okay.     And I just wanted to make sure.          You -- when

 3   you said billion, you misspoke, you meant million, right?

 4   A     I meant million for this movement of sub value up to

 5   Tribune under Tribune claims against subs and then how much

 6   ends up getting left at Tribune and then getting distributed

 7   to the notes.

 8   Q     Okay, thank you.     Now, Mr. Zensky asked you some

 9   questions about your role in the Garamella shareholder

10   litigation.   Do you recall that?

11   A     I certainly recall some testimony about my report.

12   Q     Yes.    Let me just ask you this.           Did your involvement

13   in the Garamella case back in 2007 inform your views on the

14   issue of step integration?

15   A     Yes, it did.

16   Q     In what way?

17   A     So I was aware from 2007, that at that time, it was

18   the Tribune view, not thinking about solvency, not thinking

19   about formal step integration, just thinking about can we

20   get this deal done.    That the tender offer stood on its own

21   and they should be allowed to complete it whether or not the

22   merger were ever going to close.        So that informs my

23   judgment as to how you might with a full development of the

24   facts, decide on formal step integration.            That there was a

25   contemporaneous history there that suggested that the
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 63 of 260
                                                                              63
 1   separate Step 1 was important to Tribune.

 2   Q       And now Mr. Zensky also asked you some views about --

 3   some questions about your views of the performance of

 4   Tribune in the first couple months of 2007.              Do you recall

 5   that?

 6   A       Yes, he did.

 7   Q       Okay.   Now is this a topic that the examiner also

 8   looked at?

 9   A       Yes, it is.

10   Q       Okay.   And did the examiner have anything to say about

11   the reasonableness of the forecast for the first step of

12   this transaction?

13   A       The examiner concluded that as of the time of Step 1,

14   it continued to be reasonable for -- to rely on the Step 1

15   projections, the pre-Step 1 projections, the February 2000

16   projections in assessing solvency at the time of Step 1.

17   Q       Okay.   And do you have any different view?

18   A       So here's how I thought about the reasonableness of

19   projections.    I looked at them and said first of all, what

20   you really care about is not how Tribune is doing in the

21   next three months.      What you really care about is how are

22   they doing over five years?        All right.       And so how

23   reasonable are these projections over five years, even

24   though they missed for a couple of months period.               It's only

25   two months.     Maybe not such a big deal over five years.           I
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 64 of 260
                                                                             64
 1   then compared the Tribune projections to the research case,

 2   the analyst estimates to see whether there was a large

 3   difference over the long run.       There was clearly a

 4   difference over the short run, right?             Tribune had

 5   underperformed its own projections over the short run.              I

 6   then tried to think about, okay, we have these downside

 7   cases.   We have Management Downside A down 2 percent in

 8   publishing, 0 in broadcasting.       We have Management Downside

 9   Case B, down 3 percent on publishing and I think it was -1

10   on broadcasting, if I'm remembering.         And I said, how do I

11   get comfortable with what would a real downside case be

12   because after all, I'm not a publishing industry expert.

13   I'm not a broadcasting industry expert.            How do I assess

14   whether the right downside cases down to which they could --

15   under which Tribune could pay its bills, down three under

16   which it could barely pay its bills, or down five under

17   which it couldn't pay its bills.        And I said let me look for

18   extrinsic evidence on that.      And one of the pieces that I

19   looked to is what was the market for the notes and the

20   credit default swaps telling me about the likelihood of

21   solvency?   So that was an important piece of my analysis.

22   And my sense was it was likely to be an important piece of

23   your analysis because you might end up thinking I'm not a

24   publishing expert either, let me look for other sources of

25   evidence.   And the three to five year likelihood of default
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 65 of 260
                                                                              65
 1   was low, the market was telling you that.            Then I also asked

 2   the question suppose down three were the right estimates?

 3   Suppose it were not just the downside case, that was the

 4   central long-term estimate, right?          It wasn't a downside

 5   case that should be the base case and the downside case

 6   should be off of that.      Under that state of the world, what

 7   should Tribune's share price be?         All right.      And the answer

 8   and it's in the Morgan Stanley valuation is they did a DCF,

 9   discounted cash flow valuation of Downside Case A and

10   Downside Case B.     In Downside Case B, I think their range

11   was Tribune's share price before Step 1 should be between

12   $14 and $18 a share.     Well, it wasn't between $14 and $18 a

13   share.    Even without the merger, it would have been clearly

14   well into the 20's is my best judgment of the market.               So

15   that's telling me that Downside Case B is well below what

16   the market thought Tribune was going to do at that time.                 So

17   that was another source of comfort that Downside Case B was

18   a serious downside case and was well below market

19   expectations.     And I've already testified that it was well

20   below the long-term research case.

21   Q        Okay.   And ultimately, did you form a judgment

22   regarding the reasonableness of the projections?

23   A        I made a judgment that it was given knowledge to the

24   end of April that it continued to be reasonable to rely on

25   the projections for the stress case.          All right.      And I was
     Case 08-13141-BLS   Doc 8343-3    Filed 03/11/11   Page 66 of 260
                                                                             66
 1   interested in the stress case in cash flow cushion.

 2   Q     For all the reasons you just described?

 3   A     Yes.

 4   Q     Okay.    Let me switch topics here.           Mr. Zensky asked

 5   you a number of questions yesterday about some changes that

 6   you made to the report as it was initially filed back in

 7   early February.     Do you recall that?

 8   A     Yes, I do.

 9   Q     And in particular, he asked you questions about

10   changes in what I think you referred to as your interior

11   probabilities.    Do you recall that?

12   A     That's right.     Those would be the probabilities for

13   Scenarios B, C, D, and E.        Not no avoidance and not full

14   avoidance, but in between.

15   Q     Okay.    Now Mr. Zensky did not ask you what the

16   financial impact of the changes were, did he?

17   A     He did not.

18   Q     Okay.    And did you, in fact, calculate what the

19   financial impact was of making those changes?

20   A     Yes, I did, and you can see that by comparing my

21   initial report to my revised report.

22                 MR. ZENSKY:   Let's do that then.         Could I ask you

23   guys to put up the red line?        Page 29.       Thank you.   Okay.

24   And could you guys do me a favor and just call out the chart

25   that's at the top of that page?         And if you could further
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 67 of 260
                                                                                 67
 1   call out the notes line there, it's three down.

 2                    UNKNOWN SPEAKER:   I'm not finding notes.            The

 3   notes?

 4   BY MR. ZENSKY:

 5   Q        Notes.    Okay.   I'm having a hard time seeing that, but

 6   okay.    Now Professor Black, I've asked for the demonstrative

 7   here to be pulled out and show Table 5 of your report and

 8   this is a red line showing the changes from your initial

 9   report to your revised report.          Does this look familiar to

10   you?

11   A        Yes.

12   Q        Okay.    And could you just walk us through the notes

13   line and this is Table 5, right?           This is the showing

14   recoveries and the different cases with the third party

15   recoveries?

16   A        Do you want just the numbers or an explanation?

17   Q        I would like both.     Why don't we start with the

18   numbers though.       And if you could just start for me, I'm not

19   sure if you're going to need your trusty HP calculator here,

20   but if you could just so the record is clear, identify the

21   original number that you had for the low settlement case for

22   the notes.

23   A        Yeah.    So my original low settlement number for the

24   low end of my settlement range was $227 million recovery to

25   the notes.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 68 of 260
                                                                        68
 1   Q       And how did it change?

 2   A       It went down to $217 so it was change of negative $10

 3   million.

 4   Q       Okay.   And then taking a look at the high settlement

 5   case, can you just read into the record the differences

 6   between your original report and your revised report?

 7   A       Yeah, the original number was $609 million and that

 8   went down to $600 million, so a drop of $9 million.

 9   Q       Okay.   So roughly $10 million difference in the range

10   between the low settlement and the high settlement and that

11   was an adjustment downward, right?

12   A       Yeah, both the low and the high went down by about $10

13   million.

14   Q       Okay.   And then just for the sake of completeness, can

15   you identify the differences on the Black case, please?

16   A       So the Black case went down by $3 million from $297 to

17   $294.   The reason that's smaller is because I also made a

18   change in the probabilities of no step integration versus

19   informal step integration that would have been plus 8 and

20   then the effect of the let me call them the Zensky changes

21   was -11 and that lead to a net of -3.

22   Q       Okay.

23   A       And the examiner went down -- the examiner case went

24   down by $13 million.

25   Q       Okay.   Now if you could just now provide the
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 69 of 260
                                                                            69
 1   explanation.   Why is it that these numbers are moving down

 2   only by about $10 million?

 3   A     Sure.    So as we discussed in my direct testimony, the

 4   key drivers of value, the key driver of value is what's the

 5   weight on Scenario F?    All right.      And, therefore, the key

 6   drivers are what gets you to the weight on Scenario F.             And

 7   those drivers are balance sheet solvency, cash flow solvency

 8   at Step 1 and then statutory defenses.            And then my

 9   assessment that if Tribune were cash flow solvent with a

10   cash flow cushion at Step 1, the likelihood of Tribune

11   actual intent or full equitable subordination of the banks

12   was low in that sub scenario.       And so the question then

13   becomes did the changes I made in response to Mr. Zensky's,

14   you know, excellent analysis of my original probabilities,

15   did those change the underlying substantive drivers of

16   Scenario F?    And, therefore, did they change the

17   probabilities of Scenario F?       And the answer is that there

18   was almost no change.    It would have been, I'm reporting to

19   the nearest percent in my table, in the fractions of

20   percents, I think there were a couple of cases where I

21   slightly changed the likelihood of Scenario F.            But if you

22   look at, I think it's going to be Table 3 in my original

23   report and look at the Scenario F line which is the critical

24   line and then look at my revised report, it's the same

25   percentages.   So if Scenario F is driving recoveries, the
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 70 of 260
                                                                           70
 1   Scenario F percentages are the same.          B, C, D, and E can

 2   move around a little and that will nudge things a little bit

 3   one way or a little bit the other, but they're not going to

 4   be major drivers of my settlement range.

 5   Q        Okay.   And Mr. Zensky asked if changes of the

 6   magnitude that he identified suggested a flaw in your

 7   methodology.     Do you recall that?

 8   A        I remember his asking whether I had less confidence in

 9   my results.

10   Q        Okay.   And what did you answer?

11   A        I said no, I didn't have less confidence.           And I think

12   actually I had what will initially seem an odd reaction, but

13   I want to explain.     I have more confidence in my settlement

14   range now.

15   Q        Okay.   And why is that?

16   A        So the way I want to think about it is think about my

17   academic research where a lot of what I publish is a peer

18   review journals.     And what we think is that the process of

19   peer review of someone else checking and pushing on your

20   results, strengthens the results.         Sometimes, they go away,

21   right?    But the ones that are left get stronger because

22   they've been through the peer review process.             And I was

23   thinking about the paper that on corporate governance in

24   Korea of all things that I'm going to publish in the Journal

25   of Financial Economics later this year, where we got a
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                                                                             71
 1   really smart, really tough referee report.             It took us over

 2   a year and significant work to respond to all the things the

 3   referee wanted us to do to check our results.             And some of

 4   the results in the original draft, in fact, went away.              They

 5   were not robust to the ways that the referee wanted us to

 6   test them.   Fortunately, the main results survived and

 7   that's why the paper will get published in a top journal.

 8   And the result of that process is the main results in my

 9   view, gets stronger because a smart tough referee has pushed

10   on them.   So my view here was, Mr. Zensky is a smart tough

11   lawyer and he knows the facts really well and he knows the

12   examiner report really well and he's pushed on my results

13   and they move a little, but they moved only a little and

14   there were a lot of pieces of my report that I think he

15   didn't really push on, so I end up actually with more

16   confidence that my settlement range is a reasonable range.

17   Q     Okay, thank you.     Let me turn to a different topic.

18   Now you were asked on cross a number of questions about

19   potential recoveries and situations where Step 2 is avoided,

20   enterprise value goes up, and post petition interest is not

21   allowed.   Do you recall that?

22   A     So Step 2 is avoided, but not Step 1?

23   Q     Right.

24   A     And enterprise value is north, substantially north of

25   the Lazard estimate of $6.75 billion.             And one assumes that
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 72 of 260
                                                                             72
 1   you make a judgment not to allow post filing interest.

 2   That's correct.

 3   Q     Okay.    And you did some sensitivity analyses along

 4   those lines, testing those different variables?

 5   A     Yes, I did.

 6   Q     Okay.    And what was the outcome of that sensitivity

 7   analysis?

 8   A     So as I think I described some of this on my direct.

 9   If you only move up enterprise value and stay with my

10   estimate that post filing interest has a 70 percent

11   probability in Scenario's C and E, then not much happens at

12   $7.1 billion valuation.     Not much happens at $7.5 billion

13   valuation.    And the range moves up significantly if you go

14   to an $8 billion valuation.      And by the time you get to an

15   $8 billion valuation, the top of the range is slightly

16   higher than the DCL plan, but the DCL plan is still very

17   much at the top end of the range at an $8 billion valuation.

18   If I stay with either a $6.75 billion valuation or move it

19   up to $7.1 billion and say let me bring down the likelihood

20   of post filing interest, let me bring it down to 30 percent

21   or an extreme test, let me bring it down to zero percent,

22   though that's not realistic in a settlement analysis.              30

23   percent is really as low as I think one ought to go because

24   there are real arguments for while post filing interest

25   should be allowed.    Not much happens at a $7.1 billion
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 73 of 260
                                                                                73
 1   valuation.      And somewhat more happens at a $7.1 billion

 2   valuation.      And at that valuation, the top end of the range

 3   is if I recall in the low $700's, but the DCL plan at $659

 4   is still well toward the top end of the range.             So just to

 5   be clear, that would be $7.5 billion of enterprise value and

 6   a 30 percent likelihood of post filing interest.              If I then

 7   try to say well $7.5 billion is just one possibility,

 8   suppose I give it a probability, then once again, the DCL

 9   plan is going to be above the top end of the range.                 If I

10   push to $8 billion in valuation and a 30 percent likelihood

11   of post filing interest, so I move valuation way up and I

12   move post filing interest as far down as I would be

13   comfortable moving it, then I believe the DCL plan becomes

14   in the middle of the range. But if, again, if all I do is

15   assign a possibility to that outcome where you have to go

16   way up in value and that's got a probability and you've got

17   to go substantially down in post filing interest and that's

18   got a probability, then the DCL plan would still look very

19   good.

20   Q       Okay.    Now, Mr. Zensky read to you a portion of your

21   deposition testimony in which you were talking about the

22   examiner's views on the possibility that Step 1 banks would

23   be prevented from participating in recoveries that would

24   otherwise would have gone to the Step 2 holders even in the

25   absence of equitable subordination.          Do you recall that?
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 74 of 260
                                                                              74
 1   A       I recall some discussion, but not the details.

 2   Q       Okay.    And at your deposition, you agreed that --

 3   well, do you recall what the examiner's conclusion was in

 4   this regard?

 5   A       So what the examiner said was he considered the

 6   possibility that disgorgement either from shareholders or

 7   from the Step 2 banks would come in to Tribune and then not

 8   go to the Step 1 banks, but only go to the notes.              And he

 9   said, you know, this is a possible equitable remedy.                He

10   considered it I think "appealing".          He also said I can't

11   find a doctrile [ph] basis for it so let me leave it in

12   equipoise.      And then he modeled what would happen in that

13   outcome in his Case 8.      So he has six main scenarios 1

14   through 6, 7 is shareholder recoveries,            8 is shareholder

15   recoveries, plus Step 2 disgorgement, plus the disgorgement

16   only goes out to the old Tribune creditors.             And he modeled

17   that as one of his scenarios.

18   Q       Okay.    And just so we're clear, do you believe that's

19   a way to generate enough value to pay the senior notes in

20   full?

21   A       I don't believe that it is because as long as you're

22   only operating at the Tribune value, at the Tribune level,

23   the Step 2 disgorgement is only $300 million and it's not

24   all going to go to the notes.        There's a good chance that

25   some of it will go to the subs.         Maybe a lot of it would go
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 75 of 260
                                                                              75
 1   to the subs so you would then have to make a decision, okay,

 2   the money's coming in to Tribune, but there's this $6.9

 3   billion sub claim, do you allow it?          Do you allow it in

 4   full?   Do you allow it in part in order to pay off the other

 5   sub creditors who would include the sub trade credit and the

 6   interest rate swap, I think would be the principal non-bank

 7   sub creditors.    Because it would be hard to see why they

 8   wouldn't get to eat at the Tribune table as I think of it

 9   because they're not bank debt.        If you did that, the

10   remaining amount is going to be small.             So even if you

11   assign a probability to this equitable remedy, in the

12   scenarios to which it applies which only apply with some

13   probability, it just not -- is not going to move the

14   expected recoveries -- I think my estimate was with

15   realistic probabilities was about $5 million.

16   Q       Now Mr. Zensky asked you a number of questions about

17   the subjective aspects of your analysis, generally.                 Do you

18   recall that?

19   A       Generally.

20   Q       Okay.   Do you dispute that part of your analysis

21   involves making judgments?

22   A       I think my analysis is centrally about making

23   judgments.

24   Q       Okay.   So I -- do you believe that's a flaw in your

25   methodology?
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11    Page 76 of 260
                                                                                 76
 1   A        I think it's a necessity.       I had to make judgments

 2   about value.      I had to make judgments about balance sheet

 3   value.    I had to make judgments about whether projections

 4   were reasonable.      I had to make judgments about market

 5   values.    I had to make judgments about how to interpret the

 6   examiner case.      I had to make judgments about in the low

 7   settlement case, how hard do I want to push toward a bank

 8   favor in view of the world?        In the high settlement case,

 9   how hard is it realistic to push toward a note favoring view

10   of the world?      So I think my report is full of judgments.

11   Q        Okay.   Let me ask you about one specific issue.             You

12   talked a little bit about the matter of related or compound

13   probabilities of different events.

14   A        Yes.    So many of the relevant outcomes are related to

15   each other.      And one example would be a view of Tribune that

16   would lead you to find balance sheet insolvency would be

17   more likely to also lead you to find lack of cash flow

18   cushion and vice versa.       That was one example.

19   Q        Is there some mechanical way of dealing with those

20   kinds of relation or compound probabilities?

21   A        So what you can do is put outer bounds on them.              So

22   let me use an example from my report.               So suppose you were

23   to decide consistent with the examiner view that there is a

24   60 percent likelihood of balance sheet solvency at Step 1

25   with formal step integration.         And a 70 percent likelihood
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 77 of 260
                                                                               77
 1   of cash flow cushion at Step 1 with integration.                So we got

 2   60 percent for one route and 70 percent for the other.                  Then

 3   the question would be what's the combined likelihood that

 4   Tribune will be insolvent on both routes?              The lowest it can

 5   be is if these are truly independent, you take 60 percent,

 6   you multiply by 70 percent, you get to 42 percent.                The

 7   highest it can be is these are completely related and you

 8   just go with the 60 percent which was the lower of 60 and

 9   70.   In my judgment, and I applied this to all of my

10   settlement cases was that the true probability would be

11   somewhere in between.          And, you know, maybe roughly in the

12   middle, but that would be a judgment.

13   Q        Okay.

14   A        It would be more than 42 percent here.            It would be

15   less than 60 percent and it would be somewhere in between.

16   Q        And the use of judgment in the way you've just

17   described it is that consistent with the way the issue is

18   dealt with the academic literature?

19   A        I'm not sure that --

20                    MR. ZENSKY:    Objection to form, Your Honor.

21                    MR. BLACK:    -- I understand the question, I'm

22   sorry.

23   BY MR. DUCAYET:

24   Q        Okay.    Are you familiar with the academic literature

25   on how to model situations in which you have compound or
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 78 of 260
                                                                        78
 1   related probabilities?

 2   A     So, look, you would assess what's the likely

 3   correlation between two outcomes in order to assess the

 4   combined probability.    Now I don't know what the correlation

 5   is, right?    Zero percent correlation in my example gets me

 6   to 42 percent probability of solvency.            100 percent

 7   correlation gets me to 60 percent probability of solvency.

 8   What's the real correlation?       I don't know so I put it

 9   somewhere in the middle.

10   Q     And ultimately you used your judgment to make that --

11   A     Yes, I did.

12   Q     Okay.    During the first part of the cross, Mr. Zensky

13   asked you about some deposition testimony in which you said

14   you were struggling to understand the argument that the

15   noteholders were making about Step 1 not participating in

16   recoveries on Step 2.    Do you recall just generally that

17   testimony?

18   A     Yeah, especially with regard to the argument at the

19   subsidiary level.

20   Q     And as you sit here today, Professor Black are you

21   still struggling to understand that issue?

22   A     So I describe in probably in my rebuttal report what I

23   assumed the argument is and we discussed on my direct

24   testimony how I understand the argument and how for me this

25   is in effect turning the Tribune level creditors into
     Case 08-13141-BLS   Doc 8343-3     Filed 03/11/11   Page 79 of 260
                                                                           79
 1   sublevel creditors with a $3.7 billion claim, but I might be

 2   wrong about that.

 3   Q     Okay.     So is it fair to say you're still struggling to

 4   understand exactly what the issue is?

 5                 MR. ZENSKY:    Objection, leading.

 6                 THE COURT:    Sustained.

 7                 MR. DUCAYET:    I'll withdraw.         Professor Black are

 8   you generally available to return to provide rebuttal

 9   testimony if the need should arrive?

10                 MR. BLACK:    Yes.

11                 MR. DUCAYET:    Okay.    Nothing further.

12                          THE COURT:       Recross?

13                          RECROSS EXAMINATION

14   BY MR. ZENSKY:

15   Q     Professor, just a few questions.              You said that during

16   the course of the deposition there were parts I pushed you

17   hard on and other parts of your report I didn't push you on?

18   Do you recall that?

19   A     That sounds like approximately what I just said a few

20   minutes ago, yes.

21   Q     You do remember I was limited to nine and a half

22   hours, right?

23   (Laughter)

24                 MR. BLACK:    I thought it was ten hours.

25   BY MR. ZENSKY:
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 80 of 260
                                                                            80
 1   Q     I had to share some of my time.             Mr. Ducayet asked you

 2   a few questions at the beginning of his redirect about

 3   whether you could reconcile the Black conclusion with the

 4   examiner conclusion by making some adjustments for how you

 5   treat the tax value.       Do you recall that?

 6   A     So what I described was reconciling the Black case

 7   which is my best estimate of how a judge would resolve

 8   issues with the examiner case which is not the examiner

 9   conclusion is my best estimate of how the examiner would

10   assign probabilities and, therefore, assess an expected

11   settlement outcome.

12   Q     Sure, okay.     And your ability to reconcile your

13   outcome with the way you modeled the examiner outcome would

14   assume by necessity that you have properly applied the

15   examiner's conclusions about the individuals issue.

16   Correct?

17   A     Well, technically no, because technically what I'm

18   doing is reconciling my view of how a judge might decide to

19   my view of how the examiner would decide.            So if I'm wrong

20   about how the examiner would decide, then I'm wrong in the

21   examiner case estimate, but I'm still right in reconciling

22   my Black case to my examiner case.

23                 MR. ZENSKY:    Okay.   I think that's all I have,

24   Your Honor.

25                 THE COURT:    All right.   Any other recross?
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                                                                               81
 1   (No audible response.)

 2                THE COURT:    Well, Professor, I was going to tell

 3   you, you can now go home and tell your wife everything, but

 4   if you are going to be recalled for rebuttal, you might not

 5   want to do that.    But you may step down now, sir.

 6                MR. BLACK:    Thank you.

 7                MR. BENDERNAGEL:    Is this a good time to break

 8   for lunch?

 9                THE COURT:    I'd say it would be an ideal time to

10   break for lunch.

11   (Laughter)

12                THE COURT:    We will reconvene at 1:30.

13                MR. BENDERNAGEL:    Thank you, Your Honor.

14                THE COURT:    Court will stand in recess.

15   (Recess from 12:26 p.m. to 1:33 p.m.)

16                THE CLERK:    All rise.

17                MR. BUSATH:    Good afternoon, Your Honor.            Lynn

18   Busath from Davis, Polk & Wardwell for JPMorgan Chase, its

19   agents, and we call our next witness, Professor Daniel R.

20   Fischel.

21                THE COURT:    All right.    Please remain standing to

22   be sworn in, sir.

23                THE CLERK:    Raise your right and place your left

24   hand on the bible.

25   DANIEL ROBERT FISCHEL, SWORN
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 82 of 260
                                                                         82
 1                  THE CLERK:    Please be seated.

 2                  THE COURT:    I ask anyone with an active PDA on

 3   this side of the bar, please, to turn it off.

 4                  MR. BUSATH:    And Your Honor, I have a set of

 5   binders and exhibits.        May I hand them up at this time?

 6                  THE COURT:    You may.

 7                  THE CLERK:    Please pull the microphone toward

 8   you.   Please state your name, for the record, and spell your

 9   last name.

10                  THE WITNESS:    My name is Daniel Robert Fischel,

11   spelled F-i-s-c-h-e-l.

12                  THE CLERK:    Thank you, sir.

13                                  VOIR DIRE

14   BY MR. BUSATH:

15   Q      Okay.    Professor Fischel, where are you currently

16   employed?

17   A      I’m employed by an economics consulting firm by the

18   name of Compass Lexecon.       I’m also professor of law and

19   business emeritus of the University of Chicago Law School,

20   and I also currently am professor of law and business at

21   both Northwestern Law School, and I also have a courtesy

22   appointment at the Kellogg School of Managed at Northwestern

23   University, although I’ve recently resigned my position at

24   Northwestern, effective at the end of this academic year.

25   Q      And could you tell us, what is Compass Lexecon?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 83 of 260
                                                                        83
 1   A     Compass Lexecon is an economics consulting firm that,

 2   for the most part, specializes in the application of

 3   economics to various different types of legal disputes.

 4   Q     Okay.    Can you give the Court a sense of the --

 5   Compass Lexecon’s personnel and clients?

 6   A     Yes, we have approximately 300 employees, with offices

 7   in Chicago, Boston, New York, Washington, Los Angeles, and

 8   San Francisco.   Our professional staff consists primarily of

 9   PhDs, MBAs, some CPAs, and some individuals with master’s

10   degrees, and then we also have a number of research

11   assistants that have BA degrees.        In addition to that, we

12   have a number of affiliations with outside academics,

13   including a number of Nobel Prize winners in economics

14   throughout the country, as well as a number of other

15   academics with particular expertise in particular areas.           In

16   terms of our clients, they really run the gamut from

17   government entities to private firms to classes of

18   investors.    I think, probably, most relevant for a

19   proceeding like this, we’ve been involved, on one side or

20   the other, performing solvency analyses in many of the major

21   cases: Lehman, Chrysler, AIG, Adelphia, Anadarko, Lyondell,

22   Enron, many others.    But --

23   Q     Okay.    And what do you do at Compass Lexecon?

24   A     I do two things.     First, I’m the president and

25   chairman of the firm, so I have overall responsibility for
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 84 of 260
                                                                          84
 1   the entire firm.      And beyond that, I am an expert in

 2   financial economics and the various related areas of

 3   financial economics, and as a result of that, I frequently,

 4   myself, serve, as I am in this case, as an expert witness.

 5   Q        Okay.   What is your current position at Northwestern

 6   University?

 7   A        As I said, it’s professor of law and business, both at

 8   the law school and the Kellogg School of Management, the

 9   business school, although I’ve recently resigned that

10   position, so as of the fall, I will no longer hold that

11   title.

12   Q        All right.   Now, what is your current position at the

13   University of Chicago?

14   A        It’s the professor of law and business emeritus at the

15   University of Chicago Law School.

16   Q        Okay.   Have you had other positions at the University

17   of Chicago?

18   A        Yes.    For a number of years, I had a joint appointment

19   at the University of Chicago Graduate School of Business.            I

20   also served as dean of the law school for a number of years.

21   And for many years, I was head of the law and economics

22   program at the university, which is a university-wide

23   program, really focused, as the name suggests, on applying

24   economics to various issues in law.

25   Q        Okay.   What courses have you taught at Northwestern
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 85 of 260
                                                                         85
 1   University and the University of Chicago?

 2   A        Throughout my career, I’ve taught courses in corporate

 3   finance, corporations, business organizations, advanced

 4   research seminars on selected topics in financial markets.

 5   I’ve taught the economic analysis of law course, the

 6   advanced seminar many times, and then assorted other

 7   courses.    I’ve also taught the economics of pensions,

 8   pension law and policy, which has a considerable component

 9   on ESOPs, and a variety of other courses, but I would say

10   those are the core ones.

11   Q        And do any of the courses you’ve taught deal with the

12   subject of the testimony you’re to give today?

13   A        Yes.   First of all, the -- my core focus of my

14   testimony is on valuation, and that is a principle area in,

15   particularly, the corporate finance class, but also in some

16   of the advance research seminars and advanced classes that

17   I’ve taught.     Also, the context of this case, a

18   recapitalization followed by a merger involving the use of

19   leverage, a leverage buyout transaction, I have taught the

20   subject of corporate control transactions and the role of

21   leverage throughout my career.        And as I said, I’ve also --

22   it’s less of a main interest, but I’ve also taught courses

23   involving pension economics, including the economics of

24   ESOPs.

25   Q        And you’ve taught courses in both the business school
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 86 of 260
                                                                          86
 1   and the law school?

 2   A     Yes, throughout my career.

 3   Q     And do business students take your courses?

 4   A     Yes, they do.

 5   Q     Okay.   Can you briefly describe your educational

 6   background?

 7   A     Yes, I went to Cornell University, where I graduated

 8   in 1972 with a BA in history and a minor in economics.

 9   Then, I went to Brown University, where I got an MA in

10   history.   Then, I went to the University of Chicago Law

11   School, where I got a JD degree, and that’s where I

12   developed my interest in law and economics, studying the

13   interaction between law and economics with various members

14   of the faculty.

15   Q     And what did you do after law school?

16   A     I had the great privilege of serving as a law clerk

17   for two years, first to the Honorable Thomas Fairchild, who

18   was then the Chief Judge of the 7th Circuit Court of Appeals,

19   and then to the late Justice Potter Stewart.

20   Q     Okay.   Have you published any books or articles?

21   A     Yes, I’ve published several books, and approximately

22   50 articles in peer- and non-peer-review journals.             And you

23   know, it’s a particularly -- the book that I wrote -- co-

24   authored with Judge Frank Easterbrook, The Economic

25   Structure of Corporate Law, published by Harvard University
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 87 of 260
                                                                          87
 1   Press, and I’ve also written a number of other articles,

 2   both individually and with Judge Easterbrook on various

 3   subjects relating to the economics of corporate law and

 4   financial markets.

 5   Q     Okay.   And have any of your books or articles been

 6   cited by Courts?

 7   A     Yes, hundreds of times from the United States Supreme

 8   Court, multiple times to lower courts, at all levels.

 9   Q     Okay.   And have any of your books or articles covered

10   the same issues that are arising in this case?

11   A     Yes, my books and articles, like my courses, deal

12   extensively with issues of valuation, the relationship

13   between market evidence and other methods of valuation.

14   I’ve written extensively on going private and other types of

15   corporate control transactions, and I’ve also written a

16   little bit about ESOPs as well.

17   Q     Okay.   And from time to time, have you been invited to

18   lecture to various audiences?

19   A     Yes, I’ve lectured extensively to groups of federal

20   judges, to business groups, to legal groups.            I’ve lectured

21   at many of the major universities in the country.             I’ve

22   recently gave the Ralph Winter lecture, in honor of Judge

23   Ralph Winter, at Yale University, and that’s something I do

24   fairly routinely.

25   Q     Okay.   As you -- have you served as a consultant on
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 88 of 260
                                                                           88
 1   economic issues to regulatory agencies or government bodies?

 2   A        Yes, I’ve been a consultant or an expert witness for

 3   many of the government agencies: the United States

 4   Department of Justice, the Securities and Exchange

 5   Commission, the Commodity Futures Trading Commission, the

 6   Department of Labor, the Federal Trade Commission, the

 7   NASDAQ, the New York Stock Exchange, as well as the Futures

 8   and Commodities Exchanges as well.

 9   Q        Okay.    Have you testified as an expert witness before?

10   A        Yes, many times.

11   Q        How many times?

12   A        Well, it’s over a 30-year period, and if you include

13   all forms of testimony, all forms of sworn testimony namely

14   -- affidavits, depositions, and trials -- approximately 250

15   times.

16   Q        Have you ever testified as an expert in cases

17   involving valuing a company or the stock of a company?

18   A        Yes, dozens, if not more than that, times.

19   Q        Okay.    And have you testified before in cases

20   involving solvency of a company?

21   A        Yes.

22   Q        And have you testified in cases involving solvency in

23   a leverage buyout?

24   A        Yes.

25                    MR. BUSATH:   Your Honor, at this time, I’d
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 89 of 260
                                                                             89
 1   proffer -- tender Professor Fischel as an expert in

 2   financial markets, valuation, and solvency.

 3                  MR. QURESHI:    No objection, Your Honor.

 4                  THE COURT:    All right.   You may proceed.

 5                               DIRECT EXAMINATION

 6   BY MR. BUSATH:

 7   Q       Professor Fischel, who retained you in this matter?

 8   A       I was retained by the Davis Polk law firm on behalf of

 9   its client JPMorgan.

10   Q       And what were you asked to do?

11   A       I was asked to form an independent opinion of solvency

12   of Tribune, both in -- I guess, in terms of the language

13   that’s frequently used in this case, step one and step two,

14   in June of 2007 and also December of 2007.

15   Q       Um-hum.   And can you summarize briefly how you went

16   about approaching that assignment and carrying it out?

17   A       Yes.   I tried to collect as much of the background

18   documents as I could, relating to the analysis of solvency

19   that was performed by the various participants.              I also

20   examined independent evidence on market conditions, of

21   conditions in the publishing and broadcasting industries and

22   how that affected the Tribune and comparable companies over

23   time.   I formed judgments about comparable companies.              I

24   reviewed the examiner’s report, and then I looked at a

25   number of other different types of economic data: bond yield
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 90 of 260
                                                                                90
 1   data, stock price data, economic data of that sort.

 2   Q     Okay.    Have you prepared a report in this matter?

 3   A     I’ve prepared two.

 4   Q     Okay.    And you have in front of you DCL Exhibit 1106.

 5   Is that the initial report you prepared?

 6   A     Yes.

 7                 MR. BUSATH:    At this time, Your Honor, I’d move

 8   DCL Exhibit 1106 into the record, with a note that Appendix

 9   E and Appendix H contain data that has come from the company

10   and third parties on various projections.           We offer those

11   only to -- for the purpose of showing the basis for

12   Professor Fischel’s opinions.

13                 THE COURT:    Is there any objection?

14                 MR. QURESHI:   No objection, Your Honor.

15                 THE COURT:    It’s admitted without objection.

16   (DCL Exhibit 1106 received in evidence.)

17   BY MR. BUSATH:

18   Q     Now, you mentioned preparing a second report.                Could

19   you tell us about that one?

20   A     Yes.    After the preparation of my initial report, I

21   received a copy of a report by a Mr. Tuliano, which also

22   analyzed solvency.    And I reviewed that report and then

23   prepared a rebuttal report that I believe was also filed in

24   the case.

25   Q     Okay.    And you have in front of you DCL Exhibit 1115.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 91 of 260
                                                                         91
 1   Is that a copy of your rebuttal report?

 2   A     Yes.

 3                MR. BUSATH:    At this time, Your Honor, I would

 4   move into admission the rebuttal report.

 5                THE COURT:    Any objection?

 6                MR. QURESHI:   No objection, Your Honor.

 7                THE COURT:    All right.    It’s admitted without

 8   objection.

 9   (DCL Exhibit 1115 received in evidence.)

10   BY MR. BUSATH:

11   Q     Professor Fischel, have you prepared an exhibit,

12   summarizing your conclusions that you’ve reached?

13   A     I have.

14   Q     And is that behind tab one in your binder?

15   A     It is.

16   Q     Could you describe those conclusions for the Court,

17   please?

18   A     Yes, these are the three opinions that I have reached

19   in the case.    my first opinion is that the contemporaneous

20   economic evidence demonstrates that the Tribune was solvent

21   as of June 4, 2007, and that’s true whether the

22   recapitalization and the merger are viewed as two separate

23   transactions or as a single transaction, although, as I

24   think I’ll have a chance to explain, I believe the proper

25   view is to view them as two separate transactions.             My
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 92 of 260
                                                                        92
 1   second opinion is that the examiner’s analysis of solvency

 2   as of December 20, 2007 is internally inconsistent and

 3   fundamentally flawed, and that once these errors are

 4   corrected and solvency is properly analyzed, the economic

 5   evidence supports the reasonableness of the lenders’ and

 6   bridge-lenders’ decision not to contest the Tribune’s

 7   solvency certificate.    And again, what I mean by that is if

 8   you form an independent analysis of solvency on December 20,

 9   which is what I did, I concluded that the Tribune was

10   solvent as of that date as well, although, as I’ve stated in

11   my reports and previous testimony/deposition, it’s a very

12   close call.    It’s -- I would say it’s borderline solvent,

13   but nevertheless, the economic evidence is more consistent

14   with solvency than insolvency, and therefore, I believe,

15   based on my independent analysis that the lenders’ decision

16   not to contest the solvency certificate was a reasonable

17   one.   And my third conclusion, my third opinion, is that the

18   Tribune’s eventual bankruptcy filing in December 2008, a

19   year after step two, really followed an unprecedented

20   industry- and economy-wide decline, and therefore, the fact

21   of bankruptcy one year after step two does not establish, in

22   any way, that the Tribune was insolvent either one year

23   earlier, as of December 2007, or 18 months earlier, as of

24   June 2007.

25   Q      Okay.   Now, before we turn to your analyses on
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 93 of 260
                                                                            93
 1   solvency as of June 4, 2007, have you analyzed whether the

 2   merger was a foregone conclusion as of June 4, 2007?

 3   A     I have.

 4   Q     And what did you conclude?

 5   A     I concluded, primarily based on market evidence and

 6   some of the supporting discussions that I reviewed, that the

 7   two steps should be analyzed separately: that they’re two

 8   separate transactions.

 9   Q     Okay.    And have you prepared a report -- sorry, an

10   exhibit, showing your analysis?

11   A     I have.

12   Q     And is that behind tab two?        Could you --

13   A     It is.

14   Q     -- turn to that and explain that to the Court, please?

15   A     Yes.    This is a graph, just reflecting Tribune’s stock

16   price from January 1, 2007 to December 20, 2007, the time of

17   the second-step transaction.       And the vertical lines, as I

18   hope the graph is self-explanatory, reflect the relevant

19   dates: the announcement of the merger on April 2, 2007; the

20   date of the recapitalization on June 4, 2007; and then

21   eventually, the merger on December 20, 2007.            And what the

22   graph reflects is, if you analyze the view of market

23   participants, the consensus judgment of buyers and sellers

24   in the marketplace, buyers and sellers in the marketplace

25   clearly viewed the two transactions as two, separate
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 94 of 260
                                                                         94
 1   transactions.     And that is why the Tribune’s stock price

 2   shoots up to a little below $34 when the initial transaction

 3   is announced, stays roughly at the same level, maybe

 4   declines very slightly, between that time and the

 5   recapitalization.     But after the recapitalization, Tribune’s

 6   stock price falls significantly, from the low-30s to the

 7   mid-20s, reflecting the uncertainty about whether or not

 8   there would ever be a step two.         And in a situation where

 9   there was that much uncertainty, because of the

10   contingencies which had to occur in order for step two to

11   take place, in my opinion, the economic evidence

12   demonstrates that market participants viewed these two

13   transactions as two, separate transactions, which, as I

14   said, is consistent with the documentary evidence that I’ve

15   seen.   But my principle focus is on the economic evidence,

16   the market evidence.

17   Q       Now, Professor Fischel, I’d like to discuss your first

18   opinion.    Just before doing that, can you tell us how you

19   analyzed solvency?

20   A       Yes.    First, I looked at the availability of market

21   evidence.      In all my work as an expert witness, as well as

22   my academic career and my writings on valuation, I’ve always

23   emphasized the role of market evidence and the value of

24   market evidence, because it demonstrates what

25   contemporaneous participants at the time, putting their
     Case 08-13141-BLS   Doc 8343-3    Filed 03/11/11   Page 95 of 260
                                                                           95
 1   wealth at stake, thought about the value of a particular

 2   entity, as opposed to after-the-fact judgments by experts in

 3   litigation, who don’t have any of the same reinforcing

 4   tendencies of putting any of their wealth in litigation.             So

 5   while I -- putting any of their wealth at risk in the

 6   litigation.    And so, while I think it’s important to

 7   consider all relevant evidence, to me, I think the

 8   contemporaneous valuation evidence, when market participants

 9   are putting their wealth at risk, is entitled to particular

10   deference when it exists.        So I looked for that.        And I also

11   performed the traditional, three different solvency

12   analyses: a balance-sheet test, an ability-to-pay test, and

13   a capital-adequacy test.

14   Q     Okay.    Now, let’s turn to the market evidence you

15   analyzed as of June 4, 2007.        Have you prepared a slide to

16   summarize that and describe it?

17   A     I have.

18   Q     And is that behind tab three?

19   A     It is.

20   Q     Would you please explain that to the Court?

21   A     Yes.    This is just a list of some of the principle

22   market evidence that I thought was relevant for purposes of

23   my analysis, starting with the investment by Mr. Zell and

24   his entity of $250 million of new money, going on to the

25   arrangers, primarily the lenders’ internal analyses of
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 96 of 260
                                                                        96
 1   value, which I’ve also reviewed, and then even more

 2   importantly than their internal analysis, their decision to

 3   fund, to invest approximately $8 billion in a venture that,

 4   you know, absent extraordinary circumstances, I would not

 5   expect to observe if there was a belief on the part of these

 6   market participants that the entity that they were investing

 7   in was insolvent.    I also looked at rating agency data and

 8   observed that the -- there was a ratings change, ratings

 9   downgrade at the time of the recapitalization, as you would

10   expect because of the increase in leverage that resulted,

11   but not to the point of a rating that indicated insolvency.

12   And finally, I looked at bond yields, which is something

13   very significant, because bond yields tell you whether

14   investors in the marketplace consider the new entity and the

15   new anticipated entity, a sufficiently riskier venture, that

16   they would demand a much higher rate of return, which would

17   manifest itself in much higher yields.

18   Q     Um-hum.

19   A     And I didn’t see any significant change in bond

20   yields, which is again buyers and sellers in the marketplace

21   this time, determining the riskiness of bonds, publicly

22   traded bonds.    That again, to me, was highly relevant market

23   evidence on the issue of solvency.

24   Q     Okay.     Now, you’ve read Mr. Tuliano’s rebuttal report?

25   A     I have.
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                                                                              97
 1   Q     And in that, did he criticize you for not looking at

 2   credit-default swaps?

 3   A     He did.

 4   Q     And could you respond to his criticism?

 5   A     I’ve also looked at credit default swap spreads, and

 6   what they indicate, I would say they’re most similar to the

 7   rating agency’s actions; namely, there was a spike up at the

 8   time of the step one, at the time of the recapitalization,

 9   reflecting the higher leverage, but again, nowhere near the

10   point where market participants, judging by the credit

11   default swap spreads, thought that there was any significant

12   risk of insolvency or bankruptcy in the near term.

13   Q     Okay.   Let’s turn now, Professor Fischel, to the

14   solvency test you used in your analysis as of June 4, 2007.

15   Can you explain to the Court what tests you performed?

16   A     As I indicated, I performed the three, traditional

17   solvency tests: a balance-sheet test, an ability-to-pay

18   test, and a capital-adequacy test.         And I performed the

19   tests, both analyzing the step one as step one only, namely

20   the recapitalization only, which I believe is the correct

21   approach.   But I also performed the same three analyses,

22   collapsing the two steps to analyze solvency as of June 4,

23   if the two steps were collapsed, even though I don’t

24   consider it correct to do that.

25   Q     Okay.   Let’s start with the balance-sheet test.             How
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 98 of 260
                                                                           98
 1   did you calculate the value of Tribune’s assets as of June

 2   4, 2007?

 3   A     What I did was I started by taking the management

 4   projections that existed as of June 4.            I think they were

 5   prepared a little -- a couple of months before June 4.             And

 6   what I then did was I analyzed, using those management

 7   projections, what the value of the Tribune’s assets were, at

 8   least the -- or the publishing and broadcasting assets of

 9   Tribune by performing a traditional DCF analysis, which

10   involves using these projections, calculating a terminal

11   value using a discount rate.       So I did that, but I also

12   performed a comparable-companies analysis and a comparable-

13   transactions analysis, all of which are conventional methods

14   of analyzing balance-sheet solvency.

15   Q     Okay.   Thank you.    Professor, if you could turn now to

16   the next tab, or the copy of Exhibit E to your report.

17   Could you explain this to the Court?

18   A     Yes.    I think, you know, the heading of the exhibit,

19   you know, demonstrates what is being analyzed.            It’s

20   analyzing the value of the Tribune publishing and

21   broadcasting assets, based on a DCF analysis, a discounted-

22   cash-flow analysis, as of June 4, 2007, using management

23   projections without taking into account the merger, the

24   second step, and using a discount rate, a weighted average

25   cost of capital, that was calculated by reference to a set
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 99 of 260
                                                                          99
 1   of comparable companies, using again a traditional method,

 2   derived from the capital-asset-pricing model.

 3   Q     Okay.   Could I have you now turn to Appendix D to your

 4   report, which is behind tab five, and could you please

 5   explain that exhibit?

 6   A     Yes.    Well, just to put that in context --

 7   Q     Um-hum.

 8   A     -- if I could just refer to the bottom horizontal

 9   panel, which is the calculation of value.           I think if I just

10   explain that for a second, I think, of Appendix D, would --

11   Q     Okay.

12   A     -- be --

13   Q     Please.

14   A     -- the --

15   Q     You’re back on tab four?

16   A     Yes, I’m back at tab four.        I think --

17   Q     Okay.

18   A     -- the context will make it clear.           If you look at the

19   bottom panel, there’s a -- on the left-hand side, there’s a

20   calculation of the average EBITDA, based on management

21   projections from 2007/2012.      Then there’s a terminal value,

22   which I’ll explain in a minute, an 8.75 multiple.             Then

23   there’s a present value of the terminal multiple at the -- a

24   discount rate of 8 percent, which I’ll also explain in a

25   minute.   And then there’s also a present value of the cash-
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 100 of 260
                                                                           100
 1   flows from 2007 to 2012, which is line K on the exhibit.

 2   And then there’s a total value of $10,864,000,000

 3   approximately for the value of the Tribune publishing and

 4   broadcasting assets.     And in order to reach that conclusion,

 5   I had to use certain inputs.       One was the EBITDA, which I

 6   got from the management projections.          From the EBITDA, it’s

 7   possible to calculate free cash-flow.             That’s what these

 8   various adjustments are.     But then importantly, I also had

 9   to calculate a terminal multiple, and I had to calculate a

10   discount rate in order to use those as inputs into this

11   calculation.    And for both the terminal-value calculation as

12   well as the discount-rate calculation, I had to start by

13   coming up with a list of comparable companies and then

14   analyze those --

15   Q     Um-hum.

16   A     -- comparable companies.        And now, going back to your

17   original question: Appendix D, on the next page, reflects

18   how I came up with a list of comparable companies.               And --

19   Q     Yes, would you please explain that?

20   A     Yeah.    I’m -- what I did was, I wanted to use as

21   objective a method of selecting comparable companies as I

22   could, because frequently, the analysis of comparable

23   companies gets very subjective, and it’s hard to form

24   meaningful conclusions about which companies are comparable

25   and which companies are not, particularly since no companies
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 101 of 260
                                                                             101
 1   are identical with each other.        There’s always some

 2   similarities and some differences, so you have to have some

 3   kind of principle method for deciding what companies are

 4   comparable.   And so, what I did again, using the same basic

 5   approach that the contemporaneous analysis of market

 6   participants is frequently very probative when they have no

 7   stake in any particular litigation, I wanted to look at what

 8   contemporaneous analyses of which companies were comparable.

 9   And so, what I did was, I chose the various sources,

10   contemporaneous sources, that are listed at the top of the

11   exhibit, beginning with The Benchmark Company, Duff &

12   Phelps, Morgan Stanley, JPMorgan, the Tribune Company itself

13   and its proxy statement, going all the way across.              And I

14   listed every company that was referred to as a “comparable

15   company” in any of those analyses.         And what I did was, any

16   time any company that was referred to as a “comparable

17   company” five times or more by these contemporaneous

18   sources, I considered a comparable company.            Then I did some

19   follow-up analysis, and one of the fifth -- one of the 14

20   companies, I eliminated The Washington Post, as reflected in

21   Note A, at the very bottom of the page, and I eliminated

22   that, because a very significant percentage of its revenues

23   came from a different kind of business segment: educational

24   services.   But all the others, I included, and that was my

25   set of 13 comparable companies.        And using those 13
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 102 of 260
                                                                          102
 1   comparable companies, I calculated the 8-percent discount

 2   rate that is referred to in the previous exhibit as well as

 3   the 8.75 terminal multiple to apply to the Tribune’s average

 4   EBITDA from 2007 to 2012, based on management projections.

 5   Q       Okay.    Thank you.   Now, if I could have you turn to

 6   page three of Appendix G to your report, which is behind tab

 7   six.    Could you explain that exhibit?

 8   A       Yes, this is the calculation of the discount rate,

 9   using the capital-asset-pricing model, or alternatively

10   could be referred to as a weighted-average cost of capital,

11   the WACC.    And what this is based on is the 13 comparable

12   companies that I just referred to.          It analyzes the -- just

13   going across the columns -- the median debt-to-capital

14   ratio, the median debt-equity ratio.           From that, it’s

15   possible to calculate a -- what’s known as a re-levered

16   beta.   And that’s described in an appendix, I think, to my

17   original report exactly how an unlevered beta is transformed

18   into a re-levered beta.       And then take the median-after-tax

19   cost of debt, which is 4.2 percent, and then the cost of

20   equity.   You see three different costs of equity here, based

21   on a short-term cost of equity, an intermediate-term, and a

22   long-term.      And so what I did was, I added all three to the

23   after-tax cost of debt and got a range for the weighted-

24   average cost of capital, from 7.7 percent to 8.2 percent,

25   and just took a basic average of 8 percent and used that in
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 103 of 260
                                                                             103
 1   my -- as my discount rate.

 2   Q     Okay.   Could you now turn to Appendix F, page one of

 3   Appendix F of your report, which is behind tab seven, and

 4   explain that please?

 5   A     Yes.    You know, very briefly, this is the same

 6   comparable companies, but this is measuring enterprise value

 7   to last-12-months EBITDA in order to get a multiple, a

 8   terminal multiple.    And what I did was, I looked over the

 9   period from 2000 to 2007, the first quarter, which is the

10   last quarter before the first step.          And for each quarter,

11   there’s a blue bar that reflects the median-enterprise value

12   to last-12-months EBITDA for these comparable companies.

13   And if you look at the box in the upper, right-hand corner,

14   what you see is that the median multiple is 9.86, but I

15   thought that was a little bit too high, precisely because

16   the future of the industries that the Tribune was in was a

17   little bit uncertain.     You’re also predicting -- you -- this

18   method is calculating values into perpetuity, so I think you

19   have to have a little understanding that there’s no way to

20   be completely precise about that.         So basically, what I did

21   was I lowered the multiple.       I didn’t use the 9.86.            I took

22   a range between 8.5 and 9.       The midpoint of that is 8.75 as

23   a downward adjustment, just to reflect the uncertainty of

24   the valuation process and the Tribune’s business.              And that

25   8.75 is the multiple that was used in the DCF analysis along
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 104 of 260
                                                                           104
 1   with the 8-percent discount rate.

 2   Q       Okay.    And that’s the DCF analysis that was behind tab

 3   four that you discussed earlier?

 4   A       Correct.

 5   Q       Okay.    And then you also did a comparable-company

 6   analysis?

 7   A       Correct.

 8   Q       And is that exhibit -- in Exhibit F to your report,

 9   behind --

10   A       Yes.

11   Q       -- tab eight?

12   A       Yes.

13   Q       Would you describe that, please?

14   A       Yes.    Again, very typical in valuation analysis, for

15   balance-sheet purposes, to do both a discounted-cash-flow

16   analysis as well as a comparable-company analysis.               Again,

17   I’m using the same set of comparable companies, the 13

18   companies.      Now, I am looking at a median multiple of

19   enterprise value to EBITDA for those 13 companies.               That’s

20   line A.   And you see, for estimated EBITDA for 2007, the

21   median comparable-company multiple is 10.2.             For 2008, the

22   current -- the ratio of the current-enterprise value to

23   estimated-2008 EBITDA for these comparable companies is

24   9.29.   I then apply that number to the management projection

25   -- management EBITDA projection for Tribune, for estimated
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 105 of 260
                                                                          105
 1   2007 and estimated 2008.      And then, line C is just a

 2   multiplication of lines A and B.          And then, because the

 3   comparable-company analysis excluded cash from the

 4   comparable companies, it’s appropriate to add the cash and

 5   cash equivalence that the Tribune had, and then you just add

 6   up the various entries for a comparable-company valuation

 7   for using 2007 estimated EBITDA and 2008 estimated EBITDA.

 8   Q     Okay.     Now, you also did a comparable-transaction

 9   analysis.

10   A     I did.

11   Q     Is that set out behind tab nine, Exhibit --

12   A     Yes.

13   Q     -- G to your report?        Would you explain that?

14   A     Yes.    As I said in my report, I placed a little bit

15   less weight on this particular methodology, but again, it’s

16   very standard.      I looked at three different data sources of

17   comparable transactions, namely transactions that occurred

18   roughly during this period, roughly -- of a certain size

19   that -- in other words, that they were relatively large

20   transactions.    And I calculated a transaction value to

21   EBITDA multiple for the median of -- from these three

22   different sets of transactions, and you get multiples,

23   ranging from 11.01 on the low side, to 14.91 on the high

24   side, with 14.20 in the middle.         And then, I applied those

25   multiple to the Tribune’s last-12-months EBITDA, again in
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 106 of 260
                                                                            106
 1   order to have an apples-to-apples comparison.             And again,

 2   just a simple multiplication, I get a value of Tribune

 3   assets that’s in the far, right-hand column.

 4   Q     Okay.   If I could have you now turn to Exhibit I to

 5   your report, behind tab 10.       Will you please explain that to

 6   the Court?

 7   A     Yes, this is a summary exhibit of Tribune’s balance-

 8   sheet solvency, using the different methodologies that I

 9   described as of June 4, using management projections with no

10   consideration of the merger, the recap only.            And this --

11   the first part of the -- this particular exhibit, the value

12   of publishing and broadcasting with the letter A, those

13   numbers are just taken from the exhibits that we just went

14   through.   These are the numbers for publishing and

15   broadcasting, using the three methodologies: the DCF

16   methodology, the comparable-company methodology, and the

17   comparable-transactions methodology.          Then to that, I added

18   the value of equity investments in Time Warner stock, and I

19   think I’ll have a chance to explain in a minute where these

20   numbers came from.    And then, I got a total-enterprise value

21   reflected in column C.     Then, I subtracted the total debt in

22   -- from column D, to get a Tribune equity value in column E.

23   And what this shows, putting aside the comparable-

24   transactions methodology, which I said I put less weight on,

25   is that as of June 4, based on a balance-sheet analysis,
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11    Page 107 of 260
                                                                               107
 1   using management projections, focusing solely on the recap,

 2   without consideration of the merger, you get a Tribune value

 3   -- a low value of the Tribune being solvent by approximately

 4   $3.7 billion, a little more than that, and a high number of

 5   the Tribune being solvent by $7 billion.              And if you use the

 6   comparable-transactions numbers, you know, there would be

 7   the -- be higher still.      So that led me to conclude that,

 8   based on a balance-sheet test, using management projections,

 9   focusing on step one only, Tribune is not only solvent but

10   very comfortably solvent.

11   Q       Okay.   Now, you mentioned you wanted to explain how

12   you got the value of the equity investments.              Could you do

13   that?

14   A       Yes.    That’s in the next exhibit, behind tab 11.

15   Q       Would you explain that, please?

16   A       Yeah, it was difficult to know exactly how to

17   calculate the value of these equity investments, so what I

18   did was I looked at the -- it’s probably best to focus on

19   the second half of the page, as of December 20, 2007.                 I

20   took the VRC estimate of these equity investments, and then

21   I took the discount applied by the examiner, with respect to

22   the calculations or the valuations of VRC, to get examiner’s

23   estimates, which is the final column.              And where the

24   examiner didn’t make any adjustments, I just reported the

25   numbers as they were.      And then, for June 4, 2007, what I
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11    Page 108 of 260
                                                                            108
 1   did was I took -- again started with VRC’s estimates, and

 2   then I applied the exact same discounts that the examiner

 3   applied in December.      I applied that -- those exact same

 4   discounts in June, in order to lower the VRC numbers by the

 5   same percentage that the examiner did, to get what’s

 6   referred to as the implied-examiner estimate.               And then, if

 7   you just add up all the numbers, you see the number

 8   2,478,000,000.      And then, if you turn back the page to the

 9   valuation in the summary, you would see --

10   Q     You --

11   A     -- the same number.

12   Q     -- are looking at tab 10?

13   A     Right.     Exactly.

14   Q     Okay.    Could I have you now turn to Exhibit J of your

15   report, behind tab 12?      Could you explain that, please?

16   A     Yes.    This is an exhibit of capital adequacy and

17   ability to pay.     And it is again based on management’s base-

18   case projections, with no consideration of the merger.                So

19   it’s just step one only.      And what this is is an attempt to

20   analyze, at every point in time, how much cash the Tribune

21   would have in terms of what it was able to -- what the

22   Tribune would be able to do to meet all its obligations and

23   whether or not it would have to use its revolver that it had

24   in place.    And so, just to explain the exhibit, the top line

25   is the starting debt balance in 2007.              And from that,
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 109 of 260
                                                                             109
 1   there’s -- the next entry is the cash that is generated

 2   leading to the entry “total cash generated before interest

 3   and principle payments” on the number at the top, the

 4   9,387,000,000 number.     And so then, if you’d just keep going

 5   down the column, you see that in 2007, there was $390

 6   million paid in interest, which on an after-tax basis was

 7   $243 million, which left cash available for mandatory

 8   repayments of $1,223,000,000.        Then, there was $132 million

 9   of mandatory repayments, leaving cash available after

10   mandatory repayments of a little over a billion dollars, a

11   1,091,000,000, so then there’s no need to draw the revolver,

12   so that number is zero.     And then, that means that there’s

13   an ability to make a discretionary debt repayment of that

14   amount, 1,091,000,000.     There’s $685 million of revolver

15   availability that you don’t have to touch.            You can also

16   deal with the promissory note exchangeable into equity.                So

17   if you add up all those numbers, you get a total ending

18   balance at the end of the 2007 of 7,966,000,000.             And then,

19   if you go to the very top of 2008, you see that number, the

20   same number: 7,966,000,000.       And then, you just repeat the

21   same exercise for every year.        And what I want to highlight

22   in this particular exhibit is row R.          The -- and just -- if

23   you could possibly highlight row R, just go across.                 That --

24   based on this analysis, this ability-to-pay analysis, the

25   Tribune has the ability to meet all its obligations in every
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 110 of 260
                                                                            110
 1   year and doesn’t have to reach into its revolver in any --

 2   or doesn’t need to tap into the revolver in any year.                And

 3   so you could call this a base case ability-to-pay analysis,

 4   and again, based on this analysis, I would say this, again,

 5   is -- supports the basic conclusion that, as of step one,

 6   Tribune was solvent, and --

 7   Q     Okay.

 8   A     -- again, based on this analysis, comfortably so.

 9   Q     Okay.   Could I have you turn, please, to Exhibit K,

10   which is behind tab 13?      And could you explain that, please?

11   A     Yes.    In addition to doing an ability-to-pay analysis,

12   using a -- management projections, I also wanted to look at

13   downside projections.      And rather than using solely

14   management projections, I wanted to look at the downside

15   projections of other participants in the transaction,

16   particularly the other lenders.         And so, what I did was, I

17   created an average of downside projections by third parties.

18   And I think the concept of average is significant in this

19   context, because obviously some are higher, some are lower,

20   but what an average is is a -- it’s a type of consensus.

21   It’s like a market price, where you have some buyers more

22   optimistic, some less optimistic, and sellers the reverse,

23   but there’s a convergence on a particular price.              And this

24   is not exactly like that, because there’s no price, but it’s

25   the same idea.      It’s an attempt to take both the high
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 111 of 260
                                                                            111
 1   estimates into account, the low estimates into account, and

 2   come up with an average, a sort of -- you could say a type

 3   of consensus number.     And this is exactly the same analysis,

 4   but instead of using management projections in a base case,

 5   this now uses downside projections by these third parties.

 6   And again, just focusing perhaps -- as opposed to having to

 7   repeat, focusing again on row R, which in some ways is, I

 8   think, the most relevant summary line.            In this downside

 9   case, for 2007 and 2008, there’s no need to dip into the

10   revolver.   But this is a downside case, so for 2009, there’s

11   a need to dip a little bit into the revolver.             That’s why

12   it’s 674 as opposed to 685.       In 2010, it’s 533 instead of

13   685, so again, a need to dip into the revolver a little bit

14   more.   But in 2011, there’s enough cash generated to

15   basically replenish the revolver, bring it back up to 685,

16   which is why, in the final box, there’s the number 685.              So

17   based on this downside analysis, while there’s a need to tap

18   into the revolver a little bit, in a couple of years, you

19   wind up back where you started with, with the Tribune having

20   the full revolver.    So this is not using management

21   projections.   It’s using downside projections, all the

22   downside projections that -- by third parties, that we found

23   at least as of the time that this exhibit was prepared, and

24   again, reached the conclusion that, even in terms of capital

25   adequacy, which I understand capital adequacy as the ability
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 112 of 260
                                                                             112
 1   to pay your debts when they become due in a downside case,

 2   that Tribune, as of step one, based on recap only, would

 3   meet any test of solvency.

 4   Q      Okay.    Thank you, Professor.      I’d like, now, to turn

 5   to the topic of your solvency analysis as of June 4,

 6   assuming a merger.    And we turn first --

 7   A      Okay.

 8   Q      -- to page one of Exhibit M of your report, behind tab

 9   14.   Could you explain that?

10   A      Yes.    What I wanted to do is basically do the same

11   three types of analyses: a discounted-cash-flow analysis,

12   comparable-companies analysis, and a comparable-transactions

13   analysis.     But I was aware that there was a dispute in the

14   case, in terms of a balance-sheet analysis, whether it was

15   appropriate to include the tax benefits from the S-corp.

16   ESOP structure as part of a balance-sheet analysis.                 And I

17   think, for reasons that I -- reasons that I’ll have a chance

18   to explain, I believe it is proper to include it.              But I did

19   an analysis both including it and not including it, just to

20   highlight what the results would be if it were included and

21   if it weren’t included.     And this first exhibit is a DCF

22   analysis, using -- with consideration of merger, taking into

23   account the S-corp. tax rate and the benefits from the S-

24   corp. ESOP structure.     So let me just highlight how this

25   particular exhibit --
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 113 of 260
                                                                          113
 1   Q     Okay.

 2   A     -- does that.

 3   Q     Well --

 4   A     It’s a little bit repetitive from what I said before,

 5   so I just want to highlight the differences that exist

 6   because of the tax treatment and because of -- that this

 7   considers the merger.     First of all, the EBITDA line at the

 8   top is a little bit different, because the Tribune

 9   anticipated eliminating SBC expense if there were a merger,

10   so EBITDA is adjusted to reflect that elimination.              But if

11   we go to line D, the tax rate, and just take that across.

12   The number there is 4.1 percent, reflecting the fact that

13   the Tribune, under the S-corp. tax structure, wasn’t going

14   to pay federal taxes.     And at least as of June, my

15   understanding is that the Tribune expected to pay 4.1

16   percent in state taxes, although I’ve seen different numbers

17   for the state tax.    But here, I used 4.1 percent.            And

18   because of the fact that the tax rate is so low, the cash-

19   flow, line K, if we can highlight that, that’s going to be

20   higher obviously, because you’re not paying federal taxes,

21   and the dollars that you would’ve paid in federal taxes now

22   are available in terms of free cash-flow.            And then, if I go

23   down to the box, there’s a very -- the bottom panel, there’s

24   a very significant change there as well, which -- well,

25   first of all, the 8.75 multiple, that doesn’t change,
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                                                                           114
 1   because that’s just based on comparable companies that we

 2   talked about before.     But if we look at the discount rate of

 3   11 percent, that’s significantly higher than the 8-percent

 4   discount rate that I was using before.            And the reason for

 5   that, it’s -- is that it’s an all-equity discount rate.               And

 6   just to explain briefly, the 8-percent discount rate was a

 7   combination of the after-tax cost of debt and the cost of

 8   equity.   But if you use an S-corp. ESOP structure, you no

 9   longer have an after-tax cost of debt.            In fact, you’re not

10   getting any benefit from the tax shield that you would get

11   if you had debt in the capital structure.            So I used,

12   basically, an all-equity discount rate.

13   Q     Um-hum.

14   A     And because equity is riskier than debt, and I

15   calculated the equity discount rate the same way as

16   previously but now just focusing on cost of equity, I got an

17   11-percent discount rate and then applied that to both the

18   present value of the terminal value and the present value of

19   the 2008 to 2012 cash-flow.       So basically, there’s a

20   tradeoff.   If you have higher original cash-flows because

21   you’re not paying taxes, that increases valuation.              But

22   then, if you also increase the discount rate to reflect that

23   you’re using an equity discount rate as opposed to a WACC,

24   which includes an after-tax cost of debt, the higher the

25   discount rate, the lower the present value, so there’s that
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 115 of 260
                                                                           115
 1   tradeoff.   And the calculation about what the value of

 2   publishing and broadcasting is reflected at the bottom of

 3   the exhibit.   Again, this is taking management projections,

 4   but using the benefits from the S-corp. ESOP tax structure

 5   as part of the balance-sheet analysis.

 6   Q     Okay.    So you’re aware that the examiner’s taken the

 7   position that the benefits of the tax savings from the S-

 8   corp. should not be included in the balance-sheet test?

 9   A     I am.

10   Q     And do you agree with that?

11   A     I do not.      I -- you know, I’ve seen a lot of analysis

12   of this issue and a lot of terms of investment value and

13   market value and fair value and balance-sheet value, but you

14   know, to me, it’s a simple issue of economics.              If you have

15   a company that’s -- that has an asset that’s generating $100

16   of value, that’s $100 that’s available to pay creditors.

17   And if the same company has a tax structure that’s also

18   saving -- that’s also creating the same $100 of value,

19   there’s no difference between those two $100 of value.               They

20   are both real dollars that are available to pay creditors.

21   And in my opinion, it would be a fundamental economic error

22   to say that some real dollars count, for purposes of

23   analyzing whether a company can pay creditors, but other

24   dollars that are equally real don’t count for analyzing the

25   same question.      And just to get a sense of how perverse this
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 116 of 260
                                                                          116
 1   is and how this could really lead you to make a really

 2   serious error, take a company that was not in bankruptcy,

 3   not like the Tribune, but had a structure like this, and

 4   because of the structure, because of the real tax dollars

 5   that were able to be used to pay creditors, the company was

 6   able to pay its creditors at every point in time -- pay

 7   interest when it was due, pay principle when it was due --

 8   so it was never in default.       You would never do a balance-

 9   sheet-solvency analysis of that company and conclude that it

10   was insolvent, even though it never defaulted ever, because

11   some of the real dollars that were used to pay creditors

12   don’t count, according to some artificial definition of

13   value, even though those same dollars are real economic

14   value that were used to pay creditors.            And if you concluded

15   that this obviously solvent company was insolvent because of

16   this, in my opinion, arbitrary and artificial definition of

17   value, as I’ve said, you would really be making a

18   fundamental error.    You would be classifying an obviously

19   solvent company as insolvent, not because the company wasn’t

20   able to pay creditors, but because you started with some

21   artificial and unrealistic definition of value.             And that,

22   in my opinion, is what the examiner did.            It makes no sense,

23   in my opinion, for the examiner to say that real value

24   counts for a capital-adequacy analysis, but the same real

25   value doesn’t count for a balance-sheet analysis.              If it’s
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 117 of 260
                                                                                117
 1   real value, it’s real value, and it counts for any

 2   valuation, no matter what you call it.            And so, for that

 3   reason, I -- on that particular issue, I don’t agree with

 4   the examiner.

 5   Q     Okay.     Have you, nevertheless, done an analysis under

 6   a different -- using a different methodology?

 7   A     I have.

 8   Q     And is that page two of Exhibit M, behind tab 15?

 9   A     It is.

10   Q     And would you please explain that one?

11   A     Yes.    You know, again, there’s two different ways to

12   analyze tax benefits.     One way is to basically increase the

13   cash-flows, because you’re not paying taxes, and then use a

14   higher discount rate, because you don’t have the after-tax

15   cost of debt in the WACC.        The other way to do it is to have

16   lower cash-flows, because you’re applying the federal tax

17   rate combined with the state tax rate, but to have a lower

18   discount rate and get the full tax benefits of leverage in

19   the WACC.    And so your discount rate is much lower.               Your

20   cash-flows are lower, but your discount rate is also lower,

21   and that’s a very standard methodology that doesn’t take

22   into account at all the S-corp. ESOP structure, but does

23   take into account the Tribune’s capital structure.              And

24   that’s what this particular exhibit does.            So again, if we

25   could highlight line D going across.          Instead of using 4.1
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 118 of 260
                                                                            118
 1   percent here, I used 37.7, which is the blended federal and

 2   state tax rate.     And then, just, you know, in the interest

 3   of time, if we could highlight the present value of terminal

 4   value and the net present value of 2007 to 2012 cash-flows,

 5   the bottom two lines, the -- in other words, the multiple

 6   stays the same, but the discount rate, because you’re

 7   getting the benefit of high leverage in the Tribune’s

 8   capital structure, you’re getting a -- you have a much lower

 9   WACC, which is calculated separately, on a different

10   exhibit, of 7.75 percent.        So you have lower cash-flows,

11   because you’re paying the taxes, but you also have a much

12   lower discount rate.     And if you do that, you get the number

13   of the Tribune’s publishing and broadcasting assets at the

14   bottom of the page.     And let me just say one other thing.

15   For this purpose, I used the Tribune’s actual debt-equity

16   ratio --

17   Q     Um-hum.

18   A     -- but the conclusion doesn’t change if I use the

19   industry average debt-equity ratio.          You get exactly the

20   same conclusion, based on the value of leverage having

21   nothing to do with the S-corp. ESOP tax structure.              As I

22   said, I did it two different ways, notwithstanding my belief

23   the examiner was incorrect about disregarding the value from

24   the S-corp. ESOP tax structure.        I don’t agree with that

25   conclusion, but I also performed a different analysis, which
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 119 of 260
                                                                           119
 1   ignores the tax benefits from the S-corp. ESOP tax

 2   structure, and reached exactly the same result.

 3   Q        Okay.    Now, have you prepared a summary of your -- of

 4   these analyses as of June 4, assuming the merger?

 5   A        Yes.

 6   Q        Is that behind tab 16?

 7   A        It is.

 8   Q        And can you tell us briefly what that shows?

 9   A        Yes.    This is, you know, the same summary, same type

10   of summary as before, but this time collapsing the two

11   transactions, the -- I’m sorry, the two steps: step one and

12   step two.       And you know, again, just in the interest of

13   time, if you look at the last column, the Tribune equity

14   value, and you get, again, a range of different values,

15   depending on which methodology you use.             And the numbers are

16   little bit lower if you collapse the two steps, than just

17   based on step-one recap only, but you’re still, I would say,

18   in the comfortable range of solvency on a balance-sheet

19   test, I would say, whether or not you take into account the

20   S-corp. ESOP tax benefits that the examiner concluded, in my

21   opinion, incorrectly.       It should not be treated as relevant.

22   Q        Okay.    Now, these analyses that you did, that we’ve

23   discussed, were based on management’s projections, is that

24   right?

25   A        Correct.
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 120 of 260
                                                                           120
 1   Q        And did you also do an analysis based on third-party

 2   projections?

 3   A        I did.

 4   Q        And is that behind tab 17?

 5   A        Yes.

 6   Q        Could you just -- is this the same thing, the same DCF

 7   type of analysis, but using the average third-party

 8   projections?

 9   A        Yes.    And again, this -- again, I did this two ways

10   again.

11   Q        Okay.

12   A        The same two ways.    And I think it would be a little

13   bit repetitive, maybe, to go through the exhibits, but it’s

14   basically -- in the first one, there’s an assumption of no

15   federal taxes and a high discount rate.             That’s behind tab

16   17, Exhibit BB, I guess, page four.            And then, the next

17   page, page five, is again my alternative methodology, just

18   taking into account the benefits of leverage, without

19   consideration of the Tribune’s S-corp. ESOP tax structure,

20   using the Tribune’s debt-equity ratio.              But again, the

21   results don’t change if I use an industry-average debt-

22   equity ratio.

23   Q        And then, have you summarized those results behind tab

24   18?

25   A        Yes.
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 121 of 260
                                                                              121
 1   Q        And briefly, just what does that show?

 2   A        You know, again, if you just highlight the last

 3   column, Tribune equity value, you see the numbers are, you

 4   know, again, a little bit lower, that the third-party

 5   projections are lower than management projections.                But

 6   again, this is on the assumption that you’re collapsing the

 7   two transactions, which I don’t believe is correct, but

 8   that’s what this analysis is based on.              You still find

 9   solvency, although the numbers are getting a little bit

10   lower.

11   Q        Okay.    Now, did you also do an analysis of ability to

12   pay and capital adequacy, assuming the merger?

13   A        I did.

14   Q        And in the interest of time, why don’t we turn to tab

15   20, which is Exhibit Q?       This is the analysis using the

16   downside projections, is that right?

17   A        I’m sorry.   What tap did you say?

18   Q        At tab 20, Exhibit Q to your report.

19   A        Yeah, I -- my -- it’s not tab 20 in my binder.               It’s

20   tab 19 in my binder, just so we’re --

21   Q        Tab 19 is based on management’s base-case projections,

22   is that right?

23   A        No.

24   Q        No?

25   A        No.
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 122 of 260
                                                                            122
 1   Q        All right.

 2   A        Not in my binder anyway.

 3   Q        Well, let’s look at Exhibit Q.

 4   A        Okay.    I have Exhibit Q.      It doesn’t matter what tab

 5   it is.

 6   Q        That’s right.

 7   (Laughter)

 8                    THE COURT:    Darn those paralegals.

 9                    MR. BUSATH:   That’s right.

10   (Laughter)

11   BY MR. BUSATH:

12   Q        Could you summarize that for us?

13   A        Yes.    This is a capital-adequacy analysis based on

14   downside cases, again an average of third-party downside

15   cases, with the consideration of the merger, so again, this

16   is collapsing the two steps, even though, in my opinion,

17   it’s not appropriate to do that.            For purposes of analyzing

18   solvency, it may be reasonable to analyze the desirability

19   or the feasibility of the second step, but --

20   Q        Um-hum.

21   A        -- not for purposes of analyzing solvency as of June

22   4.   And again, you really -- now you can see the effect of

23   the merger in a downside case.           If we highlight line S going

24   across.    And what this shows is, you know, again focusing on

25   the availability of the revolver, you start with 685, and
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 123 of 260
                                                                         123
 1   then you have to -- in 2008 and 2009, you have to tap into

 2   the revolver immediately, so the revolver numbers go down.

 3   And then, in 2010 and 2011, the revolver numbers turn

 4   negative, meaning that, in those years, the Tribune does not

 5   have enough liquidity in order to meet its mandatory

 6   obligations.    And then, in 2012, the number turns positive,

 7   to a plus-9.    So it’s very close, making these assumptions,

 8   whether the Tribune satisfies the capital-adequacy test.

 9   But there’s certain assumptions that I’ve built into this

10   analysis, which can be varied, which I think create a more

11   optimistic picture about solvency, even under these most

12   negative of assumptions.     And should I --

13   Q     Please.

14   A     Okay.    Well, you know, I would say the most important

15   is the number that we use for asset sales.            If we could look

16   at line H.    We use a number of 602, you know, for the Cubs,

17   because that’s the only thing we were confident of that we

18   could document.     But the examiner, himself, uses a higher

19   number, a higher number that Mr. Tuliano, himself, adopts.

20   And I have a page from Mr. Tuliano’s report here.

21   Q     Is that behind tab 21?

22   A     Well, let’s forget the tabs --

23   Q     Or --

24   A     -- because we’re --

25   Q     -- the tab --
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 124 of 260
                                                                               124
 1   A     -- out of order.

 2   (Laughter)

 3   A     It’s excerpt from page 120, expert report of Ralph

 4   Tuliano.   And if we could just -- yes.           In Mr. Tuliano’s

 5   analysis, taken from the examiner, he says that he’s assumed

 6   net-after-tax proceeds from the sale of assets of 87 million

 7   and 735 million, which is, if my instant math is correct,

 8   822 million.   And now, if we turn back to my exhibit, and

 9   again, highlight line G -- Exhibit Q, I’m sorry, and

10   highlight line G -- I’m sorry, line H.            I apologize.      If we

11   substitute that 822 number for the 602 number, that’s $220

12   million of extra cash from asset sales, and then all these

13   negative numbers for 2010 and 2011 would disappear, and the

14   number at the end, the 9, would be much higher as well.

15   There’s other steps as well, other well-known, recognized

16   steps of -- you could decrease capital expenditures.                You

17   could layoff some people.        You could save costs in other

18   ways, perhaps some -- use some of the assets from the over-

19   funded pension plan, so there’s other things, if this were a

20   real-world scenario, that the Tribune could do in addition

21   to selling additional, particularly non-cash-earning or

22   little-cash-earning assets.       So while I thought this

23   analysis produced a result that was close to the line for

24   the reasons that I said, there’s reasons to believe that,

25   even though this is a downside, it’s too much of a downside
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 125 of 260
                                                                          125
 1   that, in the real world, there would be steps that could be

 2   taken to create a bigger cushion that’s -- than is reflected

 3   on this exhibit.

 4   Q       Okay.   Now, have you also looked at what’s been

 5   referred to as downside case A and downside case B?

 6   A       I have.

 7   Q       And what did you do?     What did your results, your

 8   analysis show, with respect to them?

 9   A       Well, I ran downside A’s -- downside case A and B

10   through all my different analyses, just recap only, recap

11   with merger, and -- well, first of all, again, downside A

12   and downside B, if you use the 822 number, they all produce

13   -- both produce positive numbers, even the downside B

14   number.    But even using my 602 number, which I used

15   originally, none of my conclusions about capital adequacy

16   changed.   Obviously the numbers changed slightly if you

17   introduce new projections, but the qualitative nature of the

18   conclusions do not change.

19   Q       Okay.   Then to summarize, Professor Fischel, what is

20   your opinion regarding Tribune’s solvency as of June 4,

21   2007?

22   A       My opinion is that the proper way to analyze solvency

23   as of June 4 is looking at step one only.            I believe the

24   Tribune was clearly solvent, using any test of solvency, as

25   well as the market evidence that I described as of June 4.
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 126 of 260
                                                                            126
 1   And if I also perform the same analysis, collapsing the two

 2   steps, I reach the same conclusion, although the numbers are

 3   lower.    The degree of solvency is less than if I just

 4   analyzed step one, focusing on the recap only.

 5   Q        Okay.    Now, you also looked at solvency as of December

 6   20, 2007, is that right?

 7   A        I did.

 8   Q        And did you perform the same type of methodology?

 9   A        Exactly the same analysis.        I looked at the market

10   evidence, and then I performed the same three standard

11   valuation analysis -- methodologies of balance-sheet

12   analysis, an ability-to-pay analysis, and a capital-adequacy

13   analysis.

14   Q        Okay.    Now, briefly, could you describe the market

15   evidence that you looked at of December 20?

16   A        Yes, the -- in December 20, there’s additional money

17   being invested by market participants.              There’s some

18   additional money being put in my Zell, in the form of

19   purchase of warrants and a little additional money in terms

20   of the subordinated note.          There’s also a purchase of

21   warrants by a third party, Mr. Greenspun [ph].               The lenders

22   advance another $4 billion worth of debt.              And I also looked

23   at the rating agency data, the CDS data, the internal

24   valuations of the various participants in the venture.                So

25   basically did the exact same thing as I did for June, but as
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 127 of 260
                                                                         127
 1   applied to December.

 2   Q     Okay.    Can I have you look at Exhibit W of your

 3   report?

 4   A     Okay.    I have that.

 5   Q     Is that the summary of the results of the solvency

 6   analyses you did?

 7   A     I -- it is.

 8   Q     Okay.    And then, did you also look at Tribune’s

 9   ability to pay its debts as of December 20, 2007?

10   A     I did.

11   Q     And did you use -- what projections did you use in

12   doing that?

13   A     Well, I used several different ones.            I used

14   management’s base case.      I used management’s downside case.

15   And I also used an average of third parties’ downside case

16   projections --

17   Q     Okay.    And --

18   A     -- and the series of exhibits.

19   Q     For the interest of time, could we turn to Exhibit Z

20   to your report?

21   A     Okay.    I’ve got --

22   Q     In my binder --

23   A     -- that.

24   Q     -- it’s behind tab 25.

25   A     Okay.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 128 of 260
                                                                         128
 1   (Laughter)

 2   Q     This is your capital-adequacy analysis, based on the

 3   average of downside case projections, is that correct?

 4   A     That’s right.

 5   Q     Could you explain that briefly?

 6   A     Yes, this is, you know, I would say the exhibit of

 7   everything that I did that’s the closest to the line on

 8   solvency.    I feel fairly comfortable with everything that I

 9   did in June, whether it’s one transaction or two

10   transactions, particularly one transaction, which I think is

11   correct.    And also, I feel comfortable in December with my

12   balance-sheet analysis as well as my ability-to-pay

13   analysis.    And I also feel comfortable with several of the

14   downside cases.     But this one, particularly, I think is very

15   close to the line.    I just want to be candid about that.

16   And again, I think the simplest way to see that is to

17   highlight row Q going across.        And here is where, again, you

18   start with the revolver of 685.        You have to dip into the

19   revolver immediately.     The revolver continually goes down,

20   and you end up with a negative 5.         So you not only end up

21   with a negative number, but you have a negative trend, from

22   beginning to end.    And so I would say, even though some of

23   the steps that I outlined before -- reducing capital

24   expenditures, reducing employee compensation, layoffs,

25   possibly some assets from an over-funded pension plan --
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 129 of 260
                                                                          129
 1   it’s possible that some of those steps could correct this

 2   negative number.     In fact, I think they probably would

 3   correct this negative number.         If I were looking at this

 4   document in isolation, I would say I’m not sure that I would

 5   reach any opinion on solvency, and this is, as I said, the

 6   most negative.      But viewed in combination with the other

 7   analyses that I did, I concluded, as I said at the outset,

 8   that I think the Tribune was borderline solvent in December,

 9   making the lenders’ decision not to contest the solvency

10   certificate a reasonable one.

11   Q     Okay.   Professor Fischel, could you turn to Exhibit R

12   to your report?     There’s two pages to that in the binder.

13   Are you with me?

14   A     Yes.

15   Q     Could you explain this analysis?

16   A     Yeah, this is another area where I disagreed with the

17   examiner on the examiner’s conclusion that the guarantor

18   subsidiaries were insolvent as well as the combined entity.

19   And again, in -- what I did was, I started with the

20   examiner’s analysis that’s on page 52, and then I made two

21   adjustments to the examiner’s analysis that’s on page 53.

22   And what I did was, I took the Cubs, and I moved the Cubs

23   from the parent to the subsidiary, because my understanding

24   is the examiner incorrectly included the Cubs as an asset of

25   the parent, as opposed to the asset of the subsidiary -- or
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 130 of 260
                                                                          130
 1   subsidiaries.    And then, I also took the examiner’s low

 2   number for the S-corp. ESOP tax benefit, and I included that

 3   in a balance-sheet valuation.        If I had used my alternative

 4   methodology of ignoring the S-corp. ESOP structure but just

 5   using the tax benefits from leverage, I would’ve gotten

 6   exactly the same result.     And making those two adjustments,

 7   if you look at the very bottom right, the equity number for

 8   the guarantor subs, it turns positive, as probably other

 9   adjustments -- in fact I know there are other adjustments

10   that you could make, but I wanted to just present simply, if

11   you corrected the error on the Cubs and you treated the tax

12   benefits correctly, whether from an S-corp. ESOP structure,

13   just analyzing the value of leverage correctly, you would

14   reverse the examiner’s conclusion on the solvency of the

15   subsidiaries.

16   Q       Okay.   Professor Fischel, could we turn, for the

17   remaining time, to your third opinion, regarding your

18   analysis of what occurred in 2008, and could you summarize

19   that?

20   A       You know, I think my report is fairly self-

21   explanatory.    I also think the economy-wide crisis that

22   really accelerated in 2008 is well known.            I think that had

23   a very major effect on a company like the Tribune because

24   when the economy goes into a precipitous downturn, there's

25   less retail sales.    There's less auto sales.          That means
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 131 of 260
                                                                         131
 1   there's going to be a lot less advertising, which is the

 2   principle source of revenue for the Tribune's businesses.

 3   And you can see that in all kinds of different ways with

 4   various types of economic statistics that I provided in my

 5   original report, and, you know, I could go through the

 6   exhibits, but I -- I'm not sure how much time there is and I

 7   think they're fairly self-explanatory anyway.

 8   Q     Yeah.   So those are the exhibits we've included in AA

 9   to AF in the binder?

10   A     That's right.     Beginning on AE and going through AF.

11   Q     Now have you looked at Professor -- Mr. Tuliano’s

12   report?

13   A     I have.

14   Q     And do you have any reactions to his report?

15   A     You know, again, I think they're summarized in my

16   rebuttal report.    I think it's difficult for -- in a minute

17   to try and summarize them.       I think it -- it's fair to say I

18   disagree with virtually every aspect of --

19         (Laughter)

20   A     -- Mr. Tuliano’s report.        I think what he did with

21   projections is wrong, what he did with discount rates is

22   wrong, what he did with terminal values is wrong, what he

23   did with cash flows is wrong, and I tried to summarize all

24   that in my rebuttal report, so.

25   Q     Very good.    Thank you, Professor.
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                                                                         132
 1                 THE COURT:    Take a short recess, five minutes,

 2   ten minutes.

 3            (Recess)

 4                 THE CLERK:    All rise.

 5                 Be seated, please.

 6                 THE COURT:    Cross-examination.

 7                 MR. QURESHI:    Thank you, Your Honor.        May I

 8   approach with exhibits?       I've already left a set at the

 9   witness box.

10                 THE COURT:    You may.

11                 MR. QURESHI:    Thank you.

12                 THE COURT:    Mr. Qureshi, will we be using the

13   binders that were used for direct at all?

14                 MR. QURESHI:    I do not anticipate so, with the

15   exception, Your Honor, of one or two slides, but we'll pull

16   those up on the monitor, so --

17                 THE COURT:    Okay.

18                 MR. QURESHI:    -- I think you can set that binder

19   aside.

20                 THE COURT:    Thank you.

21                 MR. QURESHI:    Thank you.

22                              CROSS EXAMINATION

23   BY MR. QURESHI:

24   Q        Good afternoon, Professor Fishel.        For the record my

25   name is Amid Qureshi from Akin, Gump on behalf of Aurelius
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 133 of 260
                                                                          133
 1   Capital.

 2         So I heard your counsel take you through your -- your

 3   credentials and I must say having heard that I'm actually

 4   glad it was my partner, Ms. Newman, who took your

 5   deposition.

 6         (Laughter)

 7   Q     Now your hourly rate, Professor Fishel, is how much?

 8   A     A thousand dollars an hour.

 9   Q     Okay.    And when did you start working on this

10   engagement?

11   A     I think -- you know, if I remember correctly, sometime

12   in the -- maybe the spring of 2010.

13   Q     Okay.    And am I correct, sir, that in your expert

14   report you do not define the standard of value that you are

15   applying?

16   A     Well, I -- I think I do.        At least in my opinion I do.

17   I define it as the value that's available in terms of

18   whether assets are greater than liabilities, whether the

19   company has sufficient ability to pay its creditors when

20   creditors are owed interest or principal payments.              That's -

21   - in other words, my definition of value is real economic

22   value that the company has that it could be used to pay

23   creditors.

24   Q     Right.   So you go through all of the tests -- balance

25   sheet, capital adequacy -- and you conclude, based on your
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 134 of 260
                                                                         134
 1   definition of real economic value that there's enough there

 2   to satisfy creditors, right?

 3   A     Basically.    Correct.

 4   Q     Right.   But -- but you don't, in the front or anywhere

 5   else in your report, say that the standard of value that I

 6   am applying is X.    Is that right?

 7   A     I don't agree.     The standard of value is what the

 8   assets are worth.

 9   Q     Okay.

10   A     That's the standard of value.

11   Q     Okay.    And -- and you know who Professor Pratt is,

12   don’t you?

13   A     I do.

14   Q     Okay.    And do you agree that he's -- he's a well known

15   author in the valuation field?

16   A     I do.

17   Q     And you would agree that his texts are authoritative?

18   A     You know, I would say they're well known.             As I -- I

19   think I explained to your colleague, I just went through

20   another trial which focused on Professor Pratt, so I'm very

21   familiar with his work as well as what I agree with and

22   disagree with in his -- in his text.

23   Q     Okay.    If you could please take a look at the binder

24   that I've placed before you --

25   A     Okay.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 135 of 260
                                                                         135
 1   Q     -- and turn to Tab 3, and you will see at Tab 3 an

 2   excerpt from Professor Pratt's book, Valuing a Business:

 3   The Analysis and Appraisal of Closely Held Companies.

 4                 MR. QURESHI:   And for the record, this has been

 5   marked as NPP Exhibit 88.

 6   BY MR. QURESHI:

 7   Q     And if you could turn, please, to Page 41.

 8   A     I have it.

 9   Q     Okay.    And -- excuse me --

10                 MR. QURESHI:   Your Honor, I'm told that the

11   screens have been turned off.        If we could get those turned

12   back on.

13         (Pause)

14                 THE COURT:   I'm told they're on.

15                 MR. QURESHI:   Can I have just a moment, Your

16   Honor, so we can --

17                 THE COURT:   Certainly.

18                 MR. QURESHI:   -- figure this out?

19         (Pause)

20                 MR. QURESHI:   Your Honor, I'm told we just need a

21   minute or two to restart the system if --

22                 THE COURT:   Okay.

23                 MR. QURESHI:   Thank you.

24         (Pause)

25                 MR. QURESHI:   Apologies for that, Your Honor.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 136 of 260
                                                                           136
 1   We're ready to go.

 2                 THE COURT:   All right.     Just keep Mr. Siegel away

 3   from the electronics during the breaks.

 4         (Laughter)

 5   BY MR. QURESHI:

 6   Q     Professor Fishel, what I would like you to do, sir,

 7   please is on the screen or in front of you, Page 41 of

 8   Professor Pratt's book, and I would like you read under the

 9   heading, "Standards of Value," the second paragraph.

10   A     The paragraph that begins, "Without"?

11   Q     Correct.

12   A     "Without carefully defining the term, 'value,' the

13   conclusions reached in the valuation report have no

14   meaning."

15   Q     Okay.    And, sir, you're -- you're familiar with the

16   term, fair market value, though, right?

17   A     You know, again, I've heard terms used in a variety of

18   different contexts meaning different things.            I certainly

19   have my own understanding of what the term, fair market

20   value, is, but I think frequently these terms are used

21   loosely and I think as Professor Pratt himself suggests they

22   can mean different things to different people.

23   Q     Right.    So -- so turn the page in Professor Pratt's

24   book, please, to Page 42 --

25   A     Okay.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 137 of 260
                                                                         137
 1   Q       -- and you'll see a paragraph there beginning, "In

 2   most interpretations of fair market value."            Do you see

 3   that?

 4   A       I do.

 5   Q       Can you please read that?

 6   A       You want me to read it out loud?

 7   Q       Yes, please.

 8   A       "In most interpretations of fair market value, the

 9           willing buyer and willing seller are hypothetical

10           persons dealing at arms length rather than any

11           particular buyer or seller.       In other words, a price

12           would not be considered representative of fair market

13           value if influenced by special motivations not

14           characteristic of a typical buyer or seller."

15   Q       And you disagree with that particular definition of

16   fair market value, right?

17   A       Well, I guess I -- I would need to know exactly what

18   is meant.   It’s not obvious to me.        I think if you're

19   dealing with real world buyers and sellers, just like if

20   you're dealing with real world assets and liabilities, it's

21   better to focus on the real world buyers and sellers and the

22   real world assets and liabilities rather than hypothetical

23   assets and liabilities or hypothetical buyers or sellers.            I

24   mean, I could understand possibly trying to reconstruct a

25   market transaction if you don't have actual transactions,
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 138 of 260
                                                                         138
 1   but if you have actual transactions in the same way, if you

 2   have actual assets and liabilities, I think you should value

 3   the actual assets and liabilities, not hypothetical assets

 4   and liabilities.

 5   Q     Okay.    So -- so in other words, under your real

 6   economic value standard, as I think you described it on

 7   direct, the specific attributes of a -- of a buyer should be

 8   taken into account.     You shouldn't use the hypothetical

 9   buyer as suggested by Professor Pratt, correct?

10   A     I think if you're analyzing whether or not there's

11   sufficient assets to pay creditors --

12   Q     Okay.

13   A     -- you should analyze the value of the assets in the

14   real world, not in a hypothetical world.

15   Q     And so when you're doing a balance sheet solvency

16   test, what you're doing is analyzing whether there's enough

17   there to pay creditors?

18   A     You're analyzing whether the value of assets is

19   greater than the value of liabilities, and the only way to

20   do that in a meaningful way is to look at the real assets

21   and the real liabilities, not hypothetical assets and

22   liabilities.

23   Q     Okay.    And -- and as you talked about on direct, in

24   your balance sheet solvency analysis you take into account

25   the tax benefits of the buyer in this transaction here being
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 139 of 260
                                                                           139
 1   an S-Corp ESOP structure, right?

 2   A      Well, I -- I do it in two ways, sir.           One way, yes,

 3   and one way, no.

 4   Q      Right.   And -- and am I right that -- that you don't

 5   cite any academic authority in your report for doing it that

 6   way; that is to say for taking into account those -- those

 7   tax benefits.    Is that right?

 8   A      No.   I do not.   I think the point is clear and

 9   consistent with basic economics about how assets should be

10   placed in their highest and best use, and assets should be

11   valued based on how they are.        But I didn’t cite any

12   specific academic literature for those propositions.

13   Q      Turn, sir, please to Tab 4 of the binder in front of

14   you.

15   A      Okay.    I have it.

16   Q      And, again, this is an excerpt from a handbook

17   entitled, S-Corporation ESOPS.        I would like you to turn to

18   Page 98 and under the heading, "Conclusion," I would like

19   you to read the first sentence, please.

20   A      "No increase in value is appropriate in the appraisal

21   of S-Corporation ESOPs only as a result of a change in tax

22   status."

23   Q      And then if you skip one sentence and then there's

24   another sentence in that same paragraph beginning, "The

25   presumption."    Can you please read that as well?
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 140 of 260
                                                                          140
 1   A       "The presumption of an S-Corporation buyer violates

 2   the fair market value standard because another S-Corporation

 3   is a specific buyer."      Should I keep reading?

 4   Q       No.   You can stop there.      Thank you, Professor.

 5           And you're aware -- I think you mentioned on your

 6   direct testimony, actually, that the -- that the examiner

 7   also disagrees with taking into account the tax benefits of

 8   an S-Corp ESOP structure in doing a balance sheet solvency

 9   test.   Is that right?

10   A       I am aware of that.

11   Q       All right.

12           Now what I would like you to do is in the -- in the

13   red weld that has been placed in front of you, sir, there

14   should be -- all right.      Actually, you know, the section of

15   the examiner's report that I wanted is not in the binder.

16   So let's just pull it up on the screen.            It's Page 225 and

17   226 of Volume I.

18           And I gather you're aware from the work that you've

19   done in this case, Professor, that -- that there was a

20   solvency opinion rendered by VRC at the time of the

21   transaction?

22   A       Yes, sir.    I am aware of that.

23   Q       Okay.   Now -- and we'll -- we'll blow up Page 226 in

24   particular and you'll -- you'll see Brian Browning, he was a

25   managing director or, perhaps, still is the managing
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 141 of 260
                                                                         141
 1   director at VRC.    And if you look at the top of Page 226, I

 2   would like you to just read the sentence that begins, "Brian

 3   Browning."    Do you see that?     And we'll blow it up for you.

 4   A     I would appreciate that because I don’t -- I don't --

 5   Q     Yeah.

 6   A     Oh, I see.    I'm sorry.     You want me to read that

 7   sentence, sir?

 8   Q     Yes, please.

 9   A     Okay.

10         "Brian Browning, a managing director at VRC who has

11         worked on 400 to 500 solvency opinions, including the

12         Tribune opinions, testified that he did not believe he

13         had ever worked on a solvency opinion that modified

14         the definition of fair value in that fashion."

15   Q     Okay.    And you'll see, if you flip back to Page 225 --

16   and we'll blow it up for you -- that there the examiner

17   notes that VRC was required to measure fair market value as:

18         "The consideration that would change hands between a

19         willing buyer and a willing seller, both having

20         structures similar to the structure contemplated by

21         the -- by the subject entity; that is, an S-Corp

22         ESOP."

23         Do you see that?

24   A     I do.

25   Q     Have you heard -- did you come across in your
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 142 of 260
                                                                          142
 1   investigation here, sir, a firm by the name of Murray

 2   Devine?

 3   A     You know, I think I've heard that name, but I don't

 4   really remember anything specific about it.

 5   Q     Okay.    Well, they were a -- they are a solvency firm

 6   hired by, among others of your client, JPM.             And what I

 7   would like you to do is I'm going to play a short excerpt

 8   from the deposition of Mr. Kenney, who is from Murray Devine

 9   and who worked on this matter back in 2007.

10                 MR. QURESHI:   It's Click 32, please, Robbie.

11         (EXCERPT OF DEPOSITION PLAYED AS FOLLOWS):

12                 "Q   Okay.   And is it appropriate to include

13         within a fair value determination attribute --

14         attributes     or value that results from unique aspects

15         of the buyer?"

16                 "ATTORNEY:   Objection as to form.          Object to form

17         and foundation.

18                 "A   I have not seen that before.

19                 "Q   Okay.   So in your opinion would it not be

20         appropriate to include that -- those aspects of value?

21                 ATTORNEY:    Objection to form and foundation.

22                 "A   I've never seen it before.         I would probably

23         say it's not appropriate."

24                 (PLAYBACK OF DEPOSITION CONCLUDED)

25   Q     And, Professor Fishel, those were the words of a
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 143 of 260
                                                                         143
 1   contemporaneous participant in the transaction, right, not

 2   an after the fact expert?

 3   A     From what -- what you represented that sounds right.

 4   Q     Okay.

 5                 MR. BUSATH:   Your Honor, we have a series where

 6   they're reading excerpts and not asking -- not laying a

 7   foundation that the -- that there was expertise here and not

 8   asking Mr. Fishel about what's being said, just reading

 9   things into the record.      I'm not sure that's proper.

10                 THE COURT:    Well, with respect to the last

11   question the objection is overruled.          But you may rise again

12   if you think it's appropriate.

13   BY MR. QURESHI:

14   Q     Now let's -- let's talk about the balance sheet

15   solvency test that you did here.

16         Now after you read Mr. Tuliano’s report, you ran a DCF

17   analysis of step one with consideration of the merger using

18   average based case projections, right?

19   A     Correct.

20   Q     And in your opening report you just used management

21   projections, did you not?

22   A     That's right.

23   Q     Okay.    And in your rebuttal report -- I think it's

24   Exhibit BB to your rebuttal report -- that shows the

25   analysis that you -- that you did, correct?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 144 of 260
                                                                           144
 1   A     Hold on.

 2   Q     It's Page 5 of Exhibit BB in particular.

 3   A     Correct.

 4   Q     Okay.     And if you look on Page 5 in Exhibit BB in your

 5   rebuttal report, this analysis -- your DCF analysis there

 6   you use Tribune's debt to equity capital structure, right?

 7   A     Correct.

 8   Q     Okay.     Now I would like you to -- I apologize -- we're

 9   going to be flipping back and forth a little bit between

10   your reports.    But go to your opening report.           I think it's

11   probably easiest and -- to use the tabbed version that I

12   believe was handed up on your direct.

13   A     Okay.     I have it.

14   Q     And turn to Exhibit M, and once you're in Exhibit M go

15   to Page 38.   And this is -- this is the same DCF that you

16   ran but using the management projections.            Is that right?

17   A     Correct.

18   Q     Okay.     And you show -- at the bottom right there's a

19   box and it shows discount rates from a range of seven-and-a-

20   quarter to eight-and-a-quarter percent --

21   A     That's right.

22   Q     -- and then along the top terminal multiples of eight-

23   and-a-half to nine, right?

24   A     Correct.

25   Q     okay.     And -- and that's commonly referred to as a
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 145 of 260
                                                                          145
 1   sensitivity analysis or a sensitivity table.             Is that right?

 2   A        You could call it that.

 3   Q        Okay.   And what -- what you're trying to do here is

 4   show how your conclusion would be impacted by using

 5   different discount rates and different terminal multiples,

 6   right?

 7   A        That's correct.

 8   Q        Okay.   Now I want you to go back to Exhibit BB --

 9   A        Okay.

10   Q        -- in your rebuttal report.       So, again, same DCF

11   analysis except here we're using third party projections

12   rather than management, correct?

13   A        Correct.

14   Q        And you don't have a sensitivity table, do you?

15   A        That's right.

16   Q        And is there a particular reason that you didn't put a

17   sensitivity table in?

18   A        There is.   I could have, but this particular exhibit

19   was a response to a criticism of Mr. Tuliano and what I

20   tried to do was create the exhibit in a way that was

21   responsive to his particular criticism where he did not

22   report a range for purposes of this analysis.              He reported

23   one number.      So that's what I did as well.

24            But you're quite right.      I could have also -- if I

25   weren't just responding to Mr. Tuliano, there would have
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 146 of 260
                                                                          146
 1   been nothing wrong with including the other data.

 2   Q      Right.   And -- and if you included a sensitivity table

 3   here with the same discount rate spread and the same

 4   terminal multiple spread it would, at the low end, at least,

 5   show insolvency, wouldn't it?

 6   A      I think at the low end you would get some negative

 7   numbers.   That's correct.

 8   Q      Okay.    Now in your opening report when you -- when you

 9   ran your analysis using management's projections, you simply

10   accepted those projections, right?          You didn't do any

11   analysis of them.

12   A      That's right.

13   Q      And you're not offering an opinion, I gather, sir, as

14   to the reasonableness of management's projections at step

15   one?

16   A      Correct.     I have no expertise in the reasonableness of

17   management's projections.

18   Q      Okay.    By the way, were you in court yesterday for any

19   of Professor Black's testimony?

20   A      No, sir, I was not.

21   Q      Okay.

22   A      I was there this morning so I heard much of Professor

23   Black's testimony this morning, but I was not in court

24   yesterday.

25   Q      Okay.    Well, Professor Black, he described the
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 147 of 260
                                                                          147
 1   industry that Tribune is in in May of '07 as being in a

 2   state of long-term decline.       Would you agree with that?

 3   A     Well, from what perspective?         I mean, from the

 4   perspective of today, from the perspective of -- what --

 5   what time -- long-period decline, people anticipated that it

 6   was going to be a long -- long-term decline, with the

 7   benefit of hindsight it's a long-term decline.

 8   Q     Well, let me --

 9   A     I mean --

10   Q     -- let me try to -- let me try it this way.              You

11   testified on direct when you were talking about why you took

12   a discount to the median multiple range, you testified that

13   the future of the industry was a little uncertain.

14   A     I did.

15   Q     Right?   And so -- so from that perspective, what the

16   future of the industry looked like back at that point in

17   time in 2007, what Professor Black said was that in May of

18   2007 in his view the industry was in long-term decline.

19         And so at that time period, sir, do you have a view as

20   to -- as to whether you agree with that?

21   A     Well, I -- I don't want to comment on what Professor

22   Black said one way or the other because I didn't hear it and

23   I'm not familiar with it.        But I don't think it could be

24   said in -- from what I know in May of 2007 that there was a

25   consensus that the industry was in long-term decline.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 148 of 260
                                                                          148
 1   Certainly, the market evidence is not consistent with that

 2   proposition.

 3   Q     Okay.    Turn to Tab 6, please, of your binder.

 4   A     Which binder, sir?

 5   Q     The binder of exhibits that I handed up.              It's the big

 6   binder.

 7   A     Okay.    I have it.

 8   Q     Okay.    And you'll see here this is an email from April

 9   30th from Peter Knapp who is the controller of the

10   publishing group and it's written to, among others, Mr.

11   Bigelow who, at the time, was the treasurer of the company.

12         Is this a document that you looked at or were provided

13   in the course of -- of preparing your report?

14   A     I don't know if we were -- if I was provided with it

15   or we were provided with it, but it played no role in the

16   preparation of my report.

17   Q     Okay.    And -- and for the record, this is NPP Exhibit

18   Number 397.

19         And so I gather, then, sir, that you weren't -- you

20   were not aware that, at least according to Mr. Knapp, there

21   was some consideration being given at Tribune at the time of

22   revising the projections?

23   A     No, sir.      I wasn't aware of that one way or the other.

24   Q     Okay.    And you're also not offering any opinion as to

25   the reasonableness of the company's projections at step two.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 149 of 260
                                                                         149
 1   Is that right?

 2   A     That's right.     I mean, one of the reasons why I did

 3   the alternative analysis using the average of third party

 4   projections was as a -- basically a check, an alternative

 5   methodology.    But as I said, I have no expertise in the

 6   reasonableness of projections and didn't form any opinions

 7   one way or the other on that issue.

 8   Q     Right.     And -- and you're obviously aware that the

 9   examiner concluded that management's projections in October

10   of '07, before step two were not supportable, right?

11   A     Yes.     My understanding is the examiner accepted

12   management projections for step one, did not accept them for

13   step two, and I used an average of third party projections

14   at both steps in addition to management projections.

15   Q     Okay.    Let's -- let's talk a little bit about

16   combining the two -- the two steps of the transaction here.

17   A     Okay.

18   Q     Now you spent a lot of time on your direct and showed

19   a -- showed us a lot of slides where you measure solvency at

20   step one without consideration for merger, right?

21   A     Both with and without.       That's right, sir.

22   Q     Right.     And -- and you're aware that Mr. Tuliano does

23   not allege in his report and does not opine in his report

24   that the company at step one is insolvent if you don't also

25   take into consideration step two debt, right?
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 150 of 260
                                                                          150
 1   A       I believe Mr. Tuliano just assumes -- and this is, I

 2   think, one of my fundamental criticisms of his analysis.             He

 3   just assumes without any basis that the two steps were one

 4   step.

 5   Q       And -- and what you say in your report and what you

 6   said on direct is that the contemporaneous evidence that you

 7   looked at suggests that step one and step two were separate

 8   and should be -- should be analyzed as such, right?

 9   A       I said I placed principal emphasis on the market

10   evidence, which was consistent with my sort of general

11   understanding of the transaction from some of the documents

12   that I looked at.     But my role for the most part is not to

13   interpret documents.      My role is to analyze economic

14   evidence and that was the principal basis for my conclusion.

15   Q       And -- and you did no analysis of the legal standard

16   for collapsing the two steps of this transaction, right?

17   A       No, sir.    You know, in my view that's not a

18   appropriate role for an expert.

19   Q       Okay.

20   A       It's judgment for the Court.

21   Q       And you did no systematic review of the -- of the

22   documents that -- that have been the millions of pages that

23   are in the document depository here in connection with your

24   analysis of whether these two steps of the transaction

25   should be considered together or not, right?
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 151 of 260
                                                                               151
 1   A        That's correct.

 2   Q        And nor, sir, did you review the credit agreement to

 3   determine whether any of the terms of the credit agreement

 4   should impact the analysis of how to consider these two

 5   steps?

 6   A        That's correct.

 7   Q        Okay.   Now let's go back to your report.          Let's stay

 8   with Exhibit M as in Michael.         That's on Page 38 of the

 9   report and let's -- let's take a look at your -- your DCF --

10   A        Okay.   Hold on.   Exhibit M in my original report, sir?

11   Q        Correct.

12   A        Okay.   Got it.

13   Q        Thank you, Professor.

14            Now you'll agree with me, sir, that there are two

15   generally accepted ways of, in a DCF analysis, calculating

16   the terminal value, correct?        You can use a terminal

17   multiple as you did here or a perpetuity growth rate.                Is

18   that right?

19   A        Yes, sir.   That's right.

20   Q        Okay.   And -- and it's possible, is it not, if you, as

21   you did, calculate the terminal multiple -- or the terminal

22   value, rather, using an exit multiple that you can do some

23   math to imply what the growth rate is?

24   A        I believe that's correct.

25   Q        Okay.   And do you recall at your deposition in
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 152 of 260
                                                                             152
 1   connection with this -- this analysis here in Exhibit M, Ms.

 2   Newman asked you if you knew what the implied long-term

 3   growth rate was from your terminal multiple analysis?

 4   A     I think I do recall that.

 5   Q     Okay.    And -- and what you told her was you recalled

 6   looking at it, but you couldn't remember the number at the

 7   time, right?

 8   A     That's right.

 9   Q     Do you know today?

10   A     No, I don't.    I mean, not from memory anyway.               I could

11   -- I think we have that in our work papers somewhere.                But I

12   don't recall as I sit here.

13   Q     All right.    Well, I'm going to ask you to assume that

14   -- that there's going to be testimony later in this case

15   that will show that the implied long-term growth rate from

16   your analysis is 2.4 percent at the low end and 2.8 percent

17   at the high end.

18         Now, Professor, I've handed you -- in addition to the

19   binder there's a red weld containing a number of documents.

20   If you could please pull that out.

21   A     I have it.

22   Q     Thank you.

23         Let's start with -- and I apologize.            I don't know

24   what order these are in.     But you will see two presentations

25   in there from Duff and Phelps, one of them has a date, March
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 153 of 260
                                                                           153
 1   29 in brackets 2007.

 2   A       I have that.

 3   Q       Okay.

 4                   MR. QURESHI:   And for the record, that is NPP

 5   Exhibit Number 300.       Your Honor, do you have that document

 6   in front of you?

 7                   THE COURT:   I do.

 8   BY MR. QURESHI:

 9   Q       And do you know, sir, who Duff and Phelps represented

10   back in 2007?

11   A       You know, I think I do, but I don't want to guess.

12   Q       Okay.    Well, I'll -- I'll represent to you, sir, that

13   -- that I believe they represented the ESOP.

14   A       I was going to say I think they were advisors to the

15   ESOP.

16   Q       Okay.    Is this a presentation that you looked at in

17   preparing your expert report?

18   A       I would have to check my Exhibit H of my original

19   report to answer that question, so let me do that.

20           (Pause)

21   A       It looks like I have a -- a couple of Duff and Phelps

22   reports that I used, but they look like they have different

23   dates than this one.

24   Q       Okay.    But you'll agree that Duff and Phelps, sir, is

25   a -- or was a contemporaneous participant in this
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 154 of 260
                                                                         154
 1   transaction, right?

 2   A     Yes, sir, I would.

 3   Q     Not an after the fact expert?

 4   A     I would agree with that.

 5   Q     Right.    And, again, that's the type of evidence that

 6   you place most weight on in your analysis, right?

 7   A     As part of a general approach to try and consider as

 8   much of the contemporaneous valuation evidence as possible.

 9   That's correct.

10   Q     Turn to Page 7 of that document, please.             This is the

11   one dated March 29.     Again, it's Exhibit NPP 300.

12   A     Okay. I have it.

13   Q     And that says on the top, "Valuation analysis

14   publishing," and what do they show, sir, at the bottom of

15   the page as their terminal growth rate?

16   A     For publishing .75 percent.

17   Q     Sir, turn to Page 25.

18   A     Okay.

19   Q     And the top of that page you'll see is called,

20   "Valuation analysis broadcasting."         And, sir, tell me what

21   the terminal growth rate is that they're showing for

22   broadcasting?

23   A     .75 percent.

24   Q     And by the way, when I told you that we would have

25   testimony later in this case that the implied growth rate in
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 155 of 260
                                                                               155
 1   your DCF is 2.4 to 2.8 percent, do you have any reason to

 2   disagree with that?

 3   A       I don't have any reason to either agree or disagree.

 4   I know there are some contemporaneous forecasts of growth

 5   rates at that level.     That's in my rebuttal report.              But

 6   more importantly, I derive my multiple from which you could

 7   calculate a growth rate from what actual participants in the

 8   marketplace were valuing the comparable firms.             It was not

 9   an assumption that I made.       It was a specific calculation

10   taking all of the firms that were comparable and analyzing

11   the relationship between their enterprise value and various

12   financial indicators, particularly EBITA to derive a

13   multiple that could be applied to the Tribune.

14           So whatever the implied growth rate is, it comes

15   directly from the market evidence of comparable companies,

16   not internal documents, but how investors in the marketplace

17   actually valued these companies, which is one of the reasons

18   I didn't agree with your statement about the Tribune or the

19   businesses of the Tribune being in a long-term decline in

20   May of 2007 because the market evidence just doesn't support

21   that.

22   Q       Let's look at the Duff and Phelps analysis at December

23   31 of 2007.     Do you have that in front of you?

24   A       Hold on.

25   Q       Sure.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 156 of 260
                                                                          156
 1                  THE COURT:   What's the exhibit number on this?

 2                  MR. QURESHI:   Your Honor, that exhibit is NPP

 3   676.

 4                  THE COURT:   Thank you.

 5                  THE WITNESS:   I have it, sir.

 6   BY MR. QURESHI:

 7   Q      Okay.    So this is Duff and Phelps analysis just after

 8   step two.   And turn, please, sir, to Page 39 of the

 9   document.

10   A      Okay.

11   Q      And, again, you'll see from the heading, "Valuation

12   analysis publishing."       At the bottom of that page please

13   tell me the terminal growth rate that Duff and Phelps uses

14   in their analysis at December 31 of '07?

15   A      .5 percent.

16   Q      And turn, sir, within that document to Page 57,

17   please.

18   A      Okay.

19   Q      And you'll see here is the valuation analysis for the

20   broadcasting segment.       Sir, what is the terminal growth rate

21   that Duff and Phelps shows at step two for broadcasting?

22   A      1.5 percent.

23   Q      And do you know who Morgan Stanley advised in

24   connection with the LBO?

25   A      Same answer as before.       I think so, but I don't want
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 157 of 260
                                                                         157
 1   to guess, so.

 2   Q     Okay.     Well, let -- why don't you pull out the Morgan

 3   Stanley presentation that's in the red weld?

 4                 MR. QURESHI:    And, Your Honor, for the record

 5   this one is NPP 338.

 6                 THE WITNESS:    Okay.   I have it.

 7   BY MR. QURESHI:

 8   Q     Okay.     And does looking at the title page, sir,

 9   refresh your recollection that Morgan Stanley advised the

10   committee of independent directors of the board of Tribune?

11   A     yeah.     Again, I --

12   Q     Okay.

13   A     -- I thought that, but I wasn't sure.            So --

14   Q     And, again, I gather you'll agree with me that they're

15   a contemporaneous participant and not an after the fact

16   expert?

17   A     Yes, sir, I would.

18   Q     Okay.     And you'll see from the cover page it's April 1

19   of 2007?

20   A     I do.

21   Q     Okay.     Turn, sir, please, to Page 27 of the document.

22   And you will see from the heading that this is a DCF

23   analysis for the management plan.

24   A     I see that.

25   Q     Okay.     Now I need you to look at the bottom of the
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 158 of 260
                                                                           158
 1   page.   It's the second row from the very bottom.              You'll see

 2   it says, "implied perpetuity growth rate."

 3   A       I see that.

 4   Q       Okay.    And you'll see that they have a range at a

 5   seven percent discount rate and then they have a range at an

 6   eight percent discount rate.         Sir, what is the -- the

 7   implied growth rate that Morgan Stanley shows at their seven

 8   percent discount rate?

 9   A       Well, they have a range from negative 0.4 percent to 0

10   -- positive 0.3 percent.

11   Q       Okay.    And at the eight percent discount rate what is

12   the range that Morgan Stanley shows for their implied

13   perpetuity growth rate?

14   A       0.4 percent to 1.2 percent.

15                   MS. BUSATH:    Your Honor, I wonder if at some

16   point there will be a question for Mr. Fishel about these

17   things that have been read to the record.

18                   THE COURT:    Mr. Qureshi?

19                   MR. QURESHI:   Your Honor, I'm simply contrasting

20   the implied growth rate in the professor's own analysis with

21   the contemporaneous evidence that he said he looked to.               I

22   think the conclusions speak for themselves.

23                   THE COURT:    Well, that may all be true, but you

24   still need to ask a question.

25           (Laughter)
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 159 of 260
                                                                         159
 1                 MR. QURESHI:   Okay.    And, Your Honor, I'm going

 2   to show him one more and then we'll -- we'll get to the

 3   ultimate question on this issue.

 4   BY MR. QURESHI:

 5   Q     Professor, let's -- let's look at what your client was

 6   doing at the time.      Pull out the JP Morgan presentation.

 7                 MR. QURESHI:   This is Exhibit Number, Your Honor,

 8   NPP 365.

 9   BY MR. QURESHI:

10   Q     Sir, do you have that document?

11   A     I do.

12   Q     Okay.    And you'll see from the title page that it's

13   dated April 5 of 2007?

14   A     I see that.

15   Q     Okay.    And turn to Page 68 of the document, please.

16   A     I have it.

17   Q     Okay.    And you will see the title page here is, "DCF

18   valuation based case step one."        Do you see that?

19   A     Actually, I don't.     I'm sorry.

20   Q     At the top of the page in bold --

21   A     Oh, I'm sorry.     The heading.      Yes.     I do see it.

22   Q     Yes.    That's just -- okay.       So I want you to scroll

23   down to the middle box on the page and you'll see a Column

24   B, and on top of that it says, "PV of terminal value at

25   perpetuity growth rate."     Do you see that?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 160 of 260
                                                                         160
 1   A       I do.

 2   Q       Okay.   Can you tell me what the range is that JPM

 3   shows in -- on this page?

 4   A       Zero percent to one percent.

 5   Q       Okay.   Now let's look at step two, which is on Page 70

 6   of the document.    And it's the same -- the same box on that

 7   page.   And can you tell me, sir, what the implied growth

 8   rate is that JPM is showing at step two?

 9   A       If I'm reading it correctly the same range, from zero

10   percent to one percent.

11   Q       Okay.   And, sir, all of these contemporaneous analyses

12   that I've shown you from -- from Duff and Phelps, from

13   Morgan Stanley, and from your client, JPM, do any of those

14   cause you, sir, to change your opinion and to conclude that

15   the implied growth rate in your DCF of 2.4 to 2.8 percent is

16   too high?

17   A       No.

18           (Pause)

19   Q       And, Professor, are you able to tell me approximately

20   what the impact would be on your DCF analysis if instead of

21   a multiple applying a growth rate of 2.4 to 2.8 percent, you

22   used the multiple that implied a growth rate of -- of zero

23   to one percent?

24   A       Well, if I -- if I did that, you know, just as a

25   matter of arithmetic it would produce lower enterprise
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 161 of 260
                                                                         161
 1   values.

 2   Q     Now let's take a minute and look at you r-- your

 3   weighted average cost of capital that you used in your DCF -

 4   -

 5   A     Okay.

 6   Q     Now fair to say, sir, that a key assumption in the

 7   whack is the debt to equity ratio that you use?

 8   A     Yes, sir.     It is.

 9   Q     Okay.     And -- and am I right that what you do in your

10   DCF analysis and your balance sheet solvency test is you

11   calculate the whack using Tribune specific debt to equity

12   capital structure, right?

13   A     Correct, although as I said I also checked it against

14   the industry average.     It doesn't make any difference.

15   Q     Okay.

16   A     Not any -- I mean, the numbers change, but in terms of

17   the opinion on solvency it doesn't make any difference.

18   Q     Okay.     Well, let's -- let's look at Appendix G of your

19   report.

20   A     Okay.

21   Q     And once you're in Appendix G, sir, please turn to

22   Page 5.

23   A     Oh, I'm sorry.     Appendix G.

24   Q     Yeah.     I got confused to.     It's Appendix G as opposed

25   to Exhibit G.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 162 of 260
                                                                         162
 1   A     It is confusing.     I have it.

 2   Q     And on Page 5, that's where you're calculating the

 3   unlevered beta for your comparable companies, correct?

 4   A     That's right.

 5   Q     I would like you to focus on Column D, the debt to

 6   capital ratio.

 7   A     Okay.

 8   Q     And what do you calculate the median debt to capital

 9   ratio of your comparable companies to be?

10   A     Forty-seven percent.

11   Q     And this is as of step one, correct?

12   A     That's right.

13   Q     Okay.   Within that exhibit, sir, I would like you to

14   turn to Page 7.     And on --

15   A     Okay.

16   Q     And on Page 7 you are showing your weighted average

17   cost of capital at step one for Tribune with consideration

18   of the merger, right?

19   A     That's right.

20   Q     And please tell me, sir, what you show the debt to

21   capital ratio to be of Tribune?

22   A     A range from seventy-five to eighty-five percent.

23   Q     And so that's as compared to a median for your comps

24   of forty-seven percent, correct?

25   A     That's right.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 163 of 260
                                                                             163
 1   Q       Okay.   Now let's quickly look at those same numbers at

 2   step two.   So, again, staying within this exhibit --

 3   A       Okay.

 4   Q       -- go to Page 10, please.       And am I correct that at

 5   step two the debt to capital ratio for your comparable

 6   companies shows a median of sixty percent?

 7   A       Correct.

 8   Q       Okay.   And flipping, then, to Page 12, again at step

 9   two the weighted average cost of capital for Tribune you're

10   showing at 92.5 percent up to 97.5 percent, correct?

11   A       That's correct.

12   Q       And, again, that's as compared to a median for your

13   comps of sixty percent?

14   A       Correct.

15   Q       Okay.   And you believe, sir, that this capital

16   structure is potentially sustainable?

17   A       I think it's hard to know if it's sustainable.               It's

18   potentially sustainable, at least for a short period of

19   time.   But, you know, as I've indicated I also checked my

20   calculations against the median industry debt equity ratio

21   and it didn’t make any difference in terms of my conclusions

22   of solvency because as you decrease leverage, your -- your

23   tax benefits go down, but the rate of return that both debt

24   and equity holders demand goes down because it's a less

25   risky company.      So those effects offset.         So my conclusion
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 164 of 260
                                                                            164
 1   really isn't dependant on the Tribune-specific capital

 2   structure.

 3   Q     Okay.   Sir, let's turn, please, to Appendix E of your

 4   report.   And, again, this is Appendix E as opposed to

 5   Exhibit E.

 6   A     Okay.

 7   Q     And in particular to the fourth page.             I want to just

 8   explore here another one of the inputs into your -- your

 9   solvency analysis.

10   A     Okay.

11   Q     And so this page is showing publishing and

12   broadcasting projections at step one.             Is that right?

13   A     Correct.

14   Q     Okay.   And I want you to focus on the row that says,

15   "increase/decrease in working capital."

16   A     I see that.

17   Q     Okay.   And you'll see that from 2008 through 2012,

18   you're showing increases in working capital ranging from $26

19   million annually to $28 million annually.             Is that right?

20   A     That's correct.

21   Q     Okay.   Turn to Page 6 within this exhibit.

22   A     Okay.

23   Q     And on Page 6, this is now the publishing and

24   broadcasting projections at step two, correct?

25   A     Correct.
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 165 of 260
                                                                            165
 1   Q        And your working capital increase at step two has been

 2   reduced from the twenty-six to twenty-eight-million-dollar

 3   range at step one all the way down to $1 million annually,

 4   correct?

 5   A        That's right.

 6   Q        And isn't it true, sir, that you never formed an

 7   opinion as to -- as to the reasonableness of an annual

 8   working capital increase going all the way down to $1

 9   million?

10   A        I have not.    These are just management projections and

11   as I said, I did not form any opinion on the reasonableness

12   of the management projections.

13   Q        All right, Professor.       Let's -- let's switch topics

14   one more time and talk about the PHONES' debt for a moment.

15   A        Okay.

16   Q        Now you use, at step one -- and this is in your -- in

17   your rebuttal report if you would -- if you would like to

18   take a look at Page 6.        You use, for the PHONES' debt, a

19   number of $663 million at step one and 597 at step two,

20   right?

21   A        Umm --

22   Q        You'll see it in Paragraph 17.

23   A        Yeah.    I'm looking.      I'm looking.

24   Q        All right.

25   A        Correct.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 166 of 260
                                                                         166
 1   Q     And -- and you understanding that approximately 1.3

 2   billion would be due upon maturity of the funds' notes?

 3   A     Yes, sir.     I do understand that.

 4   Q     Okay.    And one of the reasons, if I understood your

 5   deposition testimony correctly, that you decided to use an

 6   amount lower than the face value of the PHONES' notes is

 7   that those notes had a very low interest rate and at the

 8   present value of the interest payments and the conversion

 9   option, that was all lower than the face amount of the debt.

10   Is that right?

11   A     Yes.    Well, I think what I said was I just took the

12   numbers directly from the Tribune's financial statements,

13   but I understand the economic logic of recording the value

14   of the PHONES at less than the face value for the reasons

15   that you correctly stated.

16   Q     Right.     And -- and you've never valued debt in that

17   way before, have you, for purposes of a balance sheet

18   solvency test?

19   A     Well, I've done a lot of present value analyses of

20   debt. I -- I, frankly, just don't remember anything exactly

21   like the PHONES that I've encountered before.

22         (Pause)

23   Q     Now I would like you, sir, to please turn in your

24   binder to Tab 8.    And for the record at Tab 8 you will find

25   Exhibit NPP 767.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 167 of 260
                                                                         167
 1   A     I have it, sir.

 2   Q     And you'll see that that's a pleading filed with this

 3   Court and it's entitled, "Statement of facts concerning

 4   Tribune, the leveraged ESOP transaction and related

 5   matters."

 6   A     I see that.

 7   Q     And turn, please, to Page 12 of this document.

 8   A     Okay.

 9   Q     And you'll see on this page it's entitled changes in

10   the company's capital structure as a result of the ESOP LBO.

11   A     I see that.

12   Q     And if you go down the left side of the table you'll

13   see the -- third from the bottom there's a line item.

14   There's a row for the PHONES.

15   A     I see that.

16   Q     And does that, sir, show both that the pre-LBO time

17   period in April and at step two, that on this document the

18   PHONES are -- the PHONES' notes are shown at face value?

19   A     Yes.

20   Q     Okay.   And is this a document that you were provided

21   at the time that you prepared your expert report?

22   A     I guess I don't recall one way or another, but it

23   certainly played no role in my expert report.

24   Q     All right.    Let's -- let's now take a look at your

25   comparable company analysis for a moment.
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 168 of 260
                                                                            168
 1   A        Okay.

 2   Q        And let's go to Exhibit N and that can be found at

 3   Page 40 of your opening report.

 4            (Pause)

 5   A        I'm sorry.    Where -- where is it found, sir?

 6   Q        Exhibit N and I believe it's Page 40 of your opening

 7   report.

 8   A        Oh, I -- yeah.     My comparable company's valuation --

 9   Q        Right.

10   A        -- not selection of comparable companies.             I got it.

11   Q        You got it?

12   A        Okay.

13   Q        Yeah.

14   A        I have it.

15   Q        And Row D, "cash and cash equivalency," do you see

16   that?

17   A        I do, sir.

18   Q        And you have a cash and cash equivalence number of

19   $362 million, correct?

20   A        Correct.

21   Q        And if you look at Footnote D, your cash balance

22   includes an addition of $100 million used to pay down the

23   Tranche X facility on June 29th of 2007, right?

24   A        Yes.    I think I stated in my deposition that's an

25   error.    There's a double-counting of the hundred million
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 169 of 260
                                                                          169
 1   dollars.

 2   Q        Okay.   So the -- the correct cash balance should be a

 3   hundred million lower.      Is that right?

 4   A        That's right.   And it reduces the comparable company

 5   valuation by a hundred million dollars from 3.7 million to

 6   4.2 million to 3.6 billion to 4.1 billion.

 7   Q        Okay.   Now the balance sheet solvency analysis that

 8   you did for Tribune, you did it on a consolidated basis,

 9   right?

10   A        Correct.

11   Q        Okay.

12   A        And, again, I did the adjustment that I testified

13   about which is a balance sheet type of adjustment, but in

14   terms of a full balance sheet analysis, I did it on a

15   consolidated basis.

16   Q        Right, you didn't do a -- what's referred to as a sum

17   of the parts valuation.      You did one DCF for the entire

18   enterprise, right?

19   A        That's right.   Correct.

20   Q        Okay.   And you obviously know from -- from analyzing

21   the documents and the business that Tribune, at this time

22   and indeed today is a diversified media company, right?

23   A        That's my understanding.

24   Q        So it's got a broadcasting business and a publishing

25   business?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 170 of 260
                                                                          170
 1   A     Correct.

 2   Q     Now let's go to Appendix D, please.            And this is a

 3   page that you -- that we looked at during your direct.              This

 4   shows your selection of the comparable companies, right?

 5   A     Correct.

 6   Q     And if I understand your methodology correctly, what

 7   you did is you looked at a bunch of contemporaneous analyses

 8   that were done by numerous advisors and you looked to see

 9   how often those advisors or banks selected a particular

10   company as part of their comparable analysis, right?

11   A     That's correct.

12   Q     Okay.    And those companies that were chosen five times

13   or more are the ones that ended up in your comps with, I

14   think, one exception, right?

15   A     That's correct.

16   Q     Okay.    And -- and so the only specific analysis you

17   did with respect to these companies is -- is you wanted to

18   make sure that none of them had a significant percentage of

19   their income that came from a business that Tribune didn't

20   have, right?

21   A     Right.   And that they were in the broadcasting and/or

22   publishing business or both.

23   Q     Right.   And that's why you eliminated the Washington

24   Post company --

25   A     Correct.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 171 of 260
                                                                         171
 1   Q     -- as part of the comps because they derive a lot of

 2   business from non-publishing or non-broadcasting businesses,

 3   correct?

 4   A     That's right.

 5   Q     Okay.    And -- and I gather you're aware that back in

 6   2007, Tribune derived a majority of its revenues from the

 7   publishing business?

 8   A     That's my understanding.

 9   Q     Okay.    But you don't know from this list of comparable

10   companies which of these companies are purely broadcasting

11   companies, do you?

12   A     Not from this list.        No.   You would have to

13   investigate.

14   Q     And you don't know which of these comparable companies

15   are purely publishing companies, do you?

16   A     Same answer.     That's right.

17   Q     Okay.    Let's now turn, please, sir, to Exhibit U.           Do

18   you have that in front of you?

19   A     I do, sir.

20   Q     And this is, again, Exhibit U in your -- in your

21   opening report.     And, again, I want you to focus on the cash

22   and cash equivalence number.       So this is as of step two,

23   right, December 20th?

24   A     Correct.

25   Q     And you show a cash number -- a cash balance of $233
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 172 of 260
                                                                             172
 1   million, correct?

 2   A     Correct.

 3   Q     And Footnote D tells us that your source for that

 4   number is a 10-K filed -- or a 10-K for the year ending

 5   December 30, 2007, correct?

 6   A     That's correct.

 7   Q     Okay.     And you recall we -- I shouldn't say we.            I

 8   wasn't there.    You discussed with -- with Ms. Newman at your

 9   deposition that -- I don't think you were aware that VRC in

10   its analysis showed a different -- a different cash number

11   at December 20th of 2007, right?

12   A     I think I vaguely recall that issue coming up, but I

13   don't remember more than that.

14   Q     Sir, turn to Tab 11 in your binder, please.

15                 MR. QURESHI:   And for the record this is Exhibit

16   NPP 669.

17                 THE WITNESS:   Okay.    I have it.

18   BY MR. QURESHI:

19   Q     And turn to Page 7 of that document, please.

20   A     Okay.

21   Q     And can you tell me on Page 7 what the cash number is

22   that VRC is showing as of December 20th?

23   A     A-hundred-and-ninety-seven, almost 198 million.

24   Q     Okay.     And would you agree, sir, that that's the cash

25   number that you should have used, a number as of December
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 173 of 260
                                                                           173
 1   20th as opposed to as of yearend?

 2   A     Yeah.    I guess I -- I would say that.          I don't know

 3   how this number was calculated.        I think we made an attempt

 4   with the 233 to see if there were any significant changes

 5   between December 20th and yearend, and decided that the 233

 6   was a reliable number.      And, frankly, there's only a very

 7   small difference in any event and I don't know how the VRC

 8   number was calculated.      But I do agree that conceptually the

 9   right exercise is to know the number -- the amount of cash

10   on December 20th.

11   Q     All right.

12                 MR. BUSATH:   Your Honor, I'll just note an

13   objection.    Since this witness does not know how it was

14   calculated, there's been no foundation laid how it was

15   calculated, the assumption in the question that it was a

16   number as of December 20 -- is not established and I would

17   object to the question.

18                 THE COURT:    Well, it's been asked and answered.

19   Overruled.

20   BY MR. QURESHI:

21   Q     Let's move on and talk about your comparable

22   transaction analysis, Professor.

23   A     Okay.

24   Q     If we can please pull up Page 3 of the demonstratives.

25         (Pause)
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 174 of 260
                                                                          174
 1                 MR. QURESHI:   Sorry, Your Honor.        One minute.

 2         (Pause)

 3                 MR. QURESHI:   Let me see if we can do this a

 4   different way.

 5   BY MR. QURESHI:

 6   Q     Sir, why don’t' we go instead to your report and let's

 7   turn to Exhibit G and that has your comparable transactions'

 8   methodology as of Step 1, correct?

 9   A     Yes, sir, it does.

10   Q     Okay.    And am I correct in understanding the

11   methodology, and if you go to Page 17 within that -- within

12   that exhibit I think you have a footnote that explains it.

13   But basically what you did is you looked at all transactions

14   between June 4th of 2004 and June 4th of 2007 that had

15   particular SIC codes or fact set codes, industry codes,

16   basically, and then from that set you backed out any deals

17   that were under a billion dollars or were less than a fifty

18   percent interest was purchased.        Is that right?

19   A     That's right.

20   Q     Okay.    And I think you also backed out any deals that

21   had no reported or negative enterprise value to EBITA?

22   A     That's right.

23   Q     Okay.    And, again, you didn't do any independent

24   analysis to assess whether the company's involved with any -

25   - if any of these transactions were truly comparable with
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 175 of 260
                                                                          175
 1   Tribune, correct?

 2   A     Well, the analysis that I did, again, similar to my

 3   analysis of comparable companies was to use objective

 4   criteria to select transactions that third parties who had

 5   no stake in this litigation said met certain criteria that

 6   this transaction also met, and I used that as the set of

 7   comparable transactions.

 8   Q     Right.   So -- so other than pulling down this list and

 9   excluding the companies that you've described in the

10   footnote here, you didn't independently look at each

11   transaction and do any type of analysis to compare whether

12   those companies involved in those transactions were

13   comparable to Tribune?

14   A     Correct.      I -- I --

15   Q     Okay.

16   A     -- used a filter which had these third party

17   classifiers putting these transactions in the same industry

18   as the Tribune, but I did not analyze every individual

19   transaction.   That's correct.

20   Q     Okay.    And it's your opinion, right, that this -- this

21   particular analysis here, your comparable transaction

22   analysis, is a less-reliable indicator of Tribune's value

23   than the other methodologies that you applied?

24   A     Under the facts and circumstances of this case, yes.

25   That's my opinion.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 176 of 260
                                                                           176
 1   Q     Okay.    And you didn't do any type of a waiting between

 2   the various methodologies, your DCF, your comps, and your --

 3   and your transactions, right?

 4   A     No, I did not.

 5   Q     So you can't tell me how much less weight should be

 6   accorded to this methodology?

 7   A     Not in terms of a mathematical formula. I could tell

 8   you what I relied on principally in my opinion, which was

 9   not this methodology for reasons that I've described.               But,

10   again, it's a very standard conventional methodology, so I

11   included it.

12   Q     Okay.    Now one of the demonstratives that your counsel

13   pulled up on your direct testimony this morning related to

14   market evidence.    So let's talk about that for a minute.

15   A     Okay.

16   Q     And I believe that one of the things you point to,

17   sir, as evidence of solvency here is the willingness of

18   lenders to fund this transaction --

19   A     That --

20   Q     -- correct?

21   A     That's one of the factors.         Yes, sir.

22   Q     Okay.    Now I would like you to turn, please, in your

23   binder to Exhibit 12.

24         (Pause)

25   Q     And you will find as Exhibit -- at Exhibit 12 a
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 177 of 260
                                                                         177
 1   document which is Exhibit NPP 296.         And this, sir, is an

 2   email, an internal email at Citi -- at Citigroup. I can tell

 3   you if you look at the top of the page you'll see the date

 4   of it is March 29th of 2007.       Do you see that?

 5   A     I see that.

 6   Q     And I will represent to you that Julie Percilli [ph],

 7   the sender of this email, was at the time a managing

 8   director in the leveraged finance group at Citi.

 9         And, sir, I would like you to read, please, the first

10   two sentences that begin with "Christina."

11   A     "Christina, afraid that Morgan Stanley, special

12   advisor to the board, will trash us in the marketplace.

13   That's what got me on board,"

14   Q     And you'll --

15   A     Do you want me to read more?

16   Q     No.   That's fine.

17   A     Okay.

18   Q     Is this a document that you considered when you

19   assessed the market evidence of the willingness of lenders

20   to fund this transaction?

21   A     No.

22   Q     Okay.   When you analyzed the market evidence of the

23   willingness of the lenders to fund this transaction, sir,

24   did you consider that -- that the banks may have been

25   pressured into doing this transaction?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 178 of 260
                                                                          178
 1   A     I'm not sure what you mean by pressured.

 2   Q     Okay.    Well, let's -- let's turn to the next document

 3   in your binder.     It's Tab 13.

 4   A     Okay.

 5   BY MR. QURESHI:

 6   Q     And, again, for the record this is Exhibit NPP 297,

 7   and this is another email from Ms. Percilli at Citi and,

 8   again, it's an internal document and I would like you to

 9   focus on the email at the bottom of the page.

10         And I would like you to read, sir, the two -- the

11   three sentences or so, I guess -- the paragraph that begins

12   with the word, "Chad."

13   A     "Chad got pressure from MNA to move forward.              He wants

14         to meet at seven" -- I assume that means 7 a.m. --

15         "and go through terms.       Assume twelve percent, maybe

16         12.5 percent if downgrade, same drill, can we sell."

17   Q     And again, sir, is this an email that was shown to you

18   that you looked at in connection with your assessment of the

19   market evidence of the lenders' willingness to fund this

20   transaction?

21   A     I don't believe so, no.

22   Q     Okay.    And does seeing this email at all cause you to

23   reconsider, sir, your conclusion as to the lenders'

24   willingness to do this transaction?

25   A     No.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 179 of 260
                                                                          179
 1   Q     Okay.    Let's turn to Exhibit 14.

 2                 MR. QURESHI:    And this one, for the record, is

 3   Exhibit NPP 362.

 4   BY MR. QURESHI:

 5   Q     And sir, I will represent to you that this document is

 6   an internal email at your client, JPM, and I'd like you to

 7   focus on the sentence beginning, "There was a Wall-Street

 8   Journal article."    Do you see that?

 9   A     I'm sorry, sir.       Maybe I can see it on the screen.

10   The type is really small.

11                 UNIDENTIFIED MALE:     It is.       We're going to try to

12   blow it up for you right now.

13                 MR. FISHEL:    Got it.   Okay.      I see it.

14   BY MR. QURESHI:

15   Q     Can you please read that sentence?

16   A     "There was a Wall-Street Journal article today that

17   talked about how TRB should be very, very careful at

18   executing any deals or doing anything from now on as the

19   company has no room for mistake no more."

20   Q     Keep going, please.

21   A     "The article also talked about how there is a wide

22   speculation that the company might have to put so much debt

23   that all of its assets aren't going to cover the debt in

24   case of (knock knock) you know what.          Well, that is actually

25   basically what we (JK and me and rest of the group) are
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11    Page 180 of 260
                                                                            180
 1   saying, too, but we're doing this because it's enough to

 2   cover our bank debt."

 3   Q     Okay.     You can stop there, sir.          Is this a document

 4   that you considered in connection with your analysis of the

 5   market evidence of the lenders' willingness to fund this

 6   transaction?

 7   A     No.

 8   Q     Okay.     And when you assessed the lenders' willingness

 9   to fund it, did you consider as a relevant factor how much

10   of the debt the lenders were actually willing to -- or

11   planning to hold?

12   A     I discussed that in my original report.              The relevance

13   of the possible future securitization.

14   Q     Well, let's go to tab 15 in your binder, and this,

15   sir, is Exhibit NPP 0462.

16   A     Okay.

17   Q     And you'll see this is a document that comes from Bank

18   of America, and the date at the top is June 5 of 2007.               Do

19   you see that?

20   A     I do.

21   Q     I'd like you to turn to Page 5 of 12.

22   A     Okay.

23   Q     And you will see in the middle of the page is a table,

24   and above that, it says, "The table below outlines our

25   exposure upon closing step one at 6/4/07 and our targeted
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 181 of 260
                                                                                  181
 1   exposure upon closing step two by 12/31/07."              Do you see

 2   that?

 3   A       I do.

 4   Q       Now, if you'll look at the box itself, you'll see the

 5   gross facility amount.       If you just look at the total line,

 6   that's all I need to look at.          You'll see a gross facility

 7   amount, and then you'll see B of A's share, and then at the

 8   far right, B of A's exposure upon closing of step two.

 9   A       I see that.

10   Q       Okay.   So, sir, when you considered market evidence

11   of, in this case, B of A's willingness to lend as being

12   evidence of solvency, was it relevant to the analysis that

13   according to this document, B of A intended to reduce its

14   holdings from 1.8 billion down to $40 million?

15   A       It is relevant, but respectfully, sir, I think exactly

16   in the opposite way that you're suggesting in your question.

17   What this suggests is, to me, is that B of A was

18   sufficiently confident in the soundness of its loan that it

19   was going to be able to convince other market participants

20   in subsequent and additional arm's-length transactions to

21   basically take part of the loan and share the risk.                   So I

22   would expand my earlier point about market evidence to refer

23   not only to the decision of the lenders and the other

24   investors, but also to the assumed additional investors in

25   the future who would look at the fundamentals of the loan
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 182 of 260
                                                                            182
 1   and decide, at least based on the judgment of B of A,

 2   regardless of how it eventually turned out in the

 3   marketplace, that the loan was sound enough that other

 4   market participants in arm's-length transactions would be

 5   willing to coinvest with B of A, and I would say that's

 6   additional market evidence that supports my conclusions that

 7   I've expressed in my reports and what I've said today.

 8   Q     All right.    Well, let's take a closer look at the

 9   confidence of the lenders, as you put it, in the -- in

10   funding this transaction.        Turn please to tab 16 --

11   A     Okay.

12   Q     -- of the binder, and this is Exhibit NPP 482.                You'll

13   see this is another internal email from Ms. Persily at Citi,

14   and again, as I described, she was, at the time, the

15   managing director in the leveraged --

16   A     Okay.

17   Q     -- finance group.     And I'd like you to just read, sir,

18   the email dated June 29th, 2007, and second from the top of

19   the page.   You see that, beginning with "I expect"?

20   A     "I expect a real problem.        Let's hope that it is so

21   bad that they trip the 9x covenant that they have to meet to

22   close step two."

23   Q     All right.    Is this a document that you considered,

24   sir, as part of your analysis of the market evidence of the

25   lenders' willingness to lend?
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 183 of 260
                                                                            183
 1   A     No, sir.      I did not consider this document.

 2   Q     Okay.   Turn to tab 17, please.

 3   A     Okay.

 4   Q     And here, we have Exhibit NPP 497.

 5   A     Okay.

 6   Q     And again, this is another internal email within Citi,

 7   this one dated July 20th of 2007.

 8   A     Okay.

 9   Q     And you'll see at the bottom of the first paragraph,

10   there's a sentence that reads," I'm told that there are only

11   three ways that the deal won't close: They miss the nine-

12   times -- it looks like G-T-E-E-D, guaranteed debt covenant,

13   they don't get a solvency opinion, whatever the FCC

14   determines causes a Mac in the broadcasting business.                And

15   what does Ms. Persily, sir, write after laying out those

16   three conditions?

17   A     According to this email, it says, "I'm hoping for one

18   of the first two."

19   Q     And again, is this an email that you considered?

20   A     No.

21   Q     And, sir, does this document and the other one that I

22   showed you cause you at all to reassess your conclusion that

23   the lenders' confidence or willingness to do this --

24   A     Well, what --

25   Q     -- transaction is an indication of solvency?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 184 of 260
                                                                         184
 1   A     You can't have it both ways.         You can't say

 2   simultaneously that the lenders have no exposure because

 3   they're going to securitize all the debt, but they have no

 4   confidence and are not going to be able to securitize any of

 5   the debt.   I mean, those two are mutually exclusive, and to

 6   me, what's more relevant and what's said in emails is how

 7   people act when their wealth is at stake, and the reality

 8   is, the lenders lent $12 billion in the two steps, and

 9   there's no rational explanation why the lenders would do

10   that if they'd believe they were lending to an insolvent

11   entity.   And while I don't consider that conclusive evidence

12   by itself, I consider it relevant market evidence in

13   addition to the other market evidence and the other analyses

14   that I've performed.

15   Q     Okay.    Now, you testified on direct, sir, that you --

16   among the market evidence that you analyzed were the

17   internal valuation analyses of the lenders, correct?

18   A     Correct.

19   Q     All right.    Let's look at Exhibit -- tab 18 of your

20   binder, and this, sir, is Exhibit NPP 0543.

21   A     Okay.

22   Q     And again, this is an internal email exchange at your

23   client, JPM.   The sender of this particular email is a Daryl

24   Jacobson [ph], and among the individuals on the To: line,

25   you will see a Britt Barter [ph], who I will represent to
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 185 of 260
                                                                         185
 1   you, sir, was, at the time, the vice-chairman of the JPM

 2   Investment Bank, and a Mr. Capatia [ph], managing director

 3   in the syndicated leverage finance group.            And you'll see in

 4   the email, there's a description of an S&P recovery report

 5   that was apparently released the day of this email, which is

 6   August the 23rd of 2007.     Do you see that?

 7   A     I do.

 8   Q     And if you -- of course, feel free to read the whole

 9   email, but you'll see at the very least sentence of the

10   email, it reads -- and again, referring to the S&P recovery

11   report -- "With these assumptions, this company would

12   default toward the end of 2009."         Do you see that?

13   A     I do.

14   Q     Do -- have you seen this email before?

15   A     Not that I recall.     I mean, I may have.          I've seen so

16   many documents, and I guess I should say with this email and

17   the others, I've certainly heard a lot of discussion of this

18   issue of the internal differences of opinion, the

19   reservations, which, you know, again, is not surprising

20   given the economic situation of the Tribune at step two.            I

21   would sort of expect that.       But I didn't do a comprehensive

22   study of emails.

23   Q     Okay.   Well, as part of your analysis of the market

24   evidence and the valuation analysis conducted at the time,

25   do you recall if you looked at the S&P recovery report
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 186 of 260
                                                                             186
 1   that's referenced in this email?

 2   A     I think I did.

 3   Q     You think you did?

 4   A     Yes.

 5   Q     Okay.

 6   A     I looked at an S&P valuation analysis.            I'm not sure

 7   if it's the one that's referred to in this email.

 8   Q     Okay.    Well, if, indeed, it was the one that had a

 9   suggestion that the company would default toward the end of

10   2009, would that have lent support to your conclusion of

11   solvency?

12   A     Well, I think what I did was I -- there are many,

13   many, you know, predications and valuations.            What I did was

14   I focused on the participants in the transaction itself, you

15   know, particularly the lenders who were investing money and

16   advisors in the transaction.       So, you know, I guess I can't

17   comment on this particular document because I'm not sure

18   which one it is.

19   Q     Okay.    Well, let's look at a couple of the lenders

20   then and see what they were doing internally.

21                 THE COURT:   Mr. Qureshi, before we move on --

22                 MR. QURESHI:   Sure.

23                 THE COURT:   -- I just want to note for the

24   record.   I think this is NPP 0534 as opposed to 43.

25                 MR. QURESHI:   I apologize, Your Honor.          You're
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11    Page 187 of 260
                                                                               187
 1   right.

 2                    THE COURT:   It's okay.

 3   BY MR. QURESHI:

 4   Q        Sir, please turn to tab 19 of the binder.

 5   A        Okay.

 6   Q        And this time, I'll get it right.             It's Exhibit NPP

 7   2417.    And sir, this, I will represent to you is another

 8   internal email exchange at Citigroup.                Mr. Dilworth, who is

 9   the sender of this email, I will tell you was, at the time,

10   a managing director in Citi's leveraged finance group.

11   You'll see from the date that this email was sent on

12   December the 16th of 2007.          That's --

13   A        Okay.

14   Q        -- just a few days before the closing of step two,

15   right?

16   A        Correct.

17   Q        And you'll look at the cover email, it says attached

18   is the next version of the valuation analysis.                 Turn the

19   page, please, and you'll see the valuation comparison on

20   that page.

21   A        I see that.

22   Q        Do you see a column labeled Citi case?             It's the first

23   column.

24   A        I do.

25   Q        What is the total equity value conclusion under the
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 188 of 260
                                                                         188
 1   Citi case?

 2   A     Looks like, if I'm reading this correctly, $-2.7

 3   billion.

 4   Q     And sir, is this one of the lenders' valuation

 5   analyses that you looked at at the time?

 6   A     Hold on, I want to give you an exact answer to that

 7   question.

 8   Q     Sure.

 9   A     No.    It's not in my list of valuation analyses that

10   are in my list.

11   Q     Looking at this valuation analysis by Citi, obviously

12   a lender at the time of the transaction, I gather, sir, you

13   would agree with me that this analysis is not evidence of

14   solvency at step two, is it?

15   A     I think the -- you know, I need to look at this, but I

16   think the problem is that -- I'm not sure there's separate

17   Citi projections in this document, and the documents that I

18   considered, as I explained, were documents that -- by third-

19   party advisors that contained projections, which I averaged

20   using the most recent to the relevant date of first step and

21   the second step for both the base case and downside case.

22   But just an opinion without projections is not part of my

23   valuation.

24   Q     Okay.   Well, let's take a look at some testimony from

25   Ms. Persily about projections that may help you in analyzing
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 189 of 260
                                                                         189
 1   this.   It's clip 64, please.

 2           (A recording was played)

 3           "Q   Did you have an opinion as to whether or not the

 4   company's projections at this time were still achievable

 5   given the first-quarter operating results?

 6   A       I think I've said throughout this, no matter what

 7   time, we didn't believe the company's projections were

 8   achievable, we created our own set."

 9   BY MR. QURESHI:

10   Q       Now, sir, with that context that Citi, according to

11   Ms. Persily's testimony that you just saw, never believed

12   management's projections and, therefore, used their own,

13   does that cause you to look at this valuation analysis and

14   still conclude that in the Citi case, that $-2.7 billion in

15   equity value is evidence of solvency?

16   A       Well, first of all, you know, as I indicated, I also

17   used an average of third-party projections other than the

18   management projections.     And with respect to any particular

19   document or opinion about value, I included the ones that

20   had projections.    I guess the clip indicates that they did

21   projections, but I would have to know and be able to examine

22   those projections, and then they did exist in a way that was

23   produced in the litigation that I had access to include them

24   in my average.

25   Q       Well, would you agree, sir, that this Citi valuation
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 190 of 260
                                                                          190
 1   analysis would have been a relevant document for you to have

 2   analyzed in connection with your conclusions?

 3   A       Not necessarily, if it doesn't have independent

 4   projections because what I was doing was valuing the Tribune

 5   at step one and step two using both management projections

 6   and third-party projections, but in order to do that, I

 7   needed to have third-party projections.

 8   Q       Okay.   Let's turn to tab 20 in your binder, please.

 9   A       Okay.

10   Q       And this, for the record, is Exhibit NPP 2412, and

11   this is another Citibank valuation analysis.            You'll see in

12   the email, it says Tribune Discounted Cash-flow Analysis.

13   This one's dated December the 18th of 2007.            Do you see

14   that?

15   A       I do.

16   Q       And turn to the first page of the document.            And

17   you'll see from the heading here is VRC Valuation Summary

18   with Citi Adjustments.     Do you see that?

19   A       I do.

20   Q       Sir, is this a document that you recall reviewing in

21   connection with your analysis of market evidence and

22   internal lender valuations?

23   A       I don't believe I included any VRC valuations, if

24   that's what this is.

25   Q       This is, as the page indicates, a VRC valuation
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 191 of 260
                                                                         191
 1   summary with Citi adjustments.

 2   A     Still nevertheless, it's a VRC valuation summary, so I

 3   don't -- you know, I see there's an analysis of management

 4   projections in the downside case that I did include.

 5   Q     And do you see a heading in the middle of the page

 6   there, Citi adjustment?

 7   A     I do.

 8   Q     And you'll see a description of the adjustments that

 9   Citi is describing having made to the VRC summary.

10   A     I see that.

11   Q     And do you see the adjustment with respect to the

12   phones notes?

13   A     I do.

14   Q     And does that suggest here that the adjustment that

15   they're making, that Citi is making here, is to value the

16   phones notes at face?

17   A     Well, I mean, this document says Citi adjustments with

18   an adjustments for phones.       It looks like its face, but, you

19   know, without knowing the background of this document

20   particularly, again, I'm not even sure what it is, but it

21   appears to be a VRC document.        So --

22   Q     And therefore, it's irrelevant because it's a VRC

23   document?

24   A     For my purposes, it would be irrelevant.

25   Q     Okay.     Sir --
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 192 of 260
                                                                             192
 1   A     Again, what I was trying do was forming my own

 2   independent opinion of solvency.

 3   Q     Turn, please, to tab 21.

 4   A     Okay.

 5   Q     And at tab 21, we have an analysis from your client,

 6   JPM, and for the record, this is Exhibit NPP 538.              It's a

 7   little difficult to read, sir, but you'll see it's a draft

 8   document.   It's to Jamie Gyman [ph] and Jimmy Lee.             It's

 9   from a number of individuals from the leveraged finance

10   group, and you'll see on the date, it says September, and

11   then there's a blank and brackets, 2007.            Do you see that?

12   A     Maybe it could be highlighted because I guess I don't

13   see it.

14   Q     Sure.    If we can just blow up the -- if you look at

15   the screen, there's the date.

16   A     Oh, I see.    It is very hard to read, but I --

17   Q     It is.

18   A     -- I now see it.

19   Q     Okay.    Now, I'm going to direct your attention --

20   we'll blow it up on the screen -- to the very last bullet

21   point in the bottom right-hand corner of the document.

22                 MR. QURESHI:   Rodney, if we can blow that up a

23   little more.

24   BY MR. QURESHI:

25   Q     Sir, are you able to read the text that's in the box
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 193 of 260
                                                                               193
 1   on the screen?

 2   A     Sure.   Do you want me to read it out loud?

 3   Q     Yes, please.

 4   A     JP Morgan's deal teams, DCF and some of the parts

 5   analysis based on revised July projections dictate that the

 6   current valuation of Tribune is approximately 10 to 13

 7   billion, potentially failing the solvency tests, i.e. debt

 8   amount exceeds the value of borrower.

 9   Q     And do you recall, Professor, whether this is a

10   valuation analysis that you were provided in connection with

11   your work?

12   A     Well, this is a conclusion.         As I said, I looked at

13   all valuation analyses, at least the most current valuation

14   analyses, of any third-party advisor or lender that had

15   projections, which is what I was using to perform my

16   alternative balance-sheet valuation, other than relying

17   solely on the management projections.

18   Q     Okay.   Well, let's look at tab 22 in your book.

19   A     And not a -- not just the balance-sheet valuation.

20   Q     Okay.

21   A     Okay.   I have it.

22   Q     And that, for the record, is Exhibit NPP 1852.                And

23   you'll see it's another valuation update from your client,

24   JPM, dated December 18th of 2007, right?

25   A     I see that.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 194 of 260
                                                                          194
 1   Q     So two days before the closing of step two.              And turn

 2   to the first page of the document, and you'll see it's

 3   entitled Tribune Valuation Summary.          Do you see that?

 4   A     I do.

 5   Q     And again, it's a little hard to read, but there are

 6   three headings we'll try to blow up for you on the top of

 7   the page.   One says stress case, and then beside that, it

 8   says low, mid and high.

 9   A     I see that.

10   Q     And if you go down to the bottom of that column,

11   there's a line, excess capital post step two, and you'll see

12   under the stress step -- under the stress case, the

13   conclusion is $-1.2 billion.       Do you see that?

14   A     I do.

15   Q     And then under the low, it's $50 million positive.

16   And if you further look, it's difficult to read, but there's

17   a footnote ten.     We'll blow it up for you on the screen.

18   And that shows what the assumptions are that JPM used in the

19   stress case.   Are you able to read that footnote?             Not yet?

20   A     Not so easy, but blown up, I can read it.

21   Q     Okay.    And the first question, Professor, is is this a

22   valuation summary, sir, that -- a valuation analysis from

23   JPM that you have seen before?

24   A     Not this specific -- well, I can't -- whether I've

25   seen this specific page or not, I don't recall.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 195 of 260
                                                                                195
 1   Q     Okay.   Well, looking at the conclusions reached on

 2   this -- in this particular analysis, would you agree, sir,

 3   that this valuation analysis is not market evidence of

 4   solvency?

 5   A     Well, I would say it is what it is.

 6   Q     Okay.

 7   A     It has a series of different values under different

 8   scenarios.

 9   Q     Turn to tab 23, please.

10   A     Okay.

11   Q     And for the record, this is Exhibit NPP 2451.                 And,

12   sir, I'll represent to you that this email is an internal

13   email at the firm of Houlihan Lokey.

14   A     Okay.

15   Q     Mr. Butell [ph], the sender of the email at the top of

16   the page, is a managing director at Houlihan Lokey, and

17   you'll see the date is December the 7th of 2007.             Are you

18   aware of what Houlihan Lokey's involvement was in connection

19   with Tribune at this time?

20   A     Actually, I once knew that, but unlike the other times

21   you asked me similar questions where I thought I knew but

22   didn't want to guess, this time, I just don't remember.

23   Q     Well, it's in the examiner's report here, and I'll

24   represent to you that Citi had contacted Houlihan about the

25   potential of Houlihan providing a solvency opinion.                 And you
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 196 of 260
                                                                            196
 1   will see Mr. Butell writes to one of his colleagues,

 2   "Company was insolvent in May and more so now."             Did you, at

 3   all -- first of all, have you seen this email before?

 4   A     I'm not sure I've seen the email, but I have heard, as

 5   I said earlier, in terms of discussions about the background

 6   of the case and also reviewing some of the pleadings in the

 7   case, that conclusion expressed --

 8   Q     Okay.   And --

 9   A     -- by one of the financial firms.

10   Q     Okay.   And did you consider that conclusion, sir, to

11   be relevant to your analysis?

12   A     Well, it's certainly background.            I knew the

13   transaction was very controversial.          I knew there were a lot

14   of differences of opinion, even within the particular firms,

15   so in that sense, it was relevant background.             Everything

16   that you're showing me is consistent with my understanding,

17   but what I was trying to do was do an objective, independent

18   analysis of solvency not based on anybody's opinion, but

19   based on the analysis and the calculations that I performed

20   using the best methodology that I believe is available.

21   Q     Okay.   Now, in the demonstrative exhibit where you

22   summarize the market evidence that you looked at, the

23   indicators of market evidence of what, in your opinion, is

24   market evidence of solvency, you looked at the yields on

25   certain Tribune bonds, correct?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 197 of 260
                                                                          197
 1   A     That's correct.

 2   Q     Okay.   Let's take a look at Exhibit A, please, to your

 3   opening report.

 4   A     Okay.   I have it.

 5   Q     Okay.   And it's on Page 2 of your expert report.             And

 6   at the top of that page is -- I gather YTM is yield-to-

 7   maturity of Tribune's and comparable companies' debt; is

 8   that right?

 9   A     That's right.

10   Q     Okay.   And is -- what's going on in this chart, sir?

11   This is where you're trying to show how the yields of

12   Tribune's bonds, in your view, lead you to a conclusion of

13   solvency.

14   A     I would say it's supportive of my conclusion of

15   solvency, correct.

16   Q     Okay.   Now, on the left of the chart, there is two

17   bars that are quite high relative to the others, and if

18   you'll look at the headings at the bottom, one is a Merrill

19   Lynch distressed index.     Do you see that?

20   A     I do.

21   Q     And the next one is a Barclay's CAD index.

22   A     I see that.

23   Q     Okay.   Well, with respect first to the Merrill Lynch

24   distressed index, sir, would it be reasonable to conclude

25   that that distressed index would include within it companies
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 198 of 260
                                                                         198
 1   that are in bankruptcy?

 2   A     I believe it would be reasonable to conclude that.

 3   I'm not sure it's limited to that, but it would certainly --

 4   Q     Right.

 5   A     -- be reasonable to conclude that --

 6   Q     And --

 7   A     -- those companies would be included.

 8   Q     And likewise, in the Barclay's CAD index, sir, you

 9   would agree that that index will include within it companies

10   that are in bankruptcy or have defaulted?

11   A     That's certainly reasonable to make that assumption.

12   Q     Okay.    Now, you also testified on direct that you

13   looked at the credit default swaps, in particular, spreads

14   in credit default swaps, correct?

15   A     Correct.

16   Q     And you did that at step one, and you did it again at

17   step two?

18   A     Correct.

19   Q     And you observed, if I understood you correctly, that

20   there was indeed -- I think what you described as somewhat

21   of a spike in CDS spreads in connection with step one,

22   correct?

23   A     That's right.

24   Q     And you drew from that spike in CDS spreads the

25   conclusion that that was supportive of your opinion of
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 199 of 260
                                                                         199
 1   solvency, correct?

 2   A     Well, I think what I said is that the increase in the

 3   spreads reflected a riskier company to insure the debt of

 4   because it was now more highly levered, but the increase did

 5   not indicate an insolvent company or anything close to it.

 6   Q     Okay.    Going back to your market evidence slide, the

 7   first item you have listed as market evidence of solvency is

 8   Mr. Zell/EGI-TRB investing $250 million.            Do you see that?

 9   A     I do, sir.

10   Q     Okay.    And you also mentioned a $90-million warrant

11   purchased by EGI as part of this transaction.

12   A     In step two.

13   Q     Right.

14   A     Not as part of this, but as part of step two.

15   Q     As part of step two.       And that, too, you view as

16   market evidence of solvency, correct?

17   A     Correct.

18   Q     And, in fact, I think you talked with Ms. Newman at

19   your deposition about the Black-Scholes analysis that you

20   ran to determine the value of the equity based on the

21   purchase price of the warrant, right?

22   A     That's correct.

23   Q     And that is part of what caused you to conclude that

24   the purchase of that $90-million warrant is evidence of

25   solvency.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 200 of 260
                                                                          200
 1   A     Correct.      I think with all this market evidence, you

 2   know, none of it is dispositive by itself, but I think it is

 3   consistent with market participants believing, not just at

 4   step one, but at step two, judged by their actions as

 5   opposed to emails, that the Tribune was solvent at both

 6   stages, although --

 7   Q     And isn't it --

 8   A     -- just to be clear, my opinion based on my analysis

 9   is at step two, very borderline solvent, as I stated.

10   Q     Right.    And isn't it the case that a Black-Scholes

11   analysis of a warrant is always going to show positive

12   equity value?

13   A     Yes.

14   Q     Okay.

15   A     Just a question of how positive.

16   Q     All right.     Let's switch gears one more time and talk

17   about capital adequacy, and in particular, refinancing.              And

18   let's turn to Exhibit Q, please.

19   A     Okay.     I have that.

20   Q     And you'll see that in Exhibit Q, this is your -- on

21   Page 49, your capital adequacy at step one, correct?

22   A     Correct.

23   Q     And just so we have the other pages, well, Exhibit Z

24   is your capital adequacy at step two, at December 20th,

25   correct?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 201 of 260
                                                                           201
 1   A     Correct.

 2   Q     Okay.    So let's start with Q, which is your step-one

 3   analysis.

 4   A     Okay.

 5   Q     And your analysis here goes out to 2012, correct?

 6   A     That's right.

 7   Q     Okay.    But you're aware and you were aware when you

 8   did this analysis that Tribune had a $9 billion balloon debt

 9   payment due in 2014, correct?

10   A     I'm aware of that.     It was discussed in my deposition.

11   Q     Right.    And in your analysis, you assumed that Tribune

12   would be able to refinance that $9-billion obligation,

13   correct?

14   A     That's correct.

15   Q     Okay.    And you agree that if, in fact, Tribune was not

16   able to refinance that obligation in 2014, that it would be

17   hard to imagine how it could meet the obligation?

18   A     Yes.    I think, generally speaking, the -- if the

19   Tribune would have to completely liquidate, if there were no

20   ability to refinance that obligation.

21   Q     Okay.    Sir, turn to the last tab in your binder.             It's

22   tab 24.    And for the record, this is Exhibit NPP 540.             And

23   you'll see this is an internal JPM email from Mr. Jacobson

24   to Mr. Capotia [ph] and others, and it's dated September 6th

25   of 2007.    I'd like you to read aloud, sir, beginning with
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 202 of 260
                                                                            202
 1   the word "interesting."

 2   A      "Interesting question might be the following: For

 3   solvency opinion, one assumption made that makes it possible

 4   to satisfy the test of meeting their obligations as they

 5   become due is that the company can refinance its maturities,

 6   presumably the existing bonds that mature in 2008 to 2010,

 7   but if we were to fund the second-step commitments, one

 8   would then reasonably have to assume that the company would

 9   not have access to capital markets to refinance these,

10   except perhaps at extreme coupons that would likely result

11   in the company not being able to cover the interest.                Can we

12   contact the solvency firm to let them know they should not

13   be assuming markets would be open to Trib to refinance their

14   maturities?"

15   Q     And Professor, is this an email that you saw no

16   connection with your analysis of Tribune's ability to

17   refinance that $9-billion payment?

18   A     You know, I would say the same answer, that I may or

19   may not have seen it.     I've seen so many documents,

20   including ones referred to in pleadings.            I can't remember

21   whether the examiner and his conclusion that the debt could

22   be refinanced discusses this or not.          If he does, then I've

23   seen this document or at least discussion of this document.

24   If he didn't then I probably didn't.

25   Q     Okay.    But obviously, to the extent you did see it, it
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 203 of 260
                                                                             203
 1   didn't cause you to change your conclusion.

 2   A        Did not change me to cause my conclusion [sic],

 3   correct.

 4   Q        Now, when performing a capital-adequacy test, you

 5   agree that that's a test that should be performed using

 6   downside projections, right?

 7   A        I do.

 8   Q        Okay.   And you ran your capital-adequacy test using

 9   averaged downside projections prepared by third parties,

10   correct?

11   A        Among other things, correct.

12   Q        All right.   Let's turn to Exhibit H, please.            I'm

13   sorry, I misspoke, sir, Appendix H.

14   A        Okay, I have it.

15   Q        And these are the third-party projections that you

16   used; is that right?

17   A        All the third-party projections that I used are listed

18   in Exhibit H.     That's correct.

19   Q        Just wanted to confirm the source.           So now, let's go

20   to Exhibit Q.

21   A        Yeah, I should say all the ones that I used at the

22   time of the preparation of this report.             There are others

23   later.    You want me to go to Exhibit Q?

24   Q        Yes, please.

25   A        Okay.
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 204 of 260
                                                                           204
 1   Q        So this is your capital-adequacy analysis at step one

 2   with the average downside projections, correct?

 3   A        Correct.

 4   Q        Okay.    And I think this is one of the slides we looked

 5   at on your direct, and I think you've said that the key line

 6   to be looking at is the revolver availability, which is row

 7   S.

 8   A        Correct.

 9   Q        And under your analysis, in 2010, revolver

10   availability goes $-79 million, correct?

11   A        Correct.   Under the assumptions on this exhibit,

12   that's right.

13   Q        Right.   And at 2011, you're still $-45 million,

14   correct?

15   A        That's right.

16   Q        And at 2012, it turns barely positive to $9 million,

17   right?

18   A        That's correct.

19   Q        Okay.    And that's as of step one.

20   A        That's ri -- well, step one taking the merger into

21   account --

22   Q        Right.

23   A        -- which I think, for solvency purposes, as of June

24   4th is improper for reasons that I've described, but if you

25   collapse them and you don't take into consideration the
     Case 08-13141-BLS     Doc 8343-3   Filed 03/11/11   Page 205 of 260
                                                                           205
 1   additional $200 million from asset sales or any of the other

 2   steps that the Tribune could have taken, this would be the

 3   result that you get.

 4   Q        Okay.    And let's turn, please, sir, to now Exhibit Z.

 5   It's Page 83 of the report.

 6   A        Okay.

 7   Q        And this is your capital adequacy using average

 8   downside projections at step two, correct?

 9   A        Correct.

10   Q        And, again, focusing on the row that you said was the

11   most important, in this case, it's row Q, revolver

12   availability.       It's negative at 2012, correct, $-5 million?

13   A        That's right.    And as I said in my direct testimony,

14   this is the one exhibit which gives me the most pause of

15   everything that I did.

16   Q        Right.   And not -- so notwithstanding the fact that

17   this solvency analysis shows $-5 million in availability on

18   the revolver at 2012, you've still concluded that the

19   company was, I think to use your words, barely solvent,

20   right?

21   A        Correct, because, first of all, this particular

22   exhibit should not be viewed in isolation, but moreover,

23   there are a series of steps that I discuss in my report that

24   the Tribune, like other companies facing financial distress,

25   could have taken or would be able to take to raise
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 206 of 260
                                                                         206
 1   additional cash if they had to, if they were actually in

 2   this particular position.        So I think that this particular

 3   document, as I said, is the least consistent with my opinion

 4   of solvency of any of the analyses that I've performed, but

 5   for the reasons that I've stated, I think particularly

 6   taking it in combination with the other economic evidence, I

 7   still believe it's reasonable to conclude, as I did, that

 8   the Tribune was solvent both at the time of step one and

 9   step two, although barely so at the time of step two, and

10   therefore, the lender's decision not to contest the solvency

11   certificate was reasonable.

12   Q     Well, sir, let's take a look at some of the other

13   things the company could do, as you described it.

14   A     Okay.

15   Q     Paragraph 93 of your report.

16   A     All right.

17   Q     And that's at Page 32.        Why don't you let me know when

18   you have that in front of you.

19   A     I do.   I have it.

20   Q     And toward the end of that -- it's actually the last

21   sentence of that paragraph.       You write, "To the extent,

22   Tribune were to be able to further reduce capital

23   expenditures, reduce operating expenses, eliminate public-

24   company-related expenses, sell some assets, and/or use a

25   portion of its pension overfunding, it could meet its
     Case 08-13141-BLS      Doc 8343-3   Filed 03/11/11   Page 207 of 260
                                                                            207
 1   obligations without fully drawing the revolver."                Sir, are

 2   those the other things that you were referring to that

 3   companies commonly do?

 4   A        I think they're illustrative.          There are other things

 5   like layoffs, for example, cutting back of benefits.

 6   There's a variety of things that companies in financial

 7   distress can do, but these are certainly illustrative of

 8   those things.

 9   Q        Okay.    And isn't it true, sir, that you didn't conduct

10   any analysis to determine whether Tribune could actually

11   take any of these steps or how much cash could be generated

12   by any of these things?

13   A        That's correct, but it's in 2012, so I'm not sure how

14   that analysis would be undertaken.            I think you could talk

15   about what companies typically do, which is what I said.

16                    MR. QURESHI:   Your Honor, could I ask for a short

17   break?

18                    THE COURT:   How much time would you like?

19                    MR. QURESHI:   I think I am very close to being

20   done.    If I could take a five-minute break, that'd be great.

21                    THE COURT:   Five-minute recess.

22                    MR. QURESHI:   Appreciate it.       Thank you.

23            (Recess taken from 5:07 to 5:15)

24                    THE COURT OFFICER:     All rise.      Be seated, please.

25                    THE COURT:   I guess you're done, Mr. Qureshi.
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 208 of 260
                                                                          208
 1                 MR. QURESHI:   Indeed, I am, Your Honor.

 2                 MR. BUSATH:    I guess we should verify --

 3                 THE COURT:    All right.    Well, first, let me ask.

 4                 MR. BUSATH:    Yeah.

 5                 THE COURT:    Is there any other cross-examination?

 6         (No audible response)

 7                 THE COURT:    I hear no response.       Redirect.

 8                 MR. BUSATH:    Thank you, Your Honor.        Lynn Busath

 9   from Davis Polk.

10                          REDIRECT EXAMINATION

11   BY MR. BUSATH:

12   Q     Professor Fishel, Mr. Qureshi showed you a document in

13   his binder, tab 24.     Could you turn to that, please?

14   A     Okay.    I have it.

15   Q     This was a document talking about the -- it referred

16   to the difficulties that there may be for refinancing in the

17   years 2008 to 2010.     Do you see that?

18   A     I see that.

19   Q     Could you turn to Exhibit Q in your report?              This is

20   your analysis of capital adequacy; is that correct?

21   A     Correct.

22   Q     And can you tell me were you assuming in this report

23   the refinancing of those maturities in those years?

24   A     No.   There's a little bit of a mix and match in the

25   questions that I was being asked.         The question about
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 209 of 260
                                                                         209
 1   refinancing dealt with the 2014 refinancing of the new

 2   senior debt, and this document deals with a different

 3   refinancing in earlier years, which I didn't make any

 4   assumption about.     It was factored into my ability-to-pay

 5   and capital-adequacy analysis.

 6   Q      Okay.   And could you show on this exhibit where that's

 7   factored in?

 8   A      We're talking about Exhibit Q?

 9   Q      Yes, uh-huh.

10   A      Well, there are lines for mandatory repayments, line

11   O.   And every mandatory repayment that was -- that the

12   Tribune was obligated to make, it made in the context of

13   this analysis.

14   Q      Okay.

15   A      So I didn't make any assumptions.

16   Q      Okay.   And that -- your analysis covers the years 2008

17   to 2010, which was a separate --

18   A      Yes.    As I said, there was a little bit of a mix and

19   match in the question.     There was a question about

20   refinancing in 2014, and the document was expressing

21   reservations about the ability to refinance from 2008 to

22   2010, which, in fact, occurred.        So the doubts proved to be

23   unrealistic in terms of what happened.

24   Q      Okay.   There were some questions about some downside

25   cases and projections of Citigroup.          Do you recall that?
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 210 of 260
                                                                         210
 1   A     I do.

 2   Q     And if I could have you turn to Appendix H.

 3   A     Okay.

 4   Q     Appendix H is where you have -- well, could you tell

 5   us what is in Appendix H.

 6   A     Appendix H is all the third-party projections that I

 7   used in all of my different analyses, at least as of the

 8   time of this report.

 9   Q     Okay.     And turn to Page 12.      Does that show what

10   downside cases you used in your average third-party cases?

11   A     It does.

12   Q     And did you include a downside case from Citigroup?

13   A     I did, on December 7th, where there were projections.

14   Q     Okay.     There were a number of questions posed to you

15   concerning various emails.       Do you recall that?

16   A     I do.

17   Q     Were -- did -- were you shown any comments by the

18   examiner concerning those -- his conclusions about any of

19   those emails?

20   A     No.

21   Q     Were you shown any snippets of testimony concerning

22   any of those emails to put those into context?

23   A     Possibly.     I don't remember, but --

24   Q     During the cross-examination.

25   A     Yeah.     No, that's what I meant.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 211 of 260
                                                                              211
 1   Q      Yeah.

 2   A      I saw a couple of excerpts from testimony.             I don't

 3   remember whether any of them referred to -- or where the

 4   deponent was being asked questions about an email.

 5   Q      All right.    There was one email shown to you from JP

 6   Morgan, files, an email that had the phrase "knock knock" in

 7   it.   Do you remember that one?

 8   A      I do.

 9   Q      I'd like to show you the -- what the examiner said

10   about that, if we could.

11                  MR. BUSATH:   Can we call that up?         Not yet?

12   We'll hold off on that.

13                  THE COURT:    On the other side, it's Mr. Johnston

14   messing around.

15   BY MR. BUSATH:

16   Q      You -- we'll get to that in a minute, but there was

17   also some discussion about perpetuity growth rates.                  Do you

18   recall that?

19   A      Very well.

20   Q      Uh-huh.    And these were rates implied from that

21   multiple that you used; is that right?

22   A      That's what was represented.

23   Q      Okay.    It's also possible to imply a multiple from a

24   perpetuity growth rate; is that correct?

25   A      Correct.
     Case 08-13141-BLS    Doc 8343-3   Filed 03/11/11   Page 212 of 260
                                                                            212
 1   Q       And did you look at Mr. Tuliano's perpetuity growth

 2   rate and examine what multiples were implied by his growth

 3   rate?

 4   A       Yes.    What I was showed was a series of line items

 5   with different entries about growth rates, which, in fact,

 6   are completely inconsistent with the enterprise values that

 7   those firms themselves calculated, which they made their --

 8   based their decisions on.         But apart from the dichotomy, the

 9   anomalous -- the anomaly between those -- what I was shown

10   and what actually occurred, in terms of the enterprise

11   value, is that those firms ultimately concluded was the

12   case.   What I did was a market test, and I also put Mr.

13   Tuliano's analysis to a market test and my terminal

14   multiple, which as I stated can be transformed into a growth

15   assumption, and even the growth assumptions that were

16   represented to me of what my analysis shows are consistent

17   with what market participants were stating at the time, as I

18   say in my rebuttal report.        But there's no connection in

19   reality between what Mr. Tuliano assumed and what actual

20   market participants at the time concluded about the

21   multiples or the implied growth rates of firms in the same

22   industry.      I had -- my analysis is a real market check of

23   what actually happened in the marketplace.             His analysis is

24   completely divorced from market reality.             He has a growth

25   rate which implies a multiple that is far below the median
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 1   or even the 25th percentile of comparable firms.               So I would

 2   say what he concludes is not only inconsistent with all the

 3   valuations -- the enterprise valuations of all the

 4   contemporaneous participants, but it's also inconsistent

 5   with a market check of what happened in the -- what was

 6   happening in the marketplace in terms of how actual

 7   investors were valuing the growth expectations for these

 8   firms.

 9   Q        Okay.    And you included this analysis in your rebuttal

10   report; is that correct?

11   A        I did.

12   Q        Could you turn to Exhibit BD in your rebuttal report?

13   And particularly, I guess, Page 2 of the analysis -- of the

14   exhibit, rather.      No, we're at Exhibit BD --

15   A        BD?

16   Q        -- BD of the rebuttal report.

17   A        D or B?

18   Q        BD.

19   A        Got it, sorry.    Yes.    This is my exhibit showing how

20   Mr. Tuliano's analysis just bears no relationship to market

21   reality, what actual -- how actual investors valued the

22   growth prospects of these companies.

23   Q        Okay.    And could you explain briefly how it shows

24   that?

25   A        Yes.    If you look at the dotted lines going
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                                                                          214
 1   horizontally, that's Mr. Tuliano's implied multiple range of

 2   5.9 to 6.4 based on his growth assumption, and then I

 3   compare Mr. Tuliano's growth assumption to a series of

 4   different benchmarks, the Tribune company itself, the median

 5   of my comparable companies, the median of the companies that

 6   Mr. Tuliano, himself, concluded were the comparable

 7   companies, and then the tenth percentile, the bottom ten

 8   percent of my comparable companies and the bottom ten

 9   percent of Mr. Tuliano's comparable companies.              And if you

10   look at the relationship between all of the different lines

11   above the two dash lines, which is -- reflects Mr. Tuliano's

12   multiple range, again, there's no connection to reality

13   between what Mr. Tuliano is assuming to suppress Tribune's

14   enterprise value and what was actually going on in the

15   marketplace in terms of how investors were actually valuing

16   these firms.     And, in fact, the only lines that intersect at

17   the end with Mr. Tuliano's multiples are the bottom ten

18   percent of my comparables and the bottom ten percent of his

19   comparables, which isn't really a fair comparison if you're

20   trying to get your best guess of what the marketplace's

21   expectation is of what the growth rate of Tribune is going

22   to be.

23   Q        Okay.   And do you recall what economists were thinking

24   expected inflation rate was in -- during December 2007?

25   A        Yes, and I alluded to that several times without
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 1   agreeing or disagreeing with the representation made to me

 2   about -- that I was implying a growth assumption of 2.4 to

 3   2.8 percent.    If you look in my rebuttal report, in

 4   paragraph 12, what you see is if you take Federal Reserve

 5   data in surveys from June to December, which is the time of

 6   step one and step two, economists' expected rate of

 7   inflation over time was 2.5 percent.          So even if it was an

 8   accurate representation of my implied growth assumption was

 9   between 2.4 and 2.8 percent based on an actual market test,

10   that's completely consistent with what, again, economists

11   who are not connected in any way to this transaction were,

12   themselves, calculating in terms of what a logical expected

13   growth rate would be.

14   Q     Okay.    Can I have you turn to tab 22 in the binder

15   that Mr. Qureshi provided to you?

16                 UNIDENTIFIED MALE:     What tab?

17                 MR. BUSATH:   Twenty-two.

18                 MR. FISHEL:   I have it.

19   BY MR. BUSATH:

20   Q     This was an analysis done by JP Morgan around December

21   18th of 2007; is that right?

22   A     Correct.

23   Q     And Mr. Qureshi focused you on the stress case.               Can

24   you see that JP Morgan had other cases there, as well?

25   A     Yes.     Again, it's very hard to read, but I do see,
     Case 08-13141-BLS   Doc 8343-3   Filed 03/11/11   Page 216 of 260
                                                                         216
 1   ranging from 50 million to 3.3 billion.

 2   Q     And can you, sir -- looking at footnote three, can you

 3   identify the perpetuity growth rates that were being used in

 4   the low, mid and high cases in this analysis?

 5   A     So the low value has a perpetuity growth rate of zero

 6   percent, and a high value has a perpetuity growth rate of

 7   two percent.

 8   Q     And the midpoint continues --

 9   A     One percent, obviously.

10   Q     Is one percent, okay.

11                 MR. BUSATH:   Your Honor, may I hand the witness a

12   copy of the examiner's report, volume one?

13                 MR. FISHEL:   Okay.    I have it.

14   BY MR. BUSATH:

15   Q     And looking at the examiner's report, volume one, Page

16   267 -- I guess starting at Page 266, do you see that this is

17   a discussion concerning the email that was shown to you by

18   Mr. Qureshi?

19   A     Yes.     And as I said when I was shown the emails, I

20   couldn't remember if I saw them, but if I saw them discussed

21   in the examiner's report, then I saw at least the discussion

22   in the examiner's report.        And I couldn't remember whether

23   that was one, but looking at the examiner's report, it

24   clearly is.

25   Q     Okay.    At the bottom of Page 267, starting -- and you
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                                                                          217
 1   see where it starts "on balance"?

 2   A      I do.

 3   Q      Just to read that into the record, that sentence.

 4   Could you read it?

 5   A      "On balance, the evidence reveals that Ms. Troy's

 6   email reflects a misunderstanding by a junior analyst who

 7   failed to understand the nature and purpose of the analysis

 8   she was asked to perform and whose conclusion that total

 9   debt is 14,639,000 was inaccurate."

10   Q      Now, do you believe an email like this is probative of

11   market value at the time?

12   A      No.   No.    I mean, I analyzed market value at the time,

13   and I analyzed all of the relevant valuation evidence,

14   including all the valuation analyses by third parties that

15   contained projections that I was able to analyze, both base

16   cases and downside cases, and reach the conclusions that I

17   did.

18   Q      Okay.    Can I have you please turn to, in the binder

19   that we used on your direct, to tab one.

20   A      Okay, I have it.

21   Q      This is a summary of your opinions; is that right?

22   A      It is.

23   Q      Now, Mr. Qureshi quoted some materials from you from

24   Shannon Pratt and from -- had you read some sentences out of

25   another text.      Do either of those things cause you now to
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 1   change your opinion?

 2   A     No.    I mean, first of all, they were -- a lot of those

 3   things were talking about a different situation, whether a

 4   purchaser would pay the same price as the value to a

 5   particular owner of assets if some of that value was unique

 6   to the owner of the assets.       You know, that, to me, is no

 7   different from saying if you have a company that's managed

 8   by a key man and the value of that company is greater as a

 9   result of the key man than it would be without the key man,

10   and if somebody else bought the company and didn't have the

11   key man, it would have a lower value.             I mean, that's

12   obvious.    But if you're asking the question of the company

13   in the real world with the key man, is that company able to

14   pay creditors, to meet its debts when they become due, the

15   value -- the real value, real economic value created by the

16   key man, should count just as much as the value created by

17   any other source.    And I believe exactly the same is true

18   with respect to the S-Corp ESOP tax structure, although

19   again, I performed a completely different methodology that

20   ignored the tax benefits from the S-Corp ESOP tax structure

21   and reached exactly the same conclusions as I described and

22   as contained in my report.

23   Q     Okay.    Mr. Qureshi also showed you a number of other

24   documents and went over some numbers with you of different

25   growth rates that other companies were using.              Sometimes he
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 1   asked you if that would change your opinion, sometimes not.

 2   I'd just like to ask you whether anything that he covered on

 3   his cross-examination causes you to change your first

 4   opinion here on the exhibit.

 5   A     No, absolutely not.

 6   Q     And could you explain why not.

 7   A     Yes.   Because what I was shown was snippets from

 8   documents which are inconsistent with the valuations that

 9   those very firms performed in reaching the decisions that

10   they made to be willing to lend.         So if I look at the -- all

11   of the market evidence, not just the actions by the lenders,

12   but the investment of $250 million of new money at the time

13   of the original transaction, the additional investments by

14   the lenders and by Mr. Zell and by other third parties at

15   the time of the second step, the rating agencies' actions,

16   the evidence from CDS spreads, all of the different balance-

17   sheet comparable company and comparable-transaction analyses

18   that I performed, they all point to the same conclusion that

19   the Tribune was solvent on June 4th, regardless of whether

20   the two steps are collapsed or not, although I believe the

21   evidence is overwhelming, as least in terms of market

22   evidence, that they should not be collapsed based on the

23   stock price data that I looked at.         And with respect to step

24   two, as I stated, it's a much closer question, but one of

25   the things that also has to be taken into account is that
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                                                                          220
 1   the Tribune, at step two, in the real world, had $700

 2   million less debt than what was predicted, that was

 3   projected at the time of June 4th, and that offset, to a

 4   significant extent, the deterioration in the projection.             So

 5   while I think it's a very close case, I also concluded that

 6   the Tribune was solvent in December 20th, as well.

 7   Q     Okay.    And Mr. Fishel, let me ask you whether anything

 8   that was covered on cross-examination caused you to change

 9   your opinion -- second opinion on this page.

10   A     No, for the reason that I just stated, because I

11   believe the economic evidence supports the conclusion that

12   the Tribune was solvent, not only in the first step, but as

13   of the time of the second step, as borderline as it was,

14   still solvent.      I believe that supports the reasonableness

15   of the lender's decision not to contest the solvency

16   certificate.

17   Q     Okay.    And Mr. -- Professor Fishel, are you willing to

18   come back as a rebuttal witness, if necessary?

19   A     I am.

20   Q     Thank you very much.

21                 THE COURT:   Recross.

22                 MR. QURESHI:   Thank you, Your Honor.          Very

23   briefly.   Again, for the record, Abid Qureshi.

24                            RECROSS EXAMINATION

25   BY MR. QURESHI:
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 1   Q     Professor, I gather that unlike some of the valuation

 2   analyses that I handed you that you told me you hadn't seen,

 3   you did spend some time analyzing the financial analysis

 4   that went along with the examiner's report, correct?

 5   A     Well, I would say I looked at the examiner's report,

 6   but I performed an independent analysis of solvency at both

 7   June and December as I've indicated, relying on

 8   contemporaneous evidence as opposed to after-the-fact

 9   analysis with the exception of the analysis that I've done

10   of Mr. Tuliano's opinions and also certain data that I got

11   from the examiner's report that I wouldn't have otherwise

12   been able to find.

13   Q     Sir, if you can take a look at the monitor in front of

14   you, I'm going to pull up a paragraph from the examiner's

15   report.   It's from the appendix, and it's Page A-62 of

16   appendix A to the examiner's report.          And I'd like you to

17   read, please, the first paragraph on the top of that page

18   that we'll blow up for you.       If you can just read that last

19   paragraph -- or that one paragraph, please.

20   A     "When these revenue growth rates are averaged on the

21   basis of relative 2012 publishing segment and broadcasting

22   segment free cash-flows, the result is a terminal period

23   weighted average growth rate of -0.10 percent.             The

24   examiner's financial advisor thus stabilized the long-term

25   growth rate at zero.     It is believed that this growth rate
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 1   is an appropriate rate to use in the calculation of a

 2   terminal period value."     That's actually a paragraph that I

 3   criticized in my rebuttal report, as I'm sure you know.

 4   Q     Yep.

 5                MR. QURESHI:   I have nothing further, Your Honor.

 6   Thanks.

 7                THE COURT:    Thank you, sir.        You may step down.

 8                MR. FISHEL:    Thank you, Your Honor.

 9         (Witness excused)

10                MR. BENDERNAGEL:     Your Honor, it's 20 to 6:00.         I

11   think we have a couple of choices.         One is that we could

12   break for today.    I think what I'd prefer to do is have Mr.

13   Lotsoff [ph] tender the testimony of Mr. Dempsey.              Mr.

14   Dempsey's testimony is not contested by anyone.             My sense is

15   that a tender of the testimony will take 15 or 20 minutes,

16   and maybe we could get that out of the way at this juncture.

17   The other alternative would be to start Mr. Mondova [ph],

18   but I'm reluctant to do that because we'd just get a little

19   into the direct, and then we'd have to break.

20                THE COURT:    Well, I have a third choice, and that

21   is to do neither.

22                MR. BENDERNAGEL:     I'm sorry?

23                THE COURT:    That is to do neither.         My

24   inclination is to adjourn at this point, but --

25                MR. BENDERNAGEL:     That's fine.
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 1                THE COURT:   -- before we do, I'd like you to give

 2   me a preview for tomorrow.

 3                MR. BENDERNAGEL:     I think we start at 9:30

 4   tomorrow; is that correct?

 5                THE COURT:   We do.

 6                MR. BENDERNAGEL:     I think the first witness will

 7   be Mr. Mondova.     Mr. Mondova is an expert whose testimony

 8   will take less than an hour and a half, and my sense is that

 9   there'll be, you know, some fairly extensive cross, maybe an

10   hour, hour and a half.     The -- next witness is Mr. Chachas

11   [ph].    He is also an expert.     Our hope is his testimony will

12   take less than an hour and a half.         We'll see how well that

13   goes, and I presume his cross would take less.             I'm hoping

14   to get both of those witnesses in tomorrow.            The other two

15   witnesses that we have stacked for tomorrow are Mr. Dempsey.

16   Obviously, we could do that today or we can do it tomorrow,

17   and we have Mr. Whitman available, and my understanding is

18   that he's going to -- you know, one of his reports will be

19   proffered.   The other two will be -- he'll be offered live

20   for.    I expect that his testimony's not going to take more

21   than an hour in total.     So hopefully, we can get all three

22   of those -- four of those people done.            That's pretty

23   ambitious, given the fact we're going to break at 3:30,

24   but --

25                THE COURT:   Yeah, I --
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 1                MR. BENDERNAGEL:      -- that's what we're trying to

 2   do.

 3                THE COURT:    Okay.    I appreciate that.        It does

 4   seem ambitious to me, but -- and I will tell folks I -- 3:30

 5   is a hard stop for me because I've got a nearby commitment

 6   at 3:45.   I have no flexibility in that schedule.

 7                Okay.   I would also -- I'll give you a little

 8   preview of what I would like to have, I guess, by Monday

 9   morning, and that is I have been keeping my own time

10   records, but haven't compiled them at all.             I'd like the

11   parties to do that and present something in writing about

12   where they think we stand with that and what they would

13   predict for the remainder of the time that's been allotted

14   through the end of next week best as they can.              I'd also

15   like the parties to confer and consider whether there's a

16   continuing need for the overflow room.             There have been very

17   few attendees in our overflow facility.            It does involve

18   some additional cost for security, and the Marshal has asked

19   us to consider whether we have a continuing need for that.

20   Of course, the alternative is the estate could decide to

21   pick up some of the security cost.          I'm sure it wouldn't be

22   very much.   But I ask you to think about that.

23                MR. BENDERNAGEL:      We can certainly do those

24   things, Your Honor.

25                THE COURT:    Well, we will start promptly at 9:30
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 1   tomorrow.   We will, even though we have a shortened day,

 2   take a lunch break of some order, anyway, midday.              Are there

 3   any other questions or anything else --

 4               MR. BENDERNAGEL:      One other thing that you ought

 5   to be aware of.     Tomorrow, we're going to run into

 6   confidentiality issues because we're dealing with forecasted

 7   data, some of which the company doesn't even really control.

 8   And as a consequence, we've talked to the noteholders, and I

 9   think there's an agreement as to how to do this.             I think we

10   can use most of the monitors, but I think we need to shut

11   off the big monitors and maybe the monitors at the back desk

12   so people can't see the material.         We've also talked about

13   is there a possibility of, you know, utilizing exhibits that

14   have the key data, but trying not to use the numbers on the

15   record as opposed to simply talking about what the documents

16   show, and we'll sort of work our way through that.              We've

17   been pretty good in terms of working through the books and

18   only identifying what pages are problematic, and we're in

19   the process of putting together redacted versions of these

20   exhibits so that, you know, people can get as much of the

21   information as we feel comfortable providing it to them.

22   And the redactions aren't that extensive, so we'll be

23   prepared to deal with that tomorrow as it comes up.

24               THE COURT:    All right.      Thank you.

25               MR. QURESHI:    Your Honor, if I may, just one
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 1   question with respect to the issue of confidentiality.              In

 2   order that we still have a workable, useful record, what I

 3   was contemplating, as Mr. Bendernagel suggested, is putting

 4   together basically in demonstratives the portions of the

 5   valuation data that are confidential and that I would intend

 6   on questioning the witness on, hand those up to Your Honor

 7   and, of course, the witness and counsel, and have those

 8   given an exhibit number that -- where the exhibit would

 9   remain under seal, and then hopefully it'll, unfortunately,

10   take a little longer to do, but walk through without the

11   witness revealing what the numbers are, and hopefully Your

12   Honor will be able to follow along.          So if that sounds

13   acceptable, that's what I would propose, Your Honor.

14              THE COURT:     I'm willing to give it a try.

15              MR. QURESHI:     Thank you.

16              MR. BENDERNAGEL:       Two other things, Your Honor.

17   One is, I actually think it'd be helpful to start to mark as

18   exhibits, not for purposes of offering, but just

19   identification, these demonstratives because this record's

20   going to be very, very hard to follow if these documents

21   just sort of float off and nobody knows exactly what the

22   document was.

23              THE COURT:     Here's -- I don't disagree with that,

24   but here's what I typically do at the conclusion of

25   extensive evidentiary hearings.        Once it's been decided
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 1   what's to be admitted, what's to be admitted as redacted,

 2   what's to be admitted under seal, I ask the parties to

 3   confer and submit a joint list.        So to the extent we've

 4   missed anything so far, the -- we'll be able to catch up

 5   with it at the end of the evidentiary phase of this hearing.

 6              MR. BENDERNAGEL:       The other thing that Mr. Zensky

 7   reminded me to bring up with you, we had had a discussion at

 8   lunchtime about what to do with all the exhibits on the

 9   exhibit list that clearly are not going to be talked about

10   in court, and there was some suggestion that we take some

11   time after the evidence has come in to be able to consult as

12   to which documents the parties would like to submit to you

13   as part of the process you just described, maybe take a week

14   to do that, work out any evidentiary questions we have,

15   maybe come up with a protocol as to how this gets handled,

16   and do it rather than waste valuable court time trying to

17   squabble about this thing because my guess is we're not

18   going to squabble.    I mean, we've already agreed as to how

19   to deal with the examiner report, and my sense is we'll work

20   our way through this, as well as the deposition excerpts

21   that don't actually get shown in court, but people want to

22   put into the record for whatever reason.            And it might be

23   helpful to do that, to just have a sort of time period after

24   the live testimony comes in so that we can do that, but we

25   can talk -- we can work on that and make a presentation to
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 1   you on Monday, if that makes sense.

 2                 THE COURT:   Well, sure.     And I'll just comment.

 3   I guess it's not really too early to acknowledge that, at

 4   least based on how things have proceeded so far, it's

 5   possible we might not be done by the end of next week.

 6                 MR. BENDERNAGEL:     You think?

 7                 THE COURT:   Oh, I've been resisting having to say

 8   that aloud.    So I say that because you'll have the time, I

 9   guess is -- even before we're finished with the evidentiary

10   portion to begin to work on that stuff.

11                 MR. BENDERNAGEL:     Okay.

12                 THE COURT:   And to the extent that you need time

13   after, you'll have that, too.

14                 MR. BENDERNAGEL:     Yeah.   At some point, for

15   planning purposes, it probably makes sense to talk a little

16   more loudly about this issue, but it doesn't have to be

17   today.

18                 THE COURT:   Well, I confess I did that a month

19   ago.   We'll talk tomorrow about dates.

20                 MR. BENDERNAGEL:     All right.     Thank you, Your

21   Honor.

22                 THE COURT:   Okay.   That concludes this hearing

23   for today.    Court will stand adjourned.

24            (Proceedings adjourned at 5:49 p.m.)

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 1                                           CERTIFICATION

 2             I certify that the foregoing is a correct

 3   transcript from the electronic sound recording of the

 4   proceedings in the above-entitled matter.

 5
                     Digitally signed by Traci Calaman
                     DN: cn=Traci Calaman, c=US,
 6   Traci Calaman   o=DiazDataServices, ou=DiazDataServices,
                     email=info@diazdata.com
 7                   Date: 2011.04.18 12:43:47 -04'00'                       10 March 2011
 8   Traci Calaman, Transcriber                                                   Date
 9

10
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